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                                 UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF DELAWARE
                                            DELAWARE

 In re:                                                 §       Case No. 01-00974-KG
                                                        §
 ESPIRE COMMUNICATIONS INC.                             §
                                                        §
                                                        §
                                 Debtor(s)              §

                          NOTICE OF TRUSTEE’S FINAL REPORT AND
                             APPLICATION FOR COMPENSATION
                              AND DEADLINE TO OBJECT (NFR)

         Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that Gary F.
Seitz, trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s
professionals have filed final fee applications, which are summarized in the attached Summary of
Trustee’s Final Report and Applications for Compensation.

        The complete Final Report and all applications for compensation are available for
inspection at the Office of the Clerk, at the following address:



        Any person wishing to object to any fee application that has not already been approved or
to the Final report, must file a written objection within 21 days from the mailing of this notice,
serve a copy of the objections upon the trustee, any party whose application is being challenged
and the United States Trustee. A hearing on the fee applications and any objection to the Final
Report will be held at 2:00 PM on 07/07/2017, in Courtroom 3, United States Courthouse. If no
objections are filed, upon entry of an order on the fee applications, the trustee may pay dividends
pursuant to FRBP 3009 without further order of the Court.

Date Mailed:       05/30/2017                                 By: /s/ Gary F. Seitz
                                                                  Trustee

Gary F. Seitz
Gellert Scali Busenkell & Brown, LLC
The Curtis Center, 601 Walnut Street, Suite 750W
Philadelphia, PA, 19106




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                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF DELAWARE
                                                DELAWARE

    In re:                                                              §           Case No. 01-00974-KG
                                                                        §
    ESPIRE COMMUNICATIONS INC.                                          §
                                                                        §
                                                                        §
                                     Debtor(s)                          §

                                  SUMMARY OF TRUSTEE’S FINAL REPORT
                                  AND APPLICATIONS FOR COMPENSATION

             The Final Report shows receipts of                                                                               $5,166,434.85
             and approved disbursements of                                                                                      $863,032.85
             leaving a balance on hand of1:                                                                                   $4,303,402.00


             Claims of secured creditors will be paid as follows:

Claim            Claimant                                     Claim                Allowed                 Interim                    Proposed
No.                                                         Asserted              Amount of             Payments to                    Amount
                                                                                     Claim                    Date
                 WESSLER                                   $9,000.00                       $0.00                    $0.00                       $0.00
                 ENTERPRISES
                 INC. d/b/a C.D.
                 Evans Constrn Inc.
           DEKALB                                      $118,775.11                         $0.00                    $0.00                       $0.00
    SECURE COUNTY TAX
         D COMMISSIONER
      MECH MURRAY                                        $10,000.00                        $0.00                    $0.00                       $0.00
           TRENSCHLESS
           INC.
         JCA Jefferson County                          $161,724.75                         $0.00                    $0.00                       $0.00
             Alabama
      MECH REATA                                       $132,500.00                         $0.00                    $0.00                       $0.00
                 Xspedius                              $110,000.00                         $0.00                    $0.00                       $0.00
                 Communications
                 Wells Fargo Foothill $6,992,102.34 $3,334,650.90                                                   $0.00 $3,334,650.90
                 Inc. as agent for DIP
                 lenders
         BCF BROWARD                                   $223,570.20                         $0.00                    $0.00                       $0.00

1
  The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement will be
distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the maximum
compensation set forth under 11 U.S.C. § 326(a) on account of disbursement of the additional interest.
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              COUNTY
              FLORIDA
    SHRE CITY OF                   $60,900.00           $0.00          $0.00     $0.00
         SHREVEPORT
         LOUISIANA
      TAX Muscogee County         $246,119.74           $0.00          $0.00     $0.00
          Tax Commissioner
    SECD Lexington-Fayette          $6,483.17           $0.00          $0.00     $0.00
         Urban County, KY
     MCA MOBILE COUNTY            $126,192.00           $0.00          $0.00     $0.00
         ALABAMA
     EBRL PARISH OF EAST           $31,152.36           $0.00          $0.00     $0.00
          BATON ROUGE
          LOUISIANA
           4 COUNTY OF            $181,089.52           $0.00          $0.00     $0.00
             HARRIS/CITY OF
             HOUSTON
           5 ISD OF HOUSTON        $94,762.51           $0.00          $0.00     $0.00
           6 COUNTY OF            $240,797.77           $0.00          $0.00     $0.00
             BROWARD
             FINANCE DEPT
         15 COUNTY OF             $172,252.95           $0.00          $0.00     $0.00
            HILLSBOROUGH
            TAX COLLECTOR
         22 COUNTY OF             $174,838.74           $0.00          $0.00     $0.00
            HILLSBOROUGH
            TAX COLLECTOR
         43 COUNTY OF             $124,713.98           $0.00          $0.00     $0.00
            TARRANT
         55 CITY OF IRVING         $80,103.78           $0.00          $0.00     $0.00
            TAX & REV
            COLLECTION
         59 COUNTY OF              $68,492.20           $0.00          $0.00     $0.00
            TULSA,
            TREASURER
         63 BROKER                   $171.65            $0.00          $0.00     $0.00
            COMPANY, THE
         73 CITY OF                 $3,588.73           $0.00          $0.00     $0.00
            BREMOND
         74 COUNTY OF               $4,975.26           $0.00          $0.00     $0.00
            ROBERTSON
        103 BILDNER,                $1,037.00           $0.00          $0.00     $0.00
            MORTON D

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        108 COUNTY OF             $354,975.93           $0.00          $0.00     $0.00
            FAIRFAX
        112 COUNTY OF              $60,145.26           $0.00          $0.00     $0.00
            FAIRFAX
        127 COUNTY OF                 $24.79            $0.00          $0.00     $0.00
            PINELLAS TAX
            COLLECTOR
        128 COUNTY OF               $1,400.58           $0.00          $0.00     $0.00
            HILLSBOROUGH
            TAX COLLECTOR
        129 COUNTY OF               $1,446.10           $0.00          $0.00     $0.00
            HILLSBOROUGH
            TAX COLLECTOR
        130 COUNTY OF                $483.95            $0.00          $0.00     $0.00
            HILLSBOROUGH
            TAX COLLECTOR
        131 COUNTY OF                $501.97            $0.00          $0.00     $0.00
            HILLSBOROUGH
            TAX COLLECTOR
        134 COUNTY OF               $1,812.77           $0.00          $0.00     $0.00
            BROWARD
            FINANCE DEPT
        151 RICE, RANDY              $548.86            $0.00          $0.00     $0.00
        164 KRANZLER,                $631.50            $0.00          $0.00     $0.00
            THEODORE &
            YVIONNE G JT
            TEN
        174 O'NEILL,                $1,529.00           $0.00          $0.00     $0.00
            CARROLL
        245 KAYE A                   $560.63            $0.00          $0.00     $0.00
            LEFRANCQ
            REVOCABLE
            TRST
        252 LAWRENCE,                $539.25            $0.00          $0.00     $0.00
            DANIEL J
        254 RIGG, SCOTT R           $4,617.45           $0.00          $0.00     $0.00
        302 HUSBANDS,               $9,025.00           $0.00          $0.00     $0.00
            WALTER T
        304 AMADEUS                 $4,978.22           $0.00          $0.00     $0.00
            PRINTING &
            DESIGN
        338 COUNTY OF                $709.19            $0.00          $0.00     $0.00
            PALM BEACH
            TAX COLL
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        349 STROUTS,                $1,970.50           $0.00          $0.00     $0.00
            ROBERT &
            ARLENE, JTWROS
        350 DOWNS, SHANE             $391.83            $0.00          $0.00     $0.00
            E & ERIKA R
            JTWROS
        354 HERR,                       $0.00           $0.00          $0.00     $0.00
            CHARLOTTE
        397 COUNTY OF               $1,346.19           $0.00          $0.00     $0.00
            ANNE ARUNDEL
        406 GRIDER,                $15,375.75           $0.00          $0.00     $0.00
            HOWARD D
        421 ANTONELLI,                  $0.00           $0.00          $0.00     $0.00
            VINCENT JR
        431 SACHS, BEVERLY         $12,000.00           $0.00          $0.00     $0.00
            E
        443 CARRERAS,               $1,718.00           $0.00          $0.00     $0.00
            MARILYN T ESQ
        451 KOVACH, MARY             $275.75            $0.00          $0.00     $0.00
            ELAINE
        452 COOPER,                     $0.00           $0.00          $0.00     $0.00
            RONALD L &
            LESLEY B JT TEN
        500 ORR, FRANK D &          $1,579.00           $0.00          $0.00     $0.00
            JULIE
        507 REATA                 $932,585.00           $0.00          $0.00     $0.00
            CONSTRUCTION
            CORPORATION
        517 TRINITY                  $638.13            $0.00          $0.00     $0.00
            TELECOM LLC
        518 TRINITY                $17,579.50           $0.00          $0.00     $0.00
            TELECOM LLC
        519 TRINITY                $16,206.86           $0.00          $0.00     $0.00
            TELECOM LLC
        520 TRINITY                  $701.28            $0.00          $0.00     $0.00
            TELECOM LLC
        521 TRINITY                 $1,200.28           $0.00          $0.00     $0.00
            TELECOM LLC
        522 TRINITY                 $4,862.50           $0.00          $0.00     $0.00
            TELECOM LLC
        523 TRINITY                $15,022.00           $0.00          $0.00     $0.00
            TELECOM LLC
        524 TRINITY                $22,412.76           $0.00          $0.00     $0.00
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              TELECOM LLC
        546 MERCHANTS               $26,776.29            $0.00          $0.00     $0.00
            AUTOMOTIVE
        556 ADVANTA                 $24,812.13            $0.00          $0.00     $0.00
            BUSINESS
            SERVICES CORP
        591 S&N                     $39,996.83            $0.00          $0.00     $0.00
            COMMUNICATIO
            NS, INC
        596 TUCSON                  $74,674.38            $0.00          $0.00     $0.00
            ELECTRIC
            POWER
        618 INVESTMENT               $2,133.25            $0.00          $0.00     $0.00
            COMPANY INC
        621 AFANA, NADER               $520.00            $0.00          $0.00     $0.00
            A
        679 S&N                     $39,996.83            $0.00          $0.00     $0.00
            COMMUNICATIO
            NS, INC
        683 COASTAL                 $72,230.00            $0.00          $0.00     $0.00
            CONSTRUCTION
            COMPANY
        685 COUNTY OF             $4,398,344.03           $0.00          $0.00     $0.00
            GREENVILLE
            TREAS
        692 360 NETWORKS           $100,000.00            $0.00          $0.00     $0.00
            USA INC
        706 WICKER, DAVID                $0.00            $0.00          $0.00     $0.00
        715 MCLAIN,                  $5,062.50            $0.00          $0.00     $0.00
            MADELINE E &
            JEFFREY R
            JTWROS
        739 CARAVATI,                    $0.00            $0.00          $0.00     $0.00
            JAMES BLAKE &
            PAULA C JT TEN
        779 MICHAEL, DAVID           $6,281.25            $0.00          $0.00     $0.00
            MARTIN
        805 FRANCHINA,               $3,967.44            $0.00          $0.00     $0.00
            TOM V
        812 ROSS                   $292,640.02            $0.00          $0.00     $0.00
            DIRECTIONAL
            DRILLING, INC
        814 SMITH, ALDEN W           $5,320.20            $0.00          $0.00     $0.00

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              & JANICE F
              JTWROS
        824 COUNTY OF               $6,647.75           $0.00          $0.00     $0.00
            CLARK BUS LIC
            DEPT
        833 CITY OF FORT           $40,941.58           $0.00          $0.00     $0.00
            WORTH
        834 CITY OF FORT           $63,799.93           $0.00          $0.00     $0.00
            WORTH
        835 ISD OF FORT            $68,966.95           $0.00          $0.00     $0.00
            WORTH
        836 ISD OF FORT             $1,832.65           $0.00          $0.00     $0.00
            WORTH
        837 ISD OF FORT           $119,659.52           $0.00          $0.00     $0.00
            WORTH
        838 ISD OF FORT            $76,787.72           $0.00          $0.00     $0.00
            WORTH
        839 CITY OF FORT             $977.13            $0.00          $0.00     $0.00
            WORTH
        840 CITY OF FORT           $52,485.16           $0.00          $0.00     $0.00
            WORTH
        859 MONUMENT ONE           $61,044.23           $0.00          $0.00     $0.00
            LLC
        869 SCIENCE PARK           $17,731.20           $0.00          $0.00     $0.00
            ASSOCIATES LP
        948 NIELSEN, BARRY          $3,750.00           $0.00          $0.00     $0.00
            C
        954 ADVANTA                $14,809.33           $0.00          $0.00     $0.00
            BUSINESS
            SERVICES CORP
        990 DAVIES, SUSAN E         $9,927.00           $0.00          $0.00     $0.00
        998 LAPSLEY,                 $431.25            $0.00          $0.00     $0.00
            GLORIA J
      1000 J&J CABLE                $1,540.43           $0.00          $0.00     $0.00
      1002 COUNTY OF                    $0.00           $0.00          $0.00     $0.00
           MONTGOMERY
      1003 COUNTY OF                    $0.00           $0.00          $0.00     $0.00
           MONTGOMERY
      1027 COGENT                 $103,400.00           $0.00          $0.00     $0.00
           COMMUNICATIO
           NS
    1054A FORT WORTH                $5,271.63           $0.00          $0.00     $0.00

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              PLAZA LP
    1055A FORT WORTH                $5,271.63           $0.00          $0.00     $0.00
          PLAZA LP
    1056A BEVERLY HILLS            $11,091.67           $0.00          $0.00     $0.00
          CENTER, LLC
    1058A BEVERLY HILLS             $8,490.08           $0.00          $0.00     $0.00
          CENTER, LLC
      1077 CASE, MICHAEL J          $1,746.15           $0.00          $0.00     $0.00
      1080 ISD OF HEARNE            $8,191.02           $0.00          $0.00     $0.00
      1081 ISD OF CALVERT           $3,547.25           $0.00          $0.00     $0.00
    1141A CRESCENT REAL             $1,043.33           $0.00          $0.00     $0.00
          ESTATE
          FUNDING I LP
    1142A Crescent Real Estate      $8,341.33           $0.00          $0.00     $0.00
          Funding II LP
    1143S CRESCENT REAL            $16,307.89           $0.00          $0.00     $0.00
          ESTATE
          FUNDING III LP
      1162 COUNTY OF                 $143.82            $0.00          $0.00     $0.00
           DUVAL CITY OF
           JACKSONVILLE
      1169 COUNTY OF              $477,741.29           $0.00          $0.00     $0.00
           BROWARD
           FINANCE DEPT
    1289A FRANKLIN                $144,029.66           $0.00          $0.00     $0.00
          PROPERTY
          COMPANY
    1290A FRANKLIN                $350,000.00           $0.00          $0.00     $0.00
          PROPERTY
          COMPANY
      1304 REA ASSOCIATES          $23,584.15           $0.00          $0.00     $0.00
           LLC
      1325 CORT                    $40,282.64           $0.00          $0.00     $0.00
           FURNITURE
           RENTAL INC
      1326 CORT                       $63.18            $0.00          $0.00     $0.00
           FURNITURE
           RENTAL INC
      1327 CORT                     $9,328.23           $0.00          $0.00     $0.00
           FURNITURE
           RENTAL INC
      1328 CORT                     $7,252.44           $0.00          $0.00     $0.00
           FURNITURE

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              RENTAL INC
      1329 CORT                        $668.59            $0.00          $0.00     $0.00
           FURNITURE
           RENTAL INC
      1330 CORT                      $6,009.32            $0.00          $0.00     $0.00
           FURNITURE
           RENTAL INC
      1331 CORT                        $861.26            $0.00          $0.00     $0.00
           FURNITURE
           RENTAL INC
      1332 CORT                     $14,953.25            $0.00          $0.00     $0.00
           FURNITURE
           RENTAL INC
      1334 ADVANCE/OLD               $6,450.13            $0.00          $0.00     $0.00
           COURTHOUSE
           RD LLC
      1337 ACCESS ONE             $2,436,074.50           $0.00          $0.00     $0.00
           COMMUNICATIO
           NS CORP
      1341 R-COM, INC              $247,150.30            $0.00          $0.00     $0.00
      1345 ACCESS ONE             $2,436,074.50           $0.00          $0.00     $0.00
           COMMUNICATIO
           NS CORP
    1347A CRESCENT REAL             $16,307.89            $0.00          $0.00     $0.00
          ESTATE
          FUNDING VIII LP
    1348A CRESCENT REAL              $1,043.33            $0.00          $0.00     $0.00
          ESTATE
          FUNDING I LP
    1349A CRESCENT REAL              $8,341.33            $0.00          $0.00     $0.00
          ESTATE
          FUNDING II LP
    1352A FG DEERFIELD             $100,000.00            $0.00          $0.00     $0.00
          PARTNERS, LTD
    1365A PARK TOWER                $13,900.92            $0.00          $0.00     $0.00
          INVESTORS, LTD
      1372 CITY PUBLIC               $1,771.62            $0.00          $0.00     $0.00
           SERVICE OF SAN
           ANTONIO
      1394 REATA                   $255,747.80            $0.00          $0.00     $0.00
           CONSTRUCTION
           CORPORATION
      1397 MASTEC NORTH             $17,896.68            $0.00          $0.00     $0.00
           AMERICA
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      1423 MERRYMAN,                $2,787.50            $0.00          $0.00      $0.00
           WILLIAM J &
           AMY M JTWROS
      1435 PROFITEERS, THE          $1,008.75            $0.00          $0.00      $0.00
      1439 LINDNER,                 $5,100.00            $0.00          $0.00      $0.00
           HAROLD &
           SUSAN JTWROS
      1444 WILLIAMS                $44,722.54            $0.00          $0.00      $0.00
           COMMUNICATIO
           NS LLC
    1475A VERIZON                $1,320,235.17           $0.00          $0.00      $0.00
          COMMUNICATIO
          NS OPERATING
          SUBS
      1492 ISD OF EANES             $1,165.51            $0.00          $0.00      $0.00
      1500 PROFESSIONAL             $1,568.04            $0.00          $0.00      $0.00
           RECORDS
           STORAGE INC
      1572 LARIMER,                 $1,464.90            $0.00          $0.00      $0.00
           AARON T
      1582 HIGGINS, CYRIL           $3,000.00            $0.00          $0.00      $0.00
           DANIEL
      1599 PATTERSON,                   $0.00            $0.00          $0.00      $0.00
           PATRICK J
      1619 COUNTY OF              $135,851.20            $0.00          $0.00      $0.00
           CLARK
           ASSESSOR
      1620 COUNTY OF               $66,951.61            $0.00          $0.00      $0.00
           CLARK
           ASSESSOR
      1624 PARADA,                  $3,165.00            $0.00          $0.00      $0.00
           ROBERT J
      2534 CITY OF LAS             $12,580.21            $0.00          $0.00      $0.00
           VEGAS
      2547 JANG, JAE HO &             $271.01            $0.00          $0.00      $0.00
           YOUNG GON
           JTWROS
      2565 KOLBE, BILL &                $0.00            $0.00          $0.00      $0.00
           CAROLE K JT
           TEN
      2567 SCOTT, TOMMY               $226.75            $0.00          $0.00      $0.00
           & DEBRA JT TEN
      2570 BETTS, LISA P              $900.19            $0.00          $0.00      $0.00

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      2579 GATEWAY                $46,272.63           $0.00          $0.00      $0.00
           COMPANIES INC
           FNA
      2595 SHARMA,                  $358.13            $0.00          $0.00      $0.00
           KAMAL L
      2598 O'BRIEN, ALBERT             $0.00           $0.00          $0.00      $0.00
           T
      2605 GREGORY               $192,101.70           $0.00          $0.00      $0.00
           ELECTRIC
           COMPANY
      2651 CORCORAN,                $625.00            $0.00          $0.00      $0.00
           THOMAS
      2654 HUGHES, KEVIN           $9,203.00           $0.00          $0.00      $0.00
           M & MARY JO
           JTWROS
      2692 COUNTY OF             $378,573.25           $0.00          $0.00      $0.00
           BEXAR
      2719 DJD                     $2,853.00           $0.00          $0.00      $0.00
           CONSTRUCTION
           CORP, THE
      2737 COUNTY OF              $33,350.43           $0.00          $0.00      $0.00
           POTTER TAX
           OFFICE
      2747 COUNTY OF               $9,684.63           $0.00          $0.00      $0.00
           GRIMES ET AL
      2750 COUNTY OF              $22,015.01           $0.00          $0.00      $0.00
           BRAZOS ET AL
      2751 COUNTY OF               $9,684.63           $0.00          $0.00      $0.00
           GRIMES ET AL
      2753 COUNTY OF              $22,015.01           $0.00          $0.00      $0.00
           BRAZOS ET AL
      2754 COUNTY OF               $9,684.63           $0.00          $0.00      $0.00
           GRIMES ET AL
      2758 COUNTY OF LEE             $58.57            $0.00          $0.00      $0.00
           TAX COLLECTOR
      2768 COUNTY OF LEE            $100.57            $0.00          $0.00      $0.00
           TAX COLLECTOR
      2773 ISD OF MARION            $541.09            $0.00          $0.00      $0.00
      2775 STATE OF                $1,005.71           $0.00          $0.00      $0.00
           INDIANA REV
           DEPT
      2812 CITY OF LAS              $489.84            $0.00          $0.00      $0.00
           VEGAS

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      2829 COUNTY OF             $114,660.75           $0.00          $0.00      $0.00
           FAIRFAX
      2830 COUNTY OF             $209,937.37           $0.00          $0.00      $0.00
           FAIRFAX
      2845 BANK ONE               $50,000.00           $0.00          $0.00      $0.00
           LEXINGTON NA
      2862 CITY OF EL PASO       $550,401.08           $0.00          $0.00      $0.00
      2863 COUNTY OF             $365,943.60           $0.00          $0.00      $0.00
           BEXAR
      2923 COUNTY OF             $472,254.78           $0.00          $0.00      $0.00
           BROWARD
           FINANCE DEPT
      2932 East Pratt Street      $11,350.00           $0.00          $0.00      $0.00
           Associates LP
      2933 Candler Associates      $4,475.06           $0.00          $0.00      $0.00
           LLC
      2941 COUNTY OF               $1,093.00           $0.00          $0.00      $0.00
           FALLS TAX A/C
      2942 ISD OF CALVERT          $2,906.63           $0.00          $0.00      $0.00
      2945 COUNTY OF              $18,286.61           $0.00          $0.00      $0.00
           BRAZOS ET AL
      2946 COUNTY OF               $7,594.73           $0.00          $0.00      $0.00
           GRIMES ET AL
      2955 COUNTY OF             $197,339.35           $0.00          $0.00      $0.00
           TULSA,
           TREASURER
      2973 COUNTY OF              $72,112.25           $0.00          $0.00      $0.00
           TULSA,
           TREASURER
      2976 COUNTY OF             $186,591.48           $0.00          $0.00      $0.00
           HILLSBOROUGH
           TAX COLLECTOR
      2977 COUNTY OF              $16,901.18           $0.00          $0.00      $0.00
           HILLSBOROUGH
           TAX COLLECTOR
      2978 COUNTY OF                $344.06            $0.00          $0.00      $0.00
           HILLSBOROUGH
           TAX COLLECTOR
      2992 COUNTY OF                $470.29            $0.00          $0.00      $0.00
           PALM BEACH
           TAX COLL
    2996A COUNTY OF               $14,597.61           $0.00          $0.00      $0.00
          HAMILTON

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      2997 COUNTY OF              $17,439.46           $0.00          $0.00      $0.00
           HAMILTON
      3007 COUNTY OF             $498,117.78           $0.00          $0.00      $0.00
           DALLAS
      3013 COUNTY OF             $476,226.99           $0.00          $0.00      $0.00
           BROWARD
           FINANCE DEPT
      3019 COUNTY OF             $271,487.87           $0.00          $0.00      $0.00
           MIAMI-DADE
           TAX COLLECTOR
      3030 CITY OF                $12,195.22           $0.00          $0.00      $0.00
           LOUISVILLE
      3031 CITY OF                $56,812.98           $0.00          $0.00      $0.00
           LOUISVILLE
      3041 COUNTY OF LEE            $663.82            $0.00          $0.00      $0.00
      3045 COUNTY OF                 $42.27            $0.00          $0.00      $0.00
           NUECES
      3048 FORT WORTH              $5,721.63           $0.00          $0.00      $0.00
           PLAZA LP
      3049 FORT WORTH              $5,721.63           $0.00          $0.00      $0.00
           PLAZA LP
      3059 BRYAN STREET           $11,091.67           $0.00          $0.00      $0.00
           ACQUISITION
           PARTNERSHIP
      3060 BRYAN STREET            $8,490.08           $0.00          $0.00      $0.00
           ACQUISITION
           PARTNERSHIP
      3061 BRYAN STREET           $11,091.67           $0.00          $0.00      $0.00
           ACQUISITION
           PARTNERSHIP
    3064A CITY OF BOCA            $30,000.00           $0.00          $0.00      $0.00
          RATON
    3066A CITY OF MIAMI,          $50,000.00           $0.00          $0.00      $0.00
          FL
      3067 J&J CABLE               $2,053.90           $0.00          $0.00      $0.00
           CONTRACTING
           INC
      3084 AMC Networks,          $19,710.00           $0.00          $0.00      $0.00
           Inc.
      3090 INTERNAL               $11,718.30           $0.00          $0.00      $0.00
           REVENUE
           SERVICE
      3097 COUNTY OF               $3,673.56           $0.00          $0.00      $0.00

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              MONTGOMERY
      3098 COUNTY OF              $47,334.00           $0.00          $0.00      $0.00
           MONTGOMERY
      3099 COUNTY OF                   $0.00           $0.00          $0.00      $0.00
           MONTGOMERY
      3100 COUNTY OF                $485.07            $0.00          $0.00      $0.00
           MONTGOMERY
      3101 COUNTY OF               $5,071.50           $0.00          $0.00      $0.00
           MONTGOMERY
      3102 COUNTY OF                $238.74            $0.00          $0.00      $0.00
           MONTGOMERY
      3104 CITY OF               $167,234.98           $0.00          $0.00      $0.00
           BALTIMORE
      3106 COUNTY OF              $13,409.56           $0.00          $0.00      $0.00
           GUADALUPE ET
           AL
      3108 COUNTY OF               $7,421.70           $0.00          $0.00      $0.00
           BASTROP ET AL
      3125 ISD OF                 $75,809.70           $0.00          $0.00      $0.00
           CARROLLTON-
           FARMERS
           BRANCH
      3131 CITY & ISD OF           $8,258.14           $0.00          $0.00      $0.00
           CEDAR HILL
      3136 RADIODETECTIO          $95,000.00           $0.00          $0.00      $0.00
           N CORP
      3257 SPECTEL USA           $164,352.00           $0.00          $0.00      $0.00
           INC
      3258 CITY & ISD OF           $4,393.03           $0.00          $0.00      $0.00
           MESQUITE
      3259 CITY & ISD OF           $1,505.53           $0.00          $0.00      $0.00
           MESQUITE
      3288 CITY OF IRVING        $124,337.81           $0.00          $0.00      $0.00
           TAX & REV
           COLLECTION
      3291 CITY OF FORT           $83,465.50           $0.00          $0.00      $0.00
           WORTH, TX
      3293 ISD OF FORT           $158,341.47           $0.00          $0.00      $0.00
           WORTH, TX
      3305 County of Loudoun,    $186,333.37           $0.00          $0.00      $0.00
           Karen J. Stapleton,
           Esq.
      3311 Kentucky                $6,585.18           $0.00          $0.00      $0.00
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              Department of
              Revenue
      3314 Eagle Mountain-             $18,683.07            $0.00            $0.00           $0.00
           Saginaw ISD
      3315 City of Hurst                $4,394.40            $0.00            $0.00           $0.00
      3316 City of Richland             $1,555.34            $0.00            $0.00           $0.00
           Hills
      3317 Fort Worth ISD             $135,369.48            $0.00            $0.00           $0.00
      3318 City of Watauga              $6,110.44            $0.00            $0.00           $0.00
      3338 Future Telecom,          $2,164,119.50            $0.00            $0.00           $0.00
           Inc.
      3343 McDaniel Technical         $406,730.45            $0.00            $0.00           $0.00
           Services, Inc.


                                   Total to be paid to secured creditors:             $3,334,650.90
                                                     Remaining balance:                 $968,751.10

         Applications for chapter 7 fees and administrative expenses have been filed as follows:

Reason/Applicant                                            Total        Interim           Proposed
                                                        Requested     Payments to          Payment
                                                                            Date
GARY F SEITZ CH 7 - DE, Trustee Fees                   $83,014.00             $0.00      $83,014.00
GARY F SEITZ CH 7 - DE, Trustee Expenses                 $5,410.35            $0.00       $5,410.35
GELLERT SCALI BUSENKELL & BROWN                          $9,242.50            $0.00       $9,242.50
LLC, Attorney for Trustee Fees
GELLERT SCALI BUSENKELL & BROWN                           $201.84             $0.00         $201.84
LLC, Attorney for Trustee Expenses
BEDERSON & COMPANY LLP, Accountant                     $60,048.00       $60,048.00            $0.00
for Trustee Fees
BEDERSON & COMPANY LLP, Accountant                        $553.20           $553.20           $0.00
for Trustee Expenses
UNITED STATES TRUSTEE PROGRAM,                         $21,500.00       $16,250.00        $5,250.00
U.S. Trustee Quarterly Fees
Other: CIARDI CIARDI & ASTIN, Attorney                 $49,100.00       $49,100.00            $0.00
for Trustee Fees
Other: RAWLE & HENDERSON LLP c/o Gary                  $41,782.50       $41,782.50            $0.00
Seitz, Attorney for Trustee Fees
Other: THE BAYARD FIRM, Attorney for                   $15,039.52       $15,039.52            $0.00
Trustee Fees
Other: FOX ROTHSCHILD LLP, Attorney for                  $5,570.00            $0.00       $5,570.00

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Trustee Fees
Other: CIARDI CIARDI & ASTIN, Attorney                     $1,541.48          $1,541.48          $0.00
for Trustee Expenses
Other: RAWLE & HENDERSON LLP c/o Gary                      $1,055.64          $1,055.64          $0.00
Seitz, Attorney for Trustee Expenses
Other: THE BAYARD FIRM, Attorney for                       $4,960.48          $4,960.48          $0.00
Trustee Expenses
Other: FOX ROTHSCHILD LP, Attorney for                        $80.83             $0.00         $80.83
Trustee Expenses
Other: RECALL TOTAL INFORMATION                           $50,000.00             $0.00      $50,000.00
Management, Inc., Admin. Rent


                    Total to be paid for chapter 7 administrative expenses:               $158,769.52
                                                       Remaining balance:                 $809,981.58

       Applications for prior chapter fees and administrative expenses have been filed as
follows:

Reason/Applicant                                              Total        Interim           Proposed
                                                          Requested     Payments to          Payment
                                                                              Date
SAUL EWING, Attorney for Trustee/D-I-P Fees               $64,820.20      $64,820.20             $0.00
THE BAYARD FIRM, Attorney for Trustee/D-                   $1,728.88          $1,728.88          $0.00
I-P Expenses
BEDERSON & COMPANY LLP, Accountant                      $139,572.00      $139,572.00             $0.00
for Trustee/D-I-P Fees
BEDERSON & COMPANY LLP, Accountant                           $713.85           $713.85           $0.00
for Trustee/D-I-P Expenses
Other: Young Conaway Stargatt & Taylor LLP,               $90,092.50      $90,092.50             $0.00
Attorney for Trustee/D-I-P Fees
Other: Young Conaway Stargatt & Taylor LLP,               $22,143.60      $22,143.60             $0.00
Attorney for Trustee/D-I-P Expenses
Other: GARY SEITZ as CH 11 TRUSTEE,                     $147,061.41      $147,061.41             $0.00
Trustee Fees
Other: Gary F. Seitz, Trustee Expenses                     $7,330.87          $7,330.87          $0.00
Other: Monzack and Monaco, PA, Other                      $69,418.17             $0.00      $69,418.17
Professional Fees
Other: Monzack and Monaco, PA, Other                       $5,805.33             $0.00       $5,805.33
Professional Expenses
Other: INTERNAL REVENUE SERVICE,                          $20,483.27             $0.00        $915.78
Income Taxes - Internal Revenue Service
Other: City of Hurst, Other State or Local Taxes             $480.75             $0.00         $21.50
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Other: City of Richland Hills, Other State or         $172.36          $0.00           $7.72
Local Taxes
Other: COUNTY of LOUDOUN, VA, Other               $186,591.36          $0.00       $8,342.17
State or Local Taxes
Other: Fort Worth ISD, Other State or Local        $15,419.10          $0.00        $689.37
Taxes
Other: AT&T CORP, Trade debt                      $500,000.00          $0.00      $22,354.10
Other: ATLANTIC MUTUAL INS CO &                   $111,942.62          $0.00       $5,004.75
CENTENNIAL, Trade debt
Other: BELLSOUTH                                   $41,584.06          $0.00       $1,859.15
TELECOMMUNICATIONS, Trade debt
Other: CAUCCI, ROSEMARIE A, Trade debt                $200.00          $0.00           $8.94
Other: CONSOLIDATED EDISON                            $288.39          $0.00         $12.89
COMPANY, Trade debt
Other: CORBAN COMMUNICATIONS, INC,                   $8,725.29         $0.00        $390.09
Trade debt
Other: COUNTY OF EL PASO TREASURER,               $145,309.72          $0.00       $6,496.54
Trade debt
Other: DUN & BRADSTREET, Trade debt                  $1,213.93         $0.00         $54.27
Other: EMC CORPORATION, Trade debt                $179,640.00          $0.00       $8,031.38
Other: FCB LLC, Trade debt                         $12,299.91          $0.00        $549.91
Other: FISHEL COMPANY, THE, Trade debt            $700,000.00          $0.00      $31,295.74
Other: FLORIDA DIRECT'L EQUIP &                      $3,103.00         $0.00        $138.73
SUPPLIES, Trade debt
Other: GE CAPITAL CORPORATION, Trade              $467,224.20          $0.00      $20,888.75
debt
Other: IKON OFFICE SOLUTIONS MID-                     $465.78          $0.00         $20.82
ATLANTIC, Trade debt
Other: IKON OFFICE SOLUTIONS NE                    $10,233.19          $0.00        $457.51
DISTRICT, Trade debt
Other: JSO WOOD PRODUCTS, Trade debt                  $424.88          $0.00         $19.01
Other: LEE ROWE & ASSOCIATES INC,                  $22,950.00          $0.00       $1,026.05
Trade debt
Other: LIST INC, Trade debt                        $16,800.00          $0.00        $751.10
Other: OLDCASTLE PRECAST INC, Trade               $146,012.91          $0.00       $6,527.97
debt
Other: PAULEY CONSTRUCTION INC, Trade              $15,251.28          $0.00        $681.86
debt
Other: REA ASSOCIATES LLC, Trade debt              $23,584.15          $0.00       $1,054.40
Other: RegionalHelpWanted.com, Inc., Trade            $183.00          $0.00           $8.18
debt
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Other: SA TELECOMMUNICATIONS, INC,                   $10,857.45          $0.00         $485.42
Trade debt
Other: SOFTNET SOLUTIONS, INC, Trade                 $22,360.00          $0.00         $999.68
debt
Other: STATE OF MISSOURI REV DEPT,                     $5,018.22         $0.00         $224.36
Trade debt
Other: STATE OF TENNESSEE REV DEPT,                     $402.62          $0.00          $18.00
Trade debt
Other: TMNG Technology, Trade debt                   $62,640.00          $0.00        $2,800.52
Other: Tracy Lepore , Trade debt                       $6,090.00         $0.00         $272.27
Other: TUCSON ELECTRIC POWER                         $56,420.28          $0.00        $2,522.45
COMPANY, Trade debt
Other: WMP II REAL ESTATE LP, Trade debt             $31,806.00          $0.00        $1,421.99
Other: IOS Capital, Admin. Rent                     $184,583.93          $0.00        $8,252.42
Other: IOS Capital, Admin. Rent                      $51,434.00          $0.00        $2,299.52
Other: RECALL TOTAL INFORMATION                      $12,000.00     $12,000.00            $0.00
MGMNT, Admin. Rent
Other: A.R. Systems, Other Operating Expenses        $23,520.00          $0.00        $1,051.54
Other: AAMP UItility Contractors, Inc., Other       $400,000.00          $0.00       $17,883.28
Operating Expenses
Other: Affinity Internet, Inc., Other Operating     $161,438.93          $0.00        $7,217.64
Expenses
Other: Ajilon Communications, LLC, Other            $342,859.73          $0.00       $15,328.64
Operating Expenses
Other: Ameriplast, Inc., Other Operating             $98,970.00          $0.00        $4,424.77
Expenses
Other: Broadwing Communications, LLC, Other $2,388,594.49                $0.00      $106,789.77
Operating Expenses
Other: Cavalier Telephone, LLC & Cavalier              $9,241.00         $0.00         $413.15
Telephone Mid-Atlantic, LLC, Other Operating
Expenses
Other: Chase Manahattan Bank, Other                  $37,610.30          $0.00        $1,681.49
Operating Expenses
Other: Colgate Drive Associates, L.P., Other         $41,752.03          $0.00        $1,866.66
Operating Expenses
Other: Columbia Gas of Virginia, Inc., Other             $45.58          $0.00            $2.04
Operating Expenses
Other: Competitive Computer, Other Operating         $64,080.00          $0.00        $2,864.90
Expenses
Other: Computer Horizon, Other Operating             $13,275.00          $0.00         $593.50
Expenses

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Other: Concept Solutions, Other Operating             $131,130.00          $0.00       $5,862.59
Expenses
Other: Cougar Communications, Other                   $539,027.40          $0.00      $24,098.95
Operating Expenses
Other: Dead on Directional, Inc. and Merchants        $301,448.50          $0.00      $13,477.22
Bonding Company, Other Operating Expenses
Other: DH Communications, Inc., Other                  $56,229.00          $0.00       $2,513.90
Operating Expenses
Other: Down Under Construction, Inc., Other           $975,538.84          $0.00      $43,614.59
Operating Expenses
Other: Eastern Managment Group, Inc., Other           $125,000.00          $0.00       $5,588.53
Operating Expenses
Other: Evans Holdings, Inc., Other Operating           $46,672.93          $0.00       $2,086.66
Expenses
Other: FUTURE COMMUNICATIONS, INC,                     $36,546.34          $0.00       $1,633.92
Other Operating Expenses
Other: Future Communications, Inc., Other            $1,008,221.73         $0.00      $45,075.78
Operating Expenses
Other: General Electric, Other Operating              $173,838.45          $0.00       $7,772.00
Expenses
Other: Gordon Silberman Wiggins & Childs,              $66,338.07          $0.00       $2,965.86
Other Operating Expenses
Other: Great-West Life & Annuity Insurance            $442,245.00          $0.00      $19,771.98
Co., Other Operating Expenses
Other: Greenville County Tax Collector, Other             $120.74          $0.00           $5.40
Operating Expenses
Other: Interstate FiberNet, Inc., Other Operating     $166,555.22          $0.00       $7,446.38
Expenses
Other: ITC Delta Communications, Inc., Other           $15,811.08          $0.00        $706.88
Operating Expenses
Other: Kansas One Call Systems, Inc, Other               $4,684.26         $0.00        $209.42
Operating Expenses
Other: LexisNexis Document Solutions, Other            $50,205.50          $0.00       $2,244.60
Operating Expenses
Other: Linux Journal, Other Operating Expenses           $4,001.00         $0.00        $178.88
Other: McLeodUSA Incoporated (1), Other               $216,497.60          $0.00       $9,679.22
Operating Expenses
Other: Modern Technology Services, Inc., Other        $218,078.86          $0.00       $9,749.91
Operating Expenses
Other: Mustang Utility Contractors Inc., Other         $41,770.00          $0.00       $1,867.46
Operating Expenses
Other: N to N Fiber Inc., Other Operating              $58,047.00          $0.00       $2,595.18
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Expenses
Other: NetSolve Inc., Other Operating Expenses       $76,560.17          $0.00       $3,422.87
Other: Orius Telecommunications Services,          $1,144,160.50         $0.00      $51,153.36
Inc., Other Operating Expenses
Other: PalmettoNet, Other Operating Expenses         $11,734.49          $0.00        $524.63
Other: PointOne Telecommunications, Inc.,           $226,868.12          $0.00      $10,142.87
Other Operating Expenses
Other: Somera Communications, LLC, Other             $64,356.10          $0.00       $2,877.25
Operating Expenses
Other: Sunbelt Telecommunications Services,         $156,252.40          $0.00       $6,985.76
Other Operating Expenses
Other: Sunbelt Telecommunications Services,          $17,790.00          $0.00        $795.36
Other Operating Expenses
Other: The Johnston Trust, Other Operating          $429,995.40          $0.00      $19,224.32
Expenses
Other: Transportation Safety Contractors, Inc.,     $123,940.00          $0.00       $5,541.13
Other Operating Expenses
Other: TVC Communications, Inc., Other              $179,781.11          $0.00       $8,037.69
Operating Expenses
Other: United Fiber Optics Corporation, Other        $28,307.00          $0.00       $1,265.56
Operating Expenses
Other: Utility Replacement Center, Other            $185,068.19          $0.00       $8,274.07
Operating Expenses
Other: Vibrant Solutions, Inc., Other Operating     $514,827.96          $0.00      $23,017.03
Expenses
Other: XO Communications, Inc., Other              $1,493,306.28         $0.00      $66,763.04
Operating Expenses
Other: Zellen Associates, Inc., Other Operating      $31,602.81          $0.00       $1,412.90
Expenses
Other: City of Watauga, Other Prior Chapter             $626.49          $0.00         $28.01
Administrative Expenses
Other: County of Loudoun, Other Prior Chapter       $200,166.28          $0.00       $8,949.07
Administrative Expenses
Other: COUNTY OF POTTER TAX OFFICE,                    $8,032.83         $0.00        $359.13
Other Prior Chapter Administrative Expenses
Other: Department of the Treasury-, Other Prior        $3,212.72         $0.00        $143.63
Chapter Administrative Expenses
Other: INTERNATIONAL SURETIES, LTD,                    $4,054.00      $4,054.00          $0.00
Other Prior Chapter Administrative Expenses
Other: Kentucky Department of Revenue, Other        $212,404.03          $0.00       $9,496.20
Prior Chapter Administrative Expenses
Other: State of Texas Public Accounts Comptr,          $3,941.21         $0.00        $176.20
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Other Prior Chapter Administrative Expenses


                 Total to be paid to prior chapter administrative expenses:           $809,981.58
                                                       Remaining balance:                   $0.00

       In addition to the expenses of administration listed above as may be allowed by the
Court, priority claims totaling $897,127,918.15 must be paid in advance of any dividend to
general (unsecured) creditors.

         Allowed priority claims are:

Claim         Claimant                                Allowed Amt.         Interim       Proposed
No.                                                        of Claim     Payments to      Payment
                                                                              Date
           2 SPRINT                                     $399,801.60           $0.00          $0.00
         45 PROTOCOL SERVICES INC                        $68,830.06           $0.00          $0.00
         48 STATE OF LOUISIANA REV                           $599.00          $0.00          $0.00
            DEPT
         52 COUNTY OF COLORADO CAD                         $9,837.10          $0.00          $0.00
         54 NETWORKXCHANGE INC                           $13,620.00           $0.00          $0.00
         60 STATE OF ALABAMA TAX                           $5,218.34          $0.00          $0.00
            COLLECTOR
         62 AQUA PURE LLC                                    $140.39          $0.00          $0.00
         64 STATE OF LOUISIANA REV                           $600.00          $0.00          $0.00
            DEPT
         71 APPLE PRINTING & ADV                             $451.02          $0.00          $0.00
            SPECIALTIES, INC
         77 ISD OF EAGLE MOUNTAIN -                        $9,451.87          $0.00          $0.00
            SAGINAW
         82 CAMPOS, GRIZEL ROSARIO                         $1,000.00          $0.00          $0.00
         85 SZMOLKE, DANIEL &                              $3,465.00          $0.00          $0.00
            JACQUELYN
         96 LOW, JEFFREY B                               $18,000.00           $0.00          $0.00
        104 BOWERST, CONSTANCE D                         $12,562.50           $0.00          $0.00
        114 COHN, JOSEPH & GOLDBERG,                         $300.00          $0.00          $0.00
            MYRA JT/WROS
        115 WERBEL, MORTON IRA                             $2,775.00          $0.00          $0.00
        119 TALLMAN, WENDELYN N                              $743.00          $0.00          $0.00
        120 TRI-COM COMPUTER SERVICE                     $62,640.00           $0.00          $0.00
            INC
      138A 75 BROAD LLC                                  $27,517.82           $0.00          $0.00

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        146 STATE OF OKLAHOMA TAX                $5,000.00         $0.00      $0.00
            COMM
        147 STATE OF OKLAHOMA TAX                $7,000.00         $0.00      $0.00
            COMM
        153 TETER, JAMES M AND                    $812.50          $0.00      $0.00
            CAROLYN S JT TEN
        155 RUBENSTEIN, JEFFERY D                $9,963.38         $0.00      $0.00
        157 DIFABIO, DAVID                        $819.19          $0.00      $0.00
        158 FIRST UNION NATL BANK C/F             $449.00          $0.00      $0.00
        162 SMOKEHOUSE BBQ, INC                   $264.52          $0.00      $0.00
        173 HERMENET, SCOTT                      $2,006.00         $0.00      $0.00
        184 CITY OF LAUREL                     $27,559.39          $0.00      $0.00
        187 BARFIELD, WAYNE B PENSION          $15,266.82          $0.00      $0.00
            TRUST
      190A CIT COMMUNICATIONS                $6,082,387.07         $0.00      $0.00
           FINANCE CORP FKA
        192 B&W ENTERPRISES                      $5,650.00         $0.00      $0.00
        196 B&B FIBER                            $1,147.50         $0.00      $0.00
        201 OUTSOURCE INTERNATIONAL              $2,673.34         $0.00      $0.00
        208 ISD OF MUMFORD                       $1,263.40         $0.00      $0.00
        222 HANSEN, HOWARD P & KAREN              $332.14          $0.00      $0.00
            J JT
        223 FULLER FIRE & SECURITY                 $33.00          $0.00      $0.00
        224 THOMAS ROOFING CO INC                 $823.43          $0.00      $0.00
        227 SLOAN UNDERGROUND                    $1,750.00         $0.00      $0.00
            CONSTRUCTION INC
        248 ANIXTER BROTHERS INC               $11,016.21          $0.00      $0.00
        259 BROWNRIGG, ANDREW                     $789.09          $0.00      $0.00
        260 SPENCER, DALE J TR                   $2,287.00         $0.00      $0.00
        269 SHEPARD, STEVEN C &                $12,027.00          $0.00      $0.00
            PATRICIA A JT TEN
        273 ABIDES, JOHN & HERMINIA JT            $377.50          $0.00      $0.00
            TEN
        275 WAGNER, LEONARD W                    $1,300.00         $0.00      $0.00
        279 REALBUTO, JOSEPH & MARIA L         $62,711.89          $0.00      $0.00
        287 FIRNHABER, APRIL & LYLE              $1,590.63         $0.00      $0.00
            TTEE'S FBO
        291 MEYER, DEBBIE & JEFFREY W,           $3,497.30         $0.00      $0.00
            JT TEN


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        296 STATE OF MISSOURI REV DEPT           $1,000.00         $0.00      $0.00
        298 HENNESSEY, PETER P                   $5,525.00         $0.00      $0.00
        305 AFFORDABLE CONCRETE &                $7,800.00         $0.00      $0.00
            ASPHALT
        306 DEVELOPERS NETWORK.COM               $4,088.33         $0.00      $0.00
            INC
        307 POW                                  $9,846.13         $0.00      $0.00
        310 REALBUTO, RICHARD &                $25,747.09          $0.00      $0.00
            ANNAMARIA JT TEN
        318 FIRST TRUST TTEE                   $11,590.00          $0.00      $0.00
        328 DISPATCH EXPRESS                   $12,550.00          $0.00      $0.00
        330 REALBUTO, MARIA L                 $138,143.34          $0.00      $0.00
        351 CUMMINGS, LINDA R & JAMES            $4,856.25         $0.00      $0.00
            L
        356 VAKALIS, ANN & GEORGE                $1,590.10         $0.00      $0.00
            JTWROS
        357 GONZALEZ, MAYRA                      $5,000.00         $0.00      $0.00
        363 MOSLEY, LISA                      $257,477.12          $0.00      $0.00
        364 MELTON, CAMERON D                    $2,830.00         $0.00      $0.00
        372 DISPATCH EXPRESS                   $12,500.00          $0.00      $0.00
        384 STIPE, JEAN                          $1,076.87         $0.00      $0.00
      395A FLIPPO CONSTRUCTION INC             $76,349.12          $0.00      $0.00
        418 LINEHAN, MICHAEL J &                 $4,500.00         $0.00      $0.00
            JEANNINE A
        433 DI SIBIO, PASCAL & DIAN R JT          $193.75          $0.00      $0.00
            TEN
        436 COUNTY OF LOUDOUN                 $103,333.97          $0.00      $0.00
            TREASURER
        439 STATE OF MISSOURI REV DEPT            $394.01          $0.00      $0.00
        440 STATE OF ILLINOIS SEC OF         $1,190,202.92         $0.00      $0.00
            STATE
        459 PROCEVIAT, LESLIE W                  $1,735.00         $0.00      $0.00
        467 WATERVIEW OFFICE CENTER               $568.00          $0.00      $0.00
            LTD
        475 MANN, ERIC J                         $3,353.13         $0.00      $0.00
        480 FEUER, DAVID D DDS                 $17,538.88          $0.00      $0.00
        483 TUNGATE, DAVID L                      $781.25          $0.00      $0.00
        484 ALARM CENTRAL                        $2,000.00         $0.00      $0.00
        494 GREENVILLE MAGAZINE                  $1,979.00         $0.00      $0.00

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        537 COUNTY OF PULASKI TAX              $43,186.01          $0.00      $0.00
            COLL DIV
        538 COUNTY OF PULASKI TAX             $150,779.16          $0.00      $0.00
            COLL DIV
        550 GENTRY, DONALD E                     $1,938.00         $0.00      $0.00
        570 DAVIS, KENNETH K                   $27,597.15          $0.00      $0.00
        573 ARDIRE, MARK P                     $10,000.00          $0.00      $0.00
        579 MAURO, ANTHONY                       $1,306.00         $0.00      $0.00
        606 AQUINO, GODOFREDO A                $24,000.00          $0.00      $0.00
        613 VERDINI, SHIRLEY A & JERRY           $2,809.84         $0.00      $0.00
            A JTWROS
        623 BOHANNON, DALE THOMAS                $6,450.00         $0.00      $0.00
        624 BOHANNON, DALE THOMAS                $1,900.50         $0.00      $0.00
        625 BOHANNON, DALE T &                   $3,200.00         $0.00      $0.00
            CYNTHIA L JT TEN
        633 QUALITY MECHANICAL LINC               $412.44          $0.00      $0.00
            SERVICE
      635A WOJCICKI, KONRAD                      $3,812.50         $0.00      $0.00
        636 COUNTY OF HAMILTON CLERK              $293.69          $0.00      $0.00
        641 VOGEL, FREDERICK J &                 $2,943.52         $0.00      $0.00
            DONSIRI JT TEN
        645 GREEN, KARIN E TTEE                  $2,975.50         $0.00      $0.00
        659 JONES, PAT M                           $64.01          $0.00      $0.00
        671 EDWARD D JONES & CO                  $2,787.01         $0.00      $0.00
        677 FRIERY, JOHN J & TENA TTEES          $1,117.45         $0.00      $0.00
        703 MORRIS, MATT M                       $5,254.00         $0.00      $0.00
        710 COUNTY OF COLORADO CAD             $10,011.20          $0.00      $0.00
        712 HAYNES, JOHNSON JR                   $1,500.00         $0.00      $0.00
        730 DILL, LOIS M                         $2,500.00         $0.00      $0.00
        743 BALLARD, KENNETH H &                  $662.50          $0.00      $0.00
            ELIZABETH SR JTWROS
        744 PINTO, ALVARO A & VICKY L            $4,013.60         $0.00      $0.00
            JR JT TEN
        745 SONEX ENTERPRISES, INC             $62,641.40          $0.00      $0.00
        754 WECHSLER, LARRY E & CAROL            $1,500.00         $0.00      $0.00
        757 LARSON, SEAN C & LINDA J JT          $5,187.50         $0.00      $0.00
            TEN
        760 GREENVILLE WATER SYSTEMS               $40.05          $0.00      $0.00
        774 JONES, JEANNIE M                     $4,894.85         $0.00      $0.00

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        781 REICHERT, TODD A                      $976.00          $0.00      $0.00
        786 MALLETT, TANYA A                      $599.63          $0.00      $0.00
        790 CARLETON, HARRY J                     $250.00          $0.00      $0.00
        792 COUNTY OF SANDOVAL                   $2,471.91         $0.00      $0.00
            TREASURER
        806 CITIZENS BANK                        $1,850.00         $0.00      $0.00
        827 WHITTLE, YVONNE &                  $29,250.00          $0.00      $0.00
            WILLIAM T JT TEN
        842 ISD OF EVERMAN OF TARRANT            $1,961.36         $0.00      $0.00
            COUNTY
        844 CBM FACILITIES INC                $157,026.45          $0.00      $0.00
        850 SUNGA, PACIENCIA G &                 $8,000.00         $0.00      $0.00
            CATALINA F G JT TEN
        854 VENTIMIGLIA, LEONARD A JR          $70,907.15          $0.00      $0.00
        874 DONNELLY, PAMELA & JOSEPH            $2,015.60         $0.00      $0.00
            A JR JT TEN
        884 PARKER, POE, ADAMS &                  $854.87          $0.00      $0.00
            BERNSTEIN LLP
        952 MATHEWS, LORI L                      $4,937.50         $0.00      $0.00
        953 QUALLES, SHEENA D                  $13,000.00          $0.00      $0.00
        963 CAVA, MELANIE & DREVO,             $38,680.00          $0.00      $0.00
            TODD
        964 STILLWELL, ANGELA W                   $124.81          $0.00      $0.00
        966 STILLWELL, ANGELA W                  $1,486.40         $0.00      $0.00
        978 WOODWARD, NANCY M                    $1,022.81         $0.00      $0.00
        982 HUA, JASON                           $6,000.00         $0.00      $0.00
        988 SOLOMON, PHYLLIS                     $4,900.00         $0.00      $0.00
        989 PATEL, KARNARAI                      $8,500.00         $0.00      $0.00
        991 HILTON, DIANE D                      $1,651.59         $0.00      $0.00
        997 TSENG, LEENA IRA                     $2,129.95         $0.00      $0.00
    1014A NATIONWIDE TRENCHING INC            $107,000.00          $0.00      $0.00
      1052 VORELL, THERESA M                     $8,500.00         $0.00      $0.00
      1053 MANCUSO-HANNA, VERONICA             $28,000.00          $0.00      $0.00
    1060A METROMEDIA FIBER                   $1,874,896.39         $0.00      $0.00
          NETWORK SVCS, INC
      1075 WONG, KAI S                           $3,400.00         $0.00      $0.00
      1078 MUELLER, RAYMOND O & JO-              $2,992.95         $0.00      $0.00
           ANN JTWROS
      1083 DICKSON, ANDREA R                     $7,576.66         $0.00      $0.00

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      1086 BURR, ALAN C                          $7,109.00         $0.00      $0.00
      1095 PATEL, BATUKLAL M &                   $4,764.95         $0.00      $0.00
           MALINI S JT TEN
    1149A CHASE MANHATTAN BANK,                  $4,615.10         $0.00      $0.00
          THE
    1150A CHASE MANHATTAN BANK,              $296,537,102.         $0.00      $0.00
          THE                                           00
    1151A CHASE MANHATTAN BANK,              $240,754,861.         $0.00      $0.00
          THE                                           11
    1152A CHASE MANHATTAN BANK,              $199,742,777.         $0.00      $0.00
          THE                                           78
    1153A CHASE MANHATTAN BANK,              $119,660,961.         $0.00      $0.00
          THE                                           00
      1155 CITY OF HURST                         $1,125.75         $0.00      $0.00
      1158 COUNTY OF HAMILTON                  $14,412.77          $0.00      $0.00
      1159 CITY OF RICHLAND HILLS                 $394.66          $0.00      $0.00
      1179 SHAHANI, JYOTI & RAVI K JT             $825.00          $0.00      $0.00
           TEN
      1182 MCCAIG, LAURENCE A                  $31,350.00          $0.00      $0.00
    1308A CIT COMMUNICATIONS                 $12,237,648.0         $0.00      $0.00
          FINANCE CORP                                   6
      1317 ANFIMOVAS, DONATAS                    $1,200.00         $0.00      $0.00
      1339 RAINDANCE                           $55,312.97          $0.00      $0.00
           COMMUNCIATIONS FKA
      1379 CITY OF MOBILE                      $10,000.00          $0.00      $0.00
      1388 DANIEL UTILITY                      $28,408.50          $0.00      $0.00
           CONSTRUCTION INC
      1422 MAURO, ANTHONY                        $1,708.20         $0.00      $0.00
      1429 AIR MANAGEMENT SERVICES,              $3,512.99         $0.00      $0.00
           INC
      1438 SIMS, SHUNTA E                         $234.00          $0.00      $0.00
    1443A VERIZON COMMUNICATIONS             $2,271,475.84         $0.00      $0.00
          OPERATING SUBS
    1544A NEWBRIDGE LEASING                   $521,790.21          $0.00      $0.00
    1545A BSFS EQUIPMENT LEASING                 $2,972.62         $0.00      $0.00
      1550 REALBUTO, KAREN C                     $2,008.84         $0.00      $0.00
      1551 REALBUTO, JAMES A                  $396,209.62          $0.00      $0.00
      1552 REALBUTO, FRANCIS H                   $7,402.35         $0.00      $0.00
      1553 REALBUTO, WILLIAM P                   $9,229.67         $0.00      $0.00
      1554 LAUB, KEITH B                         $4,300.00         $0.00      $0.00
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      1569 KIM, CHANG H & MEE R                  $2,060.00         $0.00      $0.00
      1573 LINDSAY, LESA                          $750.00          $0.00      $0.00
      1577 CONTARTESI, MICHAEL JUDE               $575.00          $0.00      $0.00
      1580 HUANG, CHUN HUNG                      $2,000.75         $0.00      $0.00
      1586 MUELLER, RICHARD D                    $1,291.08         $0.00      $0.00
      1588 KOPACH, DAVID M & JODY E JT           $1,200.00         $0.00      $0.00
           TEN
      1600 BONAGURA, ERNEST                      $1,000.00         $0.00      $0.00
      1605 GABELLI GLOBAL                     $109,664.45          $0.00      $0.00
           TELECOMMUNICATIONS FUND
    1607A CITY OF DALLAS                      $206,000.00          $0.00      $0.00
      1611 FINNERTY, THERESA                     $8,709.79         $0.00      $0.00
      1612 BRUGEL, JOSEPH J                      $1,789.33         $0.00      $0.00
      1613 WILLIAMSON, BEVERLY                   $7,205.00         $0.00      $0.00
      1614 STROH, KATHLEEN JO                    $4,417.95         $0.00      $0.00
      1615 MARION, RONALD P DDS                  $4,798.35         $0.00      $0.00
      1616 SERB, DOUGLAS R                     $48,455.75          $0.00      $0.00
      1617 HUTTON, FRANK E                     $10,277.88          $0.00      $0.00
      1618 RASHID, RONALD P                    $57,029.50          $0.00      $0.00
      1647 RAFFERTY, CHRISTOPHER L               $4,650.00         $0.00      $0.00
      1932 BANKS, EDWIN M                        $4,650.00         $0.00      $0.00
      2156 HUFF, WILLIAM R                       $4,560.00         $0.00      $0.00
      2163 HUFF, WILLIAM R                       $4,650.00         $0.00      $0.00
      2347 BENTZ, PETER C                        $4,650.00         $0.00      $0.00
      2530 WILLIAMS, STACI                       $5,392.18         $0.00      $0.00
      2533 COUNTY OF SPARTANBURG               $16,194.43          $0.00      $0.00
      2552 MATTHEWS, PHILIP T                    $1,394.00         $0.00      $0.00
      2559 RISHWAIN, KAREN S IRA                 $8,575.48         $0.00      $0.00
      2564 CUMMINS METROPOWER, INC               $2,949.81         $0.00      $0.00
      2575 CAI, WENYING W                         $611.25          $0.00      $0.00
      2576 ROBINSON, ARTIS                       $4,384.38         $0.00      $0.00
      2580 EXCEL COMMUNICATIONS,               $10,000.00          $0.00      $0.00
           INC
      2584 COUNTRYSPICE                           $183.14          $0.00      $0.00
      2585 COUNTY OF LEXINGTON-                  $3,339.85         $0.00      $0.00
           FAYETTE
      2586 COUNTY OF LEXINGTON-                $23,458.34          $0.00      $0.00
           FAYETTE

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      2602 COUNTY OF FALLS TAX A/C               $1,351.04         $0.00      $0.00
      2613 CUMMINGS, JAMES L                   $11,705.65          $0.00      $0.00
      2615 DOWNTOWN NAUTIILUS                 $321,000.00          $0.00      $0.00
      2616 LAWSON-EVERSTINE, LEIGH B             $1,400.00         $0.00      $0.00
      2619 COMMONWEALTH COPY                     $4,586.67         $0.00      $0.00
           PRODUCTS, INC
      2623 STATE OF RHODE ISLAND TAX              $250.00          $0.00      $0.00
           DIV
      2636 BERTA, ROSALIE ANN                     $995.31          $0.00      $0.00
      2637 ANDERSON, RHONDA &                    $2,500.00         $0.00      $0.00
           SHAWN JT TEN
      2640 INTERNAL REVENUE SERVICE           $132,402.64          $0.00      $0.00
    2643A STATE OF KANSAS REV DEPT               $2,751.33         $0.00      $0.00
      2653 WEATHERLY, CHRISTOPHER                $4,271.11         $0.00      $0.00
      2658 COUNTY OF RICHLAND                 $232,999.87          $0.00      $0.00
           TREASURER
      2663 COUNTY OF EL PASO                     $3,021.88         $0.00      $0.00
           TREASURER
      2676 STATE OF FLORIDA REV DEPT             $1,256.88         $0.00      $0.00
      2678 COUNTY OF NUECES                    $40,204.44          $0.00      $0.00
      2682 STATE OF LOUISIANA REV              $26,000.00          $0.00      $0.00
           DEPT
      2685 STATE OF LOUISIANA REV              $27,000.00          $0.00      $0.00
           DEPT
    2688A STATE OF FLORIDA REV DEPT            $15,382.77          $0.00      $0.00
      2689 STATE OF FLORIDA REV DEPT              $203.84          $0.00      $0.00
    2690A STATE OF FLORIDA REV DEPT              $2,640.11         $0.00      $0.00
    2691A STATE OF FLORIDA REV DEPT               $237.16          $0.00      $0.00
    2693A STATE OF NEW YORK TAX &                $9,048.36         $0.00      $0.00
          FIN DEPT
    2714A STATE OF OKLAHOMA TAX                   $243.81          $0.00      $0.00
          COMM
      2716 CITY OF BIRMINGHAM LAW              $14,040.25          $0.00      $0.00
           DEPT
      2717 CITY OF WATAUGA                       $1,577.37         $0.00      $0.00
      2722 WOMEN FOR HIRE                        $1,995.00         $0.00      $0.00
    2723A STATE OF MISSOURI REV DEPT             $4,869.95         $0.00      $0.00
      2731 COUNTY OF                              $442.63          $0.00      $0.00
           LOUISVILLE/JEFFERSON


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      2734 PBT TELECOM, INC                       $774.54          $0.00      $0.00
      2740 CITY OF NEW YORK FIN DEPT           $26,180.00          $0.00      $0.00
      2741 CITY OF NEW YORK FIN DEPT           $48,250.00          $0.00      $0.00
      2746 COUNTY OF DEKALB TAX               $108,175.78          $0.00      $0.00
           COMM
    2752A STATE OF ARIZONA REV DEPT               $496.25          $0.00      $0.00
      2765 ISD OF CARROLLTON-                  $41,779.69          $0.00      $0.00
           FARMERS BRANCH
      2766 CITY OF MOUNTAIN BROOK                $4,868.00         $0.00      $0.00
      2767 STATE OF NEW JERSEY TAX             $10,000.00          $0.00      $0.00
           DIV
      2770 PARKWAY REALTY SERVICES             $16,173.39          $0.00      $0.00
           LLC
    2774A STATE OF INDIANA REV DEPT              $5,251.56         $0.00      $0.00
      2777 STATE OF NEW JERSEY TAX               $4,000.00         $0.00      $0.00
           DIV
      2781 HANSEN, JUDY C                          $50.00          $0.00      $0.00
    2783A STATE OF FLORIDA REV DEPT           $251,517.19          $0.00      $0.00
    2785A STATE OF FLORIDA REV DEPT           $180,582.64          $0.00      $0.00
    2787A STATE OF FLORIDA REV DEPT           $254,640.65          $0.00      $0.00
    2790A STATE OF FLORIDA REV DEPT              $6,290.53         $0.00      $0.00
    2792A STATE OF FLORIDA REV DEPT           $240,936.97          $0.00      $0.00
    2793A STATE OF FLORIDA REV DEPT           $288,439.15          $0.00      $0.00
    2795A STATE OF FLORIDA REV DEPT              $5,000.00         $0.00      $0.00
    2796A STATE OF FLORIDA REV DEPT           $408,832.54          $0.00      $0.00
    2798A STATE OF FLORIDA REV DEPT            $29,116.63          $0.00      $0.00
    2802A STATE OF FLORIDA REV DEPT           $234,707.48          $0.00      $0.00
    2804A STATE OF FLORIDA REV DEPT           $225,255.80          $0.00      $0.00
    2806A STATE OF FLORIDA REV DEPT              $9,451.29         $0.00      $0.00
    2808A STATE OF FLORIDA REV DEPT            $70,060.61          $0.00      $0.00
    2811A STATE OF FLORIDA REV DEPT              $9,171.59         $0.00      $0.00
    2814A STATE OF SOUTH CAROLINA                   $0.12          $0.00      $0.00
          REV DEPT
      2824 DISTRICT OF COLUMBIA TAX &            $1,233.00         $0.00      $0.00
           REV
      2828 QUTAMI, GEORGIA                     $17,834.01          $0.00      $0.00
      2837 COUNTY OF GREENVILLE               $176,058.14          $0.00      $0.00
           TREAS
    2840A STATE OF GEORGIA REV DEPT                $81.00          $0.00      $0.00
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    2841A STATE OF GEORGIA REV DEPT            $23,095.82          $0.00      $0.00
    2842A STATE OF GEORGIA REV DEPT                $50.00          $0.00      $0.00
    2843A STATE OF GEORGIA REV DEPT                $15.00          $0.00      $0.00
    2844A STATE OF GEORGIA REV DEPT                $41.00          $0.00      $0.00
      2850 COUNTY OF FAYETTE                     $8,081.30         $0.00      $0.00
           APPRAISAL DIST
      2858 STATE OF LOUISIANA REV                  $14.00          $0.00      $0.00
           DEPT
      2925 COUNTY OF DEKALB TAX               $118,775.11          $0.00      $0.00
           COMM
    2931A STATE OF MISSOURI REV DEPT              $322.19          $0.00      $0.00
      2937 ASHLEMAN, RICHARD                   $12,000.00          $0.00      $0.00
      2939 CITY OF NEW ORLEANS                $596,062.24          $0.00      $0.00
      2948 COUNTY OF NUECES                    $70,314.98          $0.00      $0.00
      2952 T&D UNDERGROUND LLC                 $30,070.00          $0.00      $0.00
      2962 CITY OF CARROLLTON                    $3,863.15         $0.00      $0.00
      2963 COUNTY OF TARRANT                  $128,304.47          $0.00      $0.00
    2964A STATE OF FLORIDA REV DEPT           $181,626.23          $0.00      $0.00
      2966 CITY OF NEW ORLEANS                $267,813.00          $0.00      $0.00
      2972 CITY OF CHATTANOOGA                 $23,238.89          $0.00      $0.00
      2974 COUNTY OF EL PASO                   $31,488.24          $0.00      $0.00
           TREASURER
    2975A STATE OF MISSISSIPPI TAX                 $50.00          $0.00      $0.00
          COMMISSION
      2987 COUNTY OF LOUDOUN                   $16,164.31          $0.00      $0.00
           TREASURER
      2990 JOHNSON ACCOUNT (THE)              $108,236.81          $0.00      $0.00
      2991 GLOBAL INTERNATIONAL INC           $458,737.04          $0.00      $0.00
      3004 STATE OF ALABAMA TAX                  $9,831.47         $0.00      $0.00
           COLLECTOR
      3005 STATE OF ALABAMA TAX               $197,400.85          $0.00      $0.00
           COLLECTOR
      3006 STATE OF ALABAMA TAX                  $6,480.18         $0.00      $0.00
           COLLECTOR
      3008 CITY OF CARROLLTON                    $3,081.00         $0.00      $0.00
    3014A STATE OF FLORIDA REV DEPT            $30,016.70          $0.00      $0.00
    3015A STATE OF FLORIDA REV DEPT              $1,683.24         $0.00      $0.00
    3026A STATE OF FLORIDA REV DEPT           $968,299.97          $0.00      $0.00
    3036A STATE OF FLORIDA REV DEPT          $2,165,298.84         $0.00      $0.00

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    3050A STATE OF FLORIDA REV DEPT                    $38,925.36            $0.00           $0.00
    3051A STATE OF FLORIDA REV DEPT                   $774,091.82            $0.00           $0.00
    3052A STATE OF FLORIDA REV DEPT                   $219,322.29            $0.00           $0.00
    3053A STATE OF FLORIDA REV DEPT                    $74,044.53            $0.00           $0.00
    3054A STATE OF FLORIDA REV DEPT                    $53,326.08            $0.00           $0.00
    3055A STATE OF FLORIDA REV DEPT                 $2,108,067.11            $0.00           $0.00
      3076 COUNTY OF CHARLESTON                        $45,737.32            $0.00           $0.00
      3079 STATE OF ARIZONA REV DEPT                        $50.00           $0.00           $0.00
      3187 COUNTY OF FULTON                           $280,238.35            $0.00           $0.00
      3188 COUNTY OF FULTON                            $55,849.70            $0.00           $0.00
      3266 ISD OF COPPELL                               $6,303.44            $0.00           $0.00
      3267 CITY OF RICHARDSON                             $672.57            $0.00           $0.00
    3281A STATE OF ILLINOIS                               $100.00            $0.00           $0.00
          EMPLOYMENT SEC
    3301A COMMONWEALTH OF                               $6,172.30            $0.00           $0.00
          KENTUCKY REV DEPT
      3302 COUNTY OF LOUISVILLE-                        $4,754.78            $0.00           $0.00
           JEFFERSON


                                     Total to be paid to priority claims:                   $0.00
                                                    Remaining balance:                      $0.00

        The actual distribution to wage claimants included above, if any, will be the proposed
payment less applicable withholding taxes (which will be remitted to the appropriate taxing
authorities).

       Timely claims of general (unsecured) creditors totaling $318,560,472.61 have been
allowed and will be paid pro rata only after all allowed administrative and priority claims have
been paid in full. The timely allowed general (unsecured) dividend is anticipated to be 0.0
percent, plus interest (if applicable).

         Timely allowed general (unsecured) claims are as follows:

Claim         Claimant                             Allowed Amt.          Interim         Proposed
No.                                                     of Claim      Payments to         Amount
                                                                            Date
  ADMIN 1st Priority Personal Property Tax                   $0.00           $0.00           $0.00
        Claim
           1 BURNS INT'L SECURITY SVCS                  $1,556.80            $0.00           $0.00
           3 LUCENT TECHNOLOGIES INC                $4,061,635.14            $0.00           $0.00
           7 CORPSOFT INC                             $501,345.89            $0.00           $0.00

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           8 PBT TELECOM, INC                     $906.06          $0.00      $0.00
           9 BIXBY TELEPHONE COMPANY                $0.00          $0.00      $0.00
         10 TECH DATA CORPORATION                $8,462.62         $0.00      $0.00
         11 KINKO'S INC                          $1,787.58         $0.00      $0.00
         12 RELIANT ENERGY                       $1,578.90         $0.00      $0.00
         13 ZIFF DAVIS MEDIA                   $60,602.82          $0.00      $0.00
         14 BUSINESS WIRE                        $2,760.00         $0.00      $0.00
         16 TEK SYSTEMS INC                    $18,504.12          $0.00      $0.00
         17 COMMUNICATIONS SERVICES            $47,725.00          $0.00      $0.00
            INC
         18 CORBAN COMMUNICATIONS,             $15,217.04          $0.00      $0.00
            INC
         19 NEXTEL COMMUNICATIONS                $8,117.25         $0.00      $0.00
         20 PAULEY CONSTRUCTION INC           $257,832.57          $0.00      $0.00
         21 FIRST POINT, INC                  $218,030.73          $0.00      $0.00
         23 DUN & BRADSTREET                     $3,805.50         $0.00      $0.00
         24 POTOMAC ELECTRIC POWER                $480.08          $0.00      $0.00
            CO
         25 BUSINESS TELECOM INC               $13,707.75          $0.00      $0.00
         27 ON THE MARK INC                      $5,583.63         $0.00      $0.00
         28 MILES & STOCKBRIDGE PC             $30,296.22          $0.00      $0.00
         29 STOKELY OUTDOOR                      $3,709.68         $0.00      $0.00
            ADVERTISING
         30 ADO STAFFING INC FKA OLSEN           $1,141.34         $0.00      $0.00
            CORP
         31 WASHINGTON GAS                       $1,871.40         $0.00      $0.00
         32 ADECCO EMPLOYMENT SVCS,          $1,323,518.88         $0.00      $0.00
            INC
         34 CPS DIRECT INC                     $81,390.24          $0.00      $0.00
         35 WILLIAMS COMMUNICATIONS              $7,663.80         $0.00      $0.00
            SOLUTIONS LLC
         36 WILLIAMS COMMUNICATIONS            $42,281.28          $0.00      $0.00
            SOLUTIONS LLC
         37 GREAT AMERICA LEASING                $8,723.76         $0.00      $0.00
            CORP
         38 NEXTEL COMMUNICATIONS              $43,476.43          $0.00      $0.00
         39 NEVADA POWER COMPANY                 $4,064.81         $0.00      $0.00
         40 WRIGHT LINDSEY & JENNINGS          $72,778.61          $0.00      $0.00
            LLP

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         41 AKIN GUMP STRAUSS HAUER            $21,325.79          $0.00      $0.00
            & FELD LLP
         42 AVAYA COMMUNICATIONS                 $1,512.88         $0.00      $0.00
            FDBA LUCENT TECH
         44 WASHINGTON GAS                          $0.00          $0.00      $0.00
         46 COLE RAYWID & BRAVERMAN,           $29,636.61          $0.00      $0.00
            LLP
         47 AVAYA COMMUNICATIONS                  $275.00          $0.00      $0.00
            FDBA LUCENT TECH
         49 TIGER INFORMATION SYSTEMS            $2,140.38         $0.00      $0.00
            INC
         50 SOUTHWESTERN BELL                  $39,317.80          $0.00      $0.00
            TELEPHONE CO
         51 CABLE & WIRELESS USA INC          $137,783.03          $0.00      $0.00
         53 DATA JUNCTION                      $12,991.00          $0.00      $0.00
            CORPORATION
         56 KELLY SERVICES, INC                $71,722.83          $0.00      $0.00
         57 ARTISYS CORPORATION                $44,632.00          $0.00      $0.00
         58 CARMEN GROUP INC, THE              $19,238.92          $0.00      $0.00
         61 OFFICE TEAM                          $1,252.80         $0.00      $0.00
         70 CDW COMPUTER CENTERS, INC          $10,765.57          $0.00      $0.00
         75 FEDERAL EXPRESS                         $0.00          $0.00      $0.00
            CORPORATION
         76 SKYLINE CREDIT RIDE, INC             $1,357.62         $0.00      $0.00
         78 ALABAMA POWER COMPANY                 $589.14          $0.00      $0.00
         79 T&P INCENTIVES INC                $138,702.24          $0.00      $0.00
         80 GULF TELEPHONE COMPANY               $4,607.34         $0.00      $0.00
         81 NOLAN BATTERY CO                     $3,880.48         $0.00      $0.00
         83 MURPHY, EDWARD C                        $0.00          $0.00      $0.00
         84 LAZZARA, MARY ANNE                    $878.00          $0.00      $0.00
         86 CHALMERS, RICHARD &                     $0.00          $0.00      $0.00
            DONNA JTWROS
         89 LAI CONSTRUCTION SERVICES,         $86,493.00          $0.00      $0.00
            INC
         90 SAPIANO, ALBERT                   $143,437.50          $0.00      $0.00
         91 CLEVELAND INSPECTION              $259,845.00          $0.00      $0.00
            SERVICES, INC
         92 VOGEL, GILBERT & RUTH JT             $3,059.25         $0.00      $0.00
            TEN COM
         93 ENVIRO-SAFE                            $84.80          $0.00      $0.00
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         94 HALLIDAY, ARLENE C                      $0.00          $0.00      $0.00
         95 LEVY, YACOV & CAROLE                 $4,240.00         $0.00      $0.00
         97 MARSHALL, STEPHEN                    $4,752.00         $0.00      $0.00
         98 SWEET, RICHARD & SHARON                 $0.00          $0.00      $0.00
            JTWROS
         99 GOMOLKA, KAREN & ROBERT              $5,187.00         $0.00      $0.00
        100 GTE COMMUNICATIONS                 $11,341.49          $0.00      $0.00
            SYSTEMS CORP DBA
        101 ALPAUGH, WALTER H IRA FBO            $4,093.75         $0.00      $0.00
        102 GALEA, JOSEPH & DEBORAH A               $0.00          $0.00      $0.00
        105 FARLOW, LINDA                           $0.00          $0.00      $0.00
        106 PEPE, VINCENT J                         $0.00          $0.00      $0.00
        107 FBW INC C/F STEWART ANN M               $0.00          $0.00      $0.00
        109 MORABITO, ROCCO P &                   $668.75          $0.00      $0.00
            FRANCES A
        110 GROSSI, RICHARD F,                   $1,300.00         $0.00      $0.00
            CUSTODIAN
        111 MILLER, MARTIN B                        $0.00          $0.00      $0.00
        113 GROSSI, RICHARD F                    $3,287.50         $0.00      $0.00
        116 IMPERIAL COFFEE SERVICE               $745.99          $0.00      $0.00
        117 TONN, ALBERT W & JOAN A JT           $1,399.50         $0.00      $0.00
            TEN
        118 ECKELS, MARK K                          $0.00          $0.00      $0.00
        121 NTS COMMUNICATIONS, INC           $131,409.21          $0.00      $0.00
        122 PARISH OF JEFFERSON               $152,108.61          $0.00      $0.00
            ATTORNEY'S OFFICE
        123 KFORCE.COM                           $8,500.00         $0.00      $0.00
        124 FR ALEMAN & ASSOCIATES                $250.00          $0.00      $0.00
            INC
        125 UTILITY NOTIFICATION                  $602.70          $0.00      $0.00
            CENTER OF COLORADO
        126 US COMMUNICATIONS INC                $4,909.00         $0.00      $0.00
        132 SPHERION ATLANTIC                  $13,824.59          $0.00      $0.00
            ENTERPRISES LLC FKA
        133 AMERICAN EXPRESS TRAVEL              $9,141.33         $0.00      $0.00
            RELATED
        135 AVAYA COMMUNICATIONS                  $954.32          $0.00      $0.00
            FDBA LUCENT TECH
        136 AVAYA COMMUNICATIONS                    $0.00          $0.00      $0.00
            FDBA LUCENT TECH
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        137 AVAYA COMMUNICATIONS                  $264.48          $0.00      $0.00
            FDBA LUCENT TECH
        140 CITY OF ALBUQUERQUE                $24,070.60          $0.00      $0.00
            TREAS DEPT
        141 CITY OF ALBUQUERQUE                   $180.00          $0.00      $0.00
            TREAS DEPT
        142 SM&P UTILITY RESOURCES,            $17,984.00          $0.00      $0.00
            INC
        143 AVAYA COMMUNICATIONS                  $484.06          $0.00      $0.00
            FDBA LUCENT TECH
        144 AVAYA COMMUNICATIONS                  $767.58          $0.00      $0.00
            FDBA LUCENT TECH
        145 NEXTEL COMMUNICATIONS              $48,634.32          $0.00      $0.00
        148 ANICOM                               $5,486.58         $0.00      $0.00
        149 BROKAW, LENORA DIANE                    $0.00          $0.00      $0.00
        150 SQUIRES GROUP INC, THE                  $0.00          $0.00      $0.00
        152 REMAX CAPITAL CITY                    $666.08          $0.00      $0.00
        154 TEXMASTER EXPRESS, INC                 $66.80          $0.00      $0.00
        156 ASHBY, JESSE                          $972.61          $0.00      $0.00
        159 RADIO, INC                           $1,664.03         $0.00      $0.00
        160 BAKKER, MARGARET EILEEN            $13,583.38          $0.00      $0.00
        161 MOGITZ, ANNA                         $2,400.00         $0.00      $0.00
        163 STEFANAC, ANTHONY J                $11,000.00          $0.00      $0.00
        165 STOREY, SHARON                       $1,400.00         $0.00      $0.00
        166 CYPRESS OFFICE HOLDINGS,             $4,849.15         $0.00      $0.00
            LTD
        167 DINO'S SNACK SHOP                     $360.80          $0.00      $0.00
        168 TAMBURRO, HEATHER A &                 $285.73          $0.00      $0.00
            VINCENT M JTWROS
        169 INFO USA                             $1,334.38         $0.00      $0.00
        170 CERNY, ALAN JR & KIM JT TEN           $500.00          $0.00      $0.00
        171 CALTABIANO, ANGELO P FBO             $4,104.90         $0.00      $0.00
        172 AUDIOVISUAL-WASHINGTON,               $360.00          $0.00      $0.00
            INC
        175 BALDWIN, JAMES B & MARY M            $2,370.00         $0.00      $0.00
            JTTEN
        176 COWLES, TED                           $100.00          $0.00      $0.00
        177 PRITCHETT, WILLIAM G &                $457.00          $0.00      $0.00
            LILLIAN


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        178 STEIN, ALAN L                        $8,997.40         $0.00      $0.00
        179 HAWKEYE UNDERGROUND               $112,845.00          $0.00      $0.00
            INC
        180 BERLIND, CHNOO LON                      $0.00          $0.00      $0.00
        181 EASTERN MAINE HEALTHCARE               $59.85          $0.00      $0.00
        182 BERLIND, JEFFREY FBO                    $0.00          $0.00      $0.00
        183 LEE, PETER C                            $0.00          $0.00      $0.00
        185 COMPETITIVE COMPUTER                 $7,800.00         $0.00      $0.00
            INFORMATION
        186 COMPETITIVE COMPUTER               $94,720.00          $0.00      $0.00
            INFORMATION
        188 ELI SYSTEMS, INC                     $4,233.00         $0.00      $0.00
        189 DANET INC                          $18,762.94          $0.00      $0.00
        191 SITA BUSINESS SYSTEMS INC               $0.00          $0.00      $0.00
        193 B&W ENTERPRISES                       $726.61          $0.00      $0.00
        194 TOTH, DAVID JR & TAMMY M              $510.00          $0.00      $0.00
            JT TEN
        195 SANDERSON, RICHARD JR &              $1,061.20         $0.00      $0.00
            JEAN MARIE
        197 B&B FIBER                            $9,036.50         $0.00      $0.00
        198 B&B FIBER & CABLE                  $17,142.30          $0.00      $0.00
        199 VEENENDAALCAVE INC                   $6,593.85         $0.00      $0.00
        200 ACHIEVEGLOBAL                      $28,296.08          $0.00      $0.00
        202 HERMAN, EDDIE & STUART,                 $0.00          $0.00      $0.00
            APRIL JT TEN
        203 LIBBEY, ANA MARIA P                   $825.00          $0.00      $0.00
        204 WASH, RICHARD L                         $0.00          $0.00      $0.00
        205 WASH, RICHARD L                         $0.00          $0.00      $0.00
        206 CHAPMAN, LEON T                      $2,604.95         $0.00      $0.00
        207 XPECT FIRST AID                      $1,271.96         $0.00      $0.00
        209 PETERSON, WILLIAM L JR &                $0.00          $0.00      $0.00
            KATHLEEN M
        210 PETERSON, WILLIAM L JR                  $0.00          $0.00      $0.00
        211 LASSNER, DALE R                    $22,478.82          $0.00      $0.00
        212 MURPHY, WALTER F S &                    $0.00          $0.00      $0.00
            BARBARA S
        213 AIRCOND CORPORATION                  $1,124.00         $0.00      $0.00
        214 CALLAS, WILLIAM G                       $0.00          $0.00      $0.00
        215 AC SYSTEMS, INC                       $369.97          $0.00      $0.00
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        216 CORPORATE MECHANICAL                  $210.84          $0.00      $0.00
            CONTRACTORS
        217 RUSSO, JOSEPH                        $2,495.22         $0.00      $0.00
        218 HEITMANN, ELAINE M & JOHN               $0.00          $0.00      $0.00
            H JTWROS
        219 SCISCIANI, DAVID JOHN                $5,481.25         $0.00      $0.00
        220 PRUDENTIAL SECURITIES C/F            $4,755.00         $0.00      $0.00
        221 WOLLAND, EDEN LOREN                     $0.00          $0.00      $0.00
        225 GUIDED BORING, INC                $150,000.00          $0.00      $0.00
        228 QUICK DELIVERY                          $0.00          $0.00      $0.00
        229 I-K ELECTRIC COMPANY                  $722.87          $0.00      $0.00
        230 FOURNET, LEON FRANCIS                $1,125.00         $0.00      $0.00
        231 ALTAVILLA, PETER T &                 $8,500.00         $0.00      $0.00
            PATRICIA A
        232 BARBEE, PAUL BRETT                    $100.00          $0.00      $0.00
        233 JLR COLLECTIBLES                       $59.85          $0.00      $0.00
        234 BOISSONNEAU, HENRY U                    $0.00          $0.00      $0.00
        235 CR CABLE CONSTRUCTION INC             $300.00          $0.00      $0.00
        236 STEPHEN C POMEROY, INC               $1,911.02         $0.00      $0.00
        237 RICHARDS, KATHLEEN                   $1,105.00         $0.00      $0.00
        238 RICHARDS, JEFFREY J                  $6,906.25         $0.00      $0.00
        239 GUEST CHIROPRACTIC CLINIC               $0.00          $0.00      $0.00
        240 SHAIR, LIENNA                        $2,778.78         $0.00      $0.00
        241 HARRIS, MATTHEW J                    $2,012.50         $0.00      $0.00
        242 SECURITY ONE                           $69.80          $0.00      $0.00
        243 SHOWALTER, MARY J &                  $1,386.45         $0.00      $0.00
            WARREN L POA
        244 SOMWARU, RUDY & AGAPI L                 $0.00          $0.00      $0.00
            JT TEN
        246 NASSEHI, MOHAMMED REZA                $330.00          $0.00      $0.00
        247 HOWARD HUGHES                     $137,253.57          $0.00      $0.00
            PROPERTIES, LTD
        249 AUTOMATIC PROTECTION                  $325.00          $0.00      $0.00
            SYSTEMS
        250 STATEWIDE AUTOMATIC FIRE             $1,960.00         $0.00      $0.00
            ELEC
        251 LOGICAL LINK, INC                    $7,997.00         $0.00      $0.00
        253 LEUNG, CAROLINE B &                  $3,185.00         $0.00      $0.00
            LAURENCE JTWROS

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        255 LOGAN, DEAN E                           $0.00          $0.00      $0.00
        256 DELIO, ANTHONY R &                      $0.00          $0.00      $0.00
            ANTOINETTE
        257 RAM ENVIRONMENTAL TECH                  $0.00          $0.00      $0.00
            INC
        258 ADVANCED LIGHTNING                      $0.00          $0.00      $0.00
            TECHNOLOGY
        261 DAVIS, VERA C & JAMES F, JT          $1,012.00         $0.00      $0.00
            TEN
        262 RENOIR, STEVEN J & ROSALYN         $30,075.00          $0.00      $0.00
            A JT TEN
        263 BLOWERS, ROBERT W, TTEE               $962.50          $0.00      $0.00
        264 TRIAD MANAGEMENT                   $30,380.00          $0.00      $0.00
            SYSTEMS, INC
        265 MASTER PLUMBING INC                     $0.00          $0.00      $0.00
        266 ROBINSON, NICHOLAS C                 $1,300.00         $0.00      $0.00
        267 BERGSTROM-BRUNE,                     $3,671.34         $0.00      $0.00
            KIMBERLY A
        270 HAMPTON INN                            $75.90          $0.00      $0.00
        271 HAMPTON INN                          $1,518.00         $0.00      $0.00
        272 NISIVACO, THOMAS J                    $497.40          $0.00      $0.00
        274 JONES, NAOMI C                          $0.00          $0.00      $0.00
        276 SCHMIDT, AMY C                        $470.00          $0.00      $0.00
        277 WESSELY-THOMPSON                      $127.80          $0.00      $0.00
            HARDWARE INC
        278 ROYAL SONESTA HOTEL                $19,840.00          $0.00      $0.00
        280 FROST, ALLEN F                          $0.00          $0.00      $0.00
        281 WEISS, BRAD D                           $0.00          $0.00      $0.00
        282 OSTROW, CAROL DEE                       $0.00          $0.00      $0.00
        283 JENNE, RITA F & RYAN,                 $654.33          $0.00      $0.00
            LILBURN T JTWROS
        284 CHANG, LOUIS                          $334.64          $0.00      $0.00
        285 JOHN CONTI COFFEE                     $340.87          $0.00      $0.00
        286 FEUERBACHER, JOHN W & ROY               $0.00          $0.00      $0.00
            JTWROS
        288 TUNNERA LOUIS JR & LOIS S            $1,200.00         $0.00      $0.00
            JTWROS
        289 MOROCH, BYRON                        $6,383.74         $0.00      $0.00
        290 WU, CAROL & LINDA JT TEN               $68.00          $0.00      $0.00


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        292 FUCHS, HOWARD & SUSAN, TIC            $800.00          $0.00      $0.00
        293 DISTEFANO, GLORIA & JOSEPH            $450.00          $0.00      $0.00
        297 MAZZETTI, PETER                    $16,000.00          $0.00      $0.00
        299 DALTON, RICHARD T                    $1,160.25         $0.00      $0.00
            EDUCATIONAL
        300 BRUNE, ALAN K                        $5,430.15         $0.00      $0.00
        301 NICHOLS, DANNY                     $37,779.75          $0.00      $0.00
        303 BROCKLAND, JOHN A                       $0.00          $0.00      $0.00
        308 CLEAR CHANNEL                         $649.95          $0.00      $0.00
            BROADCASTING INC
        309 MERRITT, GLEN B                      $8,786.00         $0.00      $0.00
        311 ROBERT CAYLOR                      $23,185.47          $0.00      $0.00
            CONSTRUCTION CO
        312 AIR FRESH CHEM-DRY                   $2,250.00         $0.00      $0.00
        313 AIR FRESH CHEM-DRY                      $0.00          $0.00      $0.00
        314 FOX, LEONARD L                       $2,500.00         $0.00      $0.00
        317 JARRETT, DARLYNE                        $0.00          $0.00      $0.00
        319 BURGER, PATRICE M                    $1,398.58         $0.00      $0.00
        320 STEWART, JACOB A & SYLVIA            $2,419.99         $0.00      $0.00
            P JTWROS
        321 ENGINEERING DIAGNOSTICS               $549.70          $0.00      $0.00
        322 STEPHENS, RUTH DYKES                  $641.75          $0.00      $0.00
        323 LIGHT BULB SOURCE, INC                 $59.63          $0.00      $0.00
        324 HICKS, HOWARD & FAYE                 $1,693.00         $0.00      $0.00
        325 NATIONAL SAFETY COUNCIL              $1,151.43         $0.00      $0.00
        327 ADAM'S MARK HOTEL                     $141.20          $0.00      $0.00
        329 WARDROP, ROBERT A & DIANE               $0.00          $0.00      $0.00
        331 SUPPRESSION SYSTEMS INC                 $0.00          $0.00      $0.00
        332 PINE BELT TELEPHONE                  $2,742.90         $0.00      $0.00
            COMPANY
        333 FINE LINE STENCIL                    $3,184.98         $0.00      $0.00
        334 COMFORT SUITES LAUREL                $2,124.94         $0.00      $0.00
        335 LAND SURVEYING CONCEPTS,           $10,455.00          $0.00      $0.00
            INC
        336 HITT CONTRACTING, INC              $18,494.18          $0.00      $0.00
        337 CSX TRANSPORTATION CO              $15,136.48          $0.00      $0.00
        339 ARS COMMERCIAL                     $12,124.30          $0.00      $0.00
            OPERATIONS

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        340 CORONITI, RICARDO A, CUST          $13,253.75          $0.00      $0.00
        341 WMYI                                 $1,050.00         $0.00      $0.00
        342 TORRY TELECOM & CABLE                $3,028.73         $0.00      $0.00
        343 MAHLANDT, PATRICIA                    $837.50          $0.00      $0.00
            THOMAS
        344 TORRY TELECOM & CABLE                $5,089.50         $0.00      $0.00
        345 DICKINSON, DEBORAH & RAY             $1,287.50         $0.00      $0.00
            JT TEN
        346 GEORGIA MOUNTAIN WATER                 $71.04          $0.00      $0.00
        347 TAMMEN, CRAIG A & CYNTHIA            $6,518.45         $0.00      $0.00
            A
        348 KIGHTLINGER, KELLY A               $50,000.00          $0.00      $0.00
        352 HARVILLE, ROYCE                       $710.63          $0.00      $0.00
        353 HARVILLE, ROYCE                         $0.00          $0.00      $0.00
        355 GUILD ELECTRIC, INC                  $5,058.53         $0.00      $0.00
        358 ABAHAZY, JON P & ERIKA B,             $748.00          $0.00      $0.00
            JTWROS
        359 AMERICAN FIRE EQUIPMENT              $2,033.30         $0.00      $0.00
        360 COMMUNICATIONS SERVICES            $72,398.39          $0.00      $0.00
            & SUPPLIES LC
        361 LEX REPROGRAPHICS                  $33,335.71          $0.00      $0.00
        362 TENNESSEE ONE-CALL                    $350.00          $0.00      $0.00
            SYSTEM, INC
        365 MARTIN J SCHWARTZ PA               $25,000.00          $0.00      $0.00
            PROFIT SH TRUST
        366 TOPPER, LEROY J & FROMAN,            $1,020.00         $0.00      $0.00
            JAMES A JT TEN
        367 FROMAN, JAMES A                      $3,258.75         $0.00      $0.00
        368 ELLIOT, KEN D                        $8,000.00         $0.00      $0.00
        369 AMERICAN FIBER SPLICERS,                $0.00          $0.00      $0.00
            INC
        370 ROBERT W BAIRD & CO INC              $2,706.50         $0.00      $0.00
            TTEE
        371 KENNEDY WILSON INTL                   $567.74          $0.00      $0.00
        373 ROSSVILLE PUBLIC LIBRARY             $1,573.53         $0.00      $0.00
        374 HANEY, WILLIAM IRA                   $2,569.00         $0.00      $0.00
        375 TASAKA, MASAICHI TTEE                $5,550.00         $0.00      $0.00
        376 DEMOTT BUSINESS SYSTEMS               $436.55          $0.00      $0.00
            INC


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        377 MACKEPRANG, OLE                         $0.00          $0.00      $0.00
        378 MARYLAND OFFICE                    $11,303.47          $0.00      $0.00
            RELOCATORS, INC
        379 EMPLOYMENT LEARNING                  $3,816.07         $0.00      $0.00
            INNOVATIONS
        380 PEP CONSTRUCTION, INC              $65,702.00          $0.00      $0.00
        381 NEWMAN, AUDREY &                        $0.00          $0.00      $0.00
            MCKENDRY, JOHN JT WROS
        382 SKIDMORE, SUZETTE                  $20,000.00          $0.00      $0.00
        383 TRINICOMP SYSTEMS INC             $138,970.31          $0.00      $0.00
        385 A&E PRODUCTS COMPANY INC              $503.06          $0.00      $0.00
        386 CYCLONICS/EXHIBIT                  $53,488.59          $0.00      $0.00
            DYNAMICS
        387 BIXBY TELEPHONE COMPANY              $5,804.20         $0.00      $0.00
        388 ELECTRONICS SUPPLY CO INC             $845.56          $0.00      $0.00
        389 KENNEDY CONTRACTORS                   $225.00          $0.00      $0.00
            INCORPORATED
        390 CAVALIER INTERNATIONAL               $3,689.53         $0.00      $0.00
            FREIGHT, INC
        391 PRIME LINE                         $15,960.50          $0.00      $0.00
            COMMUNICATIONS
        392 IPCX BLOOM PROPERTIES LLC            $2,540.32         $0.00      $0.00
        393 FRENCH BRAY                          $4,423.33         $0.00      $0.00
        394 GACCIONE, FRANK L                       $0.00          $0.00      $0.00
        396 MORGAN, LEWIS & BOCKIUS           $249,670.92          $0.00      $0.00
            LLP
        398 PC UNIVERSE INC                    $10,020.86          $0.00      $0.00
        399 ABDERHALDEN, HENRY E               $27,571.85          $0.00      $0.00
        400 JARVIS, ANNE BAXTER                     $0.00          $0.00      $0.00
        401 DSET CORPORATION                   $23,276.15          $0.00      $0.00
        402 36 NORTH EAST SECOND                    $0.00          $0.00      $0.00
            STREET LLC
        403 ONE CALL SYSTEM INC                  $1,429.01         $0.00      $0.00
        404 KRZEBIOT, BOGUMIL &                  $9,738.87         $0.00      $0.00
            MARIOLA JT TEN
        405 SOUTHWEST COMPETITIVE                $2,070.00         $0.00      $0.00
            TELECOMM ASSOC
        408 CORMIER, CAROL                        $154.71          $0.00      $0.00
        409 MARSH, DOLLY & BURT TTEE             $7,295.25         $0.00      $0.00


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        410 MOSS, STEPHEN E                      $5,000.00         $0.00      $0.00
        411 HENKELS & MCCOY INC                $24,000.00          $0.00      $0.00
        412 GROSS, THOMAS P                      $5,000.00         $0.00      $0.00
        413 MURPHY, WILLIAM                         $0.00          $0.00      $0.00
        415 ACOSTA, BRENDA JOYCE                 $1,275.00         $0.00      $0.00
        417 LIPARI, BARBARA                      $2,436.59         $0.00      $0.00
        419 GIULIANI, RICHARD L                  $6,483.72         $0.00      $0.00
        420 MANJIKIAN, RAFFI M                      $0.00          $0.00      $0.00
        422 BARAIYA, RAMJI H                     $1,218.75         $0.00      $0.00
        423 BOYD, JOHN F                         $9,684.00         $0.00      $0.00
        424 ACIES INC                               $0.00          $0.00      $0.00
        425 ACIES INC                        $1,184,339.50         $0.00      $0.00
        426 ACIES INC                               $0.00          $0.00      $0.00
        427 TELECOMCAREERS.NET, LLC              $3,045.00         $0.00      $0.00
        428 CASEY, DONALD                         $547.40          $0.00      $0.00
        429 MAKOHIN, GEORGE M, ESQ               $4,835.87         $0.00      $0.00
        432 WILDS, JEFFREY S                     $6,998.71         $0.00      $0.00
        434 CONNERS, CHARLES B TTEE                 $0.00          $0.00      $0.00
        435 MCGEE, CYNTHIA L                      $834.43          $0.00      $0.00
        437 M&M POWER LLP                        $1,200.00         $0.00      $0.00
        438 FRANK PARSONS PAPER                $31,046.28          $0.00      $0.00
            COMPANY INC
        441 CUSACK, JIM                          $6,567.02         $0.00      $0.00
        442 MISSOURI ONE CALL                    $3,157.35         $0.00      $0.00
        444 ZEBROWSKI, SOPHIE K                  $1,436.00         $0.00      $0.00
        445 LIBERTO, ANTONIO & ROSA JT              $0.00          $0.00      $0.00
            TEN
        446 HOOFF, MAREMI N                         $0.00          $0.00      $0.00
        447 INITIAL CONTRACT SERVICES,           $1,089.15         $0.00      $0.00
            INC
        448 KOPELS, MORRIS                          $0.00          $0.00      $0.00
        449 NEWBERG, B ALAN & GAIL M             $2,625.00         $0.00      $0.00
        450 BRYSON, RANDALL                         $0.00          $0.00      $0.00
        453 E.COMMUNICATIONS                        $0.00          $0.00      $0.00
            ADVISORY GROUP
        454 DAVIS, JEFFREY T                     $6,875.00         $0.00      $0.00
        455 POLLARD, GEORGIA N                   $8,023.65         $0.00      $0.00
        457 SAVOIE, DIANA M                         $0.00          $0.00      $0.00
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        458 GORDON, KIRA                          $978.00          $0.00      $0.00
        460 MASTRIANNA, JOSEPH                   $5,372.87         $0.00      $0.00
        461 HEIDENBERGER                         $7,148.00         $0.00      $0.00
            CONSTRUCTION INC
        462 ARS COMMERCIAL                     $13,820.05          $0.00      $0.00
            OPERATIONS
        463 WORLDWIDE FIBER OPTIC INC          $78,720.00          $0.00      $0.00
        464 WORLDWIDE FIBER OPTIC INC          $56,160.00          $0.00      $0.00
        465 AEROTEK EF&I SERVICES                   $0.00          $0.00      $0.00
        466 LI, VICKY                               $0.00          $0.00      $0.00
        468 KAPLAN, BARBARA L                  $21,382.08          $0.00      $0.00
        469 ACIES INC                               $0.00          $0.00      $0.00
        470 MESO AMERICA                      $160,329.94          $0.00      $0.00
            DISTRIBUTORS
        471 DALTON, THOMAS M                        $0.00          $0.00      $0.00
        472 SALES ASSOCIATES                   $35,335.52          $0.00      $0.00
        473 KIUMARSI, ALI                        $6,637.00         $0.00      $0.00
        474 MACK, JARED M                        $6,000.00         $0.00      $0.00
        476 PLATINUM MORTGAGE                     $152.34          $0.00      $0.00
        477 SHUBIN, LOUIS                        $1,510.63         $0.00      $0.00
        478 PAUL DAVIS SYSTEMS                    $856.00          $0.00      $0.00
        479 KAPLAN, BARBARA L                  $24,388.00          $0.00      $0.00
        481 MOFFITT, JOAN L                       $759.38          $0.00      $0.00
        482 MINOR, MICHAEL JAY ROTH               $981.63          $0.00      $0.00
            IRA
        485 ZACOFSKY, THOMAS A                   $1,300.00         $0.00      $0.00
        487 JINRIGHT TURNER INSURANCE            $1,458.94         $0.00      $0.00
            & BONDS
        488 FAECHER, JOHN                         $982.95          $0.00      $0.00
        489 YIM, HENNE H & AH-WAH JT           $22,809.20          $0.00      $0.00
            TEN
        490 TOTARO, ANTOINETTE R &               $1,449.25         $0.00      $0.00
            JOHN J JTWROS
        491 NARDELLI, NANCY A                     $488.06          $0.00      $0.00
        492 US SHRED                              $105.00          $0.00      $0.00
        493 CORBELL, JOSEPH T                     $889.30          $0.00      $0.00
        496 NARDELLI, VITO R                     $2,483.90         $0.00      $0.00
        497 NARDELLI, NANCY A                       $0.00          $0.00      $0.00

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        498 CAIOPOULOS, JAMES J &                   $0.00          $0.00      $0.00
            BONNIE L JTWROS
        499 COLALUCA, CARMINE J JR IRA              $0.00          $0.00      $0.00
        501 WEINBERG, SHIRLEY TTEE                  $0.00          $0.00      $0.00
        502 MACLAREN, WILLIAM G &                   $0.00          $0.00      $0.00
            SUSAN C
        503 SCOTT, WILLIAM & LAURA J JT        $13,649.00          $0.00      $0.00
            TEN
        504 NARDELLI, NANCY A & JAMES             $339.63          $0.00      $0.00
            JOSEPH
        505 LEE ENGINEERING &                  $59,510.43          $0.00      $0.00
            CONSTRUCTION CO
        506 US BANK TRUST NA                     $8,570.00         $0.00      $0.00
        508 JBG/JER 1275 K LLC                 $37,845.33          $0.00      $0.00
        509 STEVENS CREEK ASSOCIATES           $10,361.68          $0.00      $0.00
        510 BENDHEIM, JOSEPHINE                   $375.00          $0.00      $0.00
        511 EIDELBERG, MICHAEL                   $2,359.96         $0.00      $0.00
        512 US BANK TRUST NA                 $7,745,000.00         $0.00      $0.00
        513 US BANK TRUST NA                 $73,340,000.0         $0.00      $0.00
                                                         0
        514 US BANK TRUST NA                 $5,000,000.00         $0.00      $0.00
        515 US BANK TRUST NA                  $500,000.00          $0.00      $0.00
        516 US BANK TRUST NA                        $0.00          $0.00      $0.00
        525 ONE CALL LOCATES INC                 $8,475.50         $0.00      $0.00
        526 MAPINFO CORPORATION                   $452.36          $0.00      $0.00
        527 CITICORP VENDOR FINANCE               $279.31          $0.00      $0.00
            INC
        528 GREENVILLE AVENUE                     $567.74          $0.00      $0.00
            PROPERTIES LTD
        529 MAGUIRE, JAMES                       $5,735.69         $0.00      $0.00
        530 STROUD, COY D                        $2,000.00         $0.00      $0.00
        531 RICH MICHAELS &                    $49,396.00          $0.00      $0.00
            ASSOCIATES
        532 PONG, PAULINE                           $0.00          $0.00      $0.00
        533 INTERMEDIA                           $4,363.90         $0.00      $0.00
            COMMUNICATIONS INC
        534 INTERMEDIA                         $49,995.32          $0.00      $0.00
            COMMUNICATIONS, INC
        535 INTERMEDIA                         $74,465.90          $0.00      $0.00
            COMMUNICATIONS INC
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        536 ALABAMA ONE CALL                      $120.00          $0.00      $0.00
        539 LEXIS-NEXIS                          $2,970.00         $0.00      $0.00
        540 DAY TIMERS INC                         $94.00          $0.00      $0.00
        541 DAY TIMERS INC                         $84.17          $0.00      $0.00
        542 FIRST HOME MORTGAGE                   $280.00          $0.00      $0.00
        543 METASOLV SOFTWARE                 $168,053.40          $0.00      $0.00
        544 REMEDY TEMP INC                       $298.62          $0.00      $0.00
        545 CORPORATE INVESTOR COMM            $36,958.65          $0.00      $0.00
            INC
        547 TXU ELECTRIC COMPANY                  $388.75          $0.00      $0.00
        548 ZIFF DAVIS MEDIA                   $44,504.91          $0.00      $0.00
        549 HALLMARK BUILDERS INC             $390,172.00          $0.00      $0.00
        554 HILTON                             $60,964.53          $0.00      $0.00
        555 BLUE, TORY M                          $390.00          $0.00      $0.00
        558 AEROTEK EF&I SERVICES                $1,296.00         $0.00      $0.00
        559 KNICKERBOCKER PROPERTIES,          $18,322.10          $0.00      $0.00
            INC XXI
        560 A1 PRINT & COPY CENTER                $606.72          $0.00      $0.00
        561 MUELLER, TERESA                         $0.00          $0.00      $0.00
        562 GREGORY, JANE                           $0.00          $0.00      $0.00
        563 YELLOWFIN PARTNERS                      $0.00          $0.00      $0.00
        564 SUN MICROSYSTEMS INC               $56,929.06          $0.00      $0.00
        565 RHODES, JOHN R & KAREN R JT            $82.81          $0.00      $0.00
            TEN
        566 GUILBAULT, CHARLES M IRA                $0.00          $0.00      $0.00
        567 JULICH, LINDA                           $0.00          $0.00      $0.00
        568 GIUFFRE, CARLO JOSEPH                   $0.00          $0.00      $0.00
        569 STANDER, MICHAEL                     $3,986.00         $0.00      $0.00
        571 COLUNGA, VICTOR                         $0.00          $0.00      $0.00
        572 BAKER, ALAN EDWARD                   $1,500.00         $0.00      $0.00
        574 STERNBERG, JODI                      $3,219.00         $0.00      $0.00
        575 MARINO, JOSEPH M                     $6,669.23         $0.00      $0.00
        576 SAMARTIN, NOHRA S                    $2,992.00         $0.00      $0.00
        577 LORMAN EDUCATION                      $577.00          $0.00      $0.00
            SERVICES
        578 LASITER, SUSAN E & RONNIE C             $0.00          $0.00      $0.00
            JT TEN
        580 NEAL, JAMES JR                          $0.00          $0.00      $0.00

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        581 BRAMLETT, BONNIE J &                 $2,400.00         $0.00      $0.00
            GEORGE W JT TEN
        582 LEBOEUF, LAMB, GREENE &            $18,321.52          $0.00      $0.00
            MACRAE
        583 EASTLAND ENGINEERING               $50,217.77          $0.00      $0.00
        584 TLX COMMUNICATIONS, INC          $5,289,044.80         $0.00      $0.00
        585 PM REALTY GROUP                      $9,935.48         $0.00      $0.00
        586 HDC, INC                             $8,304.73         $0.00      $0.00
        587 REAGAN EQUIPMENT CO INC               $706.54          $0.00      $0.00
        588 ASPEN PENSION                        $1,259.77         $0.00      $0.00
            ADMINISTRATORS INC
        589 FIBERNET TELECOM GROUP               $6,469.50         $0.00      $0.00
            INC
        590 TALICO INC                            $351.50          $0.00      $0.00
        592 KNOLOGY OF COLUMBUS INC            $84,948.60          $0.00      $0.00
        593 FLORIDA DIGITAL NETWORK            $27,718.40          $0.00      $0.00
        594 KNOLOGY OF MONTGOMERY             $224,685.26          $0.00      $0.00
            INC
        595 NORTHERN LINE LAYERS INC           $88,673.68          $0.00      $0.00
        597 KUFELDT, VIRGINIA M                $10,376.00          $0.00      $0.00
        598 COMMONWEALTH CLEANERS                 $197.26          $0.00      $0.00
            INC
        600 CRISPANO, CAROL A                    $1,762.50         $0.00      $0.00
        601 CRISPANO, CAROL &                    $1,868.75         $0.00      $0.00
            JOSEPHINE JTTEN
        602 SCOTT, BARRY A                       $9,000.00         $0.00      $0.00
        603 PACE, ANETIA JANICE                     $0.00          $0.00      $0.00
        605 EAGLE GLOBAL LOGISTICS                $368.79          $0.00      $0.00
        607 KNABEL, DAVID L                         $0.00          $0.00      $0.00
        608 GLOWACKI, ERIC I &                 $23,851.00          $0.00      $0.00
            MARIANNA JT TEN
        609 COLANGELO, JOSEPH                    $5,300.00         $0.00      $0.00
        610 COUNTY OF HINDS TAX                   $891.44          $0.00      $0.00
            COLLECTOR
        611 SCHRIER, EDWARD & CORINNE               $0.00          $0.00      $0.00
            JT TEN
        612 CITICORP VENDOR FINANCE            $16,798.10          $0.00      $0.00
            INC
        614 PROMOTIONAL IDEAS                    $5,436.00         $0.00      $0.00


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        615 INTERACTIVE SOFTWARE                $65,000.00          $0.00      $0.00
            SYSTEMS, LC
        616 ZODHIATES, MARY                     $24,448.56          $0.00      $0.00
        617 CHUNG, JAMES JJ                        $500.00          $0.00      $0.00
        619 HOFFMAN, ROBERT                          $0.00          $0.00      $0.00
        620 UHLMAN, WALTER                        $5,639.85         $0.00      $0.00
        626 BEACHAM, JIMMIE F                     $1,824.00         $0.00      $0.00
        627 SPRINT NORTH SUPPLY                $169,080.02          $0.00      $0.00
        628 JONES, GRACE E                           $0.00          $0.00      $0.00
        629 RYAN, RUSSELL, OGDEN &              $31,588.22          $0.00      $0.00
            SELTZER LLP
        630 JONES, GRACE E                           $0.00          $0.00      $0.00
        631 MORRIS PLUMBING & ELEC                   $0.00          $0.00      $0.00
            CO, INC
        632 MORRIS PLUMBING & ELEC                   $0.00          $0.00      $0.00
            CO, INC
        634 SCHUBERT, MARTIN & CAROL            $15,500.00          $0.00      $0.00
            JTWROS
        637 SPHERE SOLUTIONS INC                $45,647.81          $0.00      $0.00
        638 JAKAR, GLORIA T & FLEMING,          $10,094.38          $0.00      $0.00
            MICHAEL F
        639 PACE CENTER FOR GIRLS                 $1,400.00         $0.00      $0.00
        640 AEROTEK                                  $0.00          $0.00      $0.00
        642 PARKER, WILLIAM M                        $0.00          $0.00      $0.00
        643 RULE, WILLIAM A III                 $29,194.87          $0.00      $0.00
        644 LARENAS, EFRAIN                        $309.29          $0.00      $0.00
        646 SUCCESSORIES INC                        $96.99          $0.00      $0.00
        647 SARKISSIAN, ARSHAG K SEP            $10,000.00          $0.00      $0.00
            IRA
        648 SARKISSIAN, ARSHAG                    $1,000.00         $0.00      $0.00
        649 WOLFF, JEAN                           $6,600.00         $0.00      $0.00
        650 SOUTHERN INTERACTIVES                 $8,500.00         $0.00      $0.00
        651 TEXAS EXCAVATION SAFETY             $22,569.97          $0.00      $0.00
            SYSTEM, INC
        652 SEDGWICK, SCOTT                          $0.00          $0.00      $0.00
        653 PITZELE, BRETT D                      $1,300.00         $0.00      $0.00
        654 HANFORD, HENRY S                      $1,152.40         $0.00      $0.00
        655 SUTTON, WILLIAM A &                      $0.00          $0.00      $0.00
            BEATRICE M JT TEN

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        656 WOLFE, DEAN G IRA                       $0.00          $0.00      $0.00
            ROLLOVER
        657 WIEMER, JAMES C & MARY L             $2,475.00         $0.00      $0.00
        658 A-1 MACHINE SHOP                        $0.00          $0.00      $0.00
        660 CUSTER, DOUGLAS E                    $6,138.03         $0.00      $0.00
        661 MILLER, MARK ALLEN                   $6,000.00         $0.00      $0.00
        662 MILLER, MARK A                       $1,125.00         $0.00      $0.00
        663 BAYNE, ELMER L                          $0.00          $0.00      $0.00
        664 HUANG, WALLY & REIHWA JT             $5,480.75         $0.00      $0.00
            TEN
        665 PRECISION ROOFING                      $59.85          $0.00      $0.00
            COMPANY, THE
        666 WATSON, MATTHEW E                  $15,446.15          $0.00      $0.00
        667 MCGRATH, EDWARD G                       $0.00          $0.00      $0.00
        668 MCGRATH, EDWARD G                       $0.00          $0.00      $0.00
        669 ERCOLINO, GERARD A                      $0.00          $0.00      $0.00
        670 VIDEO MONITORING SERVICES             $179.50          $0.00      $0.00
            OF AMERICA, LP
        672 TOLBERT, DOLORES                     $1,000.00         $0.00      $0.00
        673 TENENBAUM, ARTHUR A &                $5,650.00         $0.00      $0.00
            SHIRLEY TTEES
        674 HARMONY, JAMES & ELEANOR             $1,137.50         $0.00      $0.00
            J JTWROS
        675 ROCKETT, ELSIE M                        $0.00          $0.00      $0.00
        676 KRAMER, WILLIAM S                       $0.00          $0.00      $0.00
        678 SACCHETTI, JOHN R                     $343.08          $0.00      $0.00
        680 HAMMOND, KEVIN C &                      $0.00          $0.00      $0.00
            KATRINA L
        681 BANK OF NEW YORK, THE                $4,775.09         $0.00      $0.00
        682 FIBERCORE                          $16,790.00          $0.00      $0.00
        684 KORSKY, YEFIM & ELLA JT              $9,782.00         $0.00      $0.00
            TEN
        686 MEIDINGER ASSOCIATES, LLC          $19,222.34          $0.00      $0.00
        687 QUEST DIAGNOSTICS                    $6,025.00         $0.00      $0.00
            CLINICAL LAB INC
        688 VANGUARD CONSTRUCTION &              $5,000.00         $0.00      $0.00
            DEV CO INC
        689 VERITAS SOFTWARE                  $351,833.91          $0.00      $0.00
            CORPORATION


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        690 MID ATLANTIC INC                  $239,148.32          $0.00      $0.00
        691 TRIZECHAHN REGIONAL                  $8,234.42         $0.00      $0.00
            POOLING LLC
        693 HEIDRICK & STRUGGLES, INC             $483.78          $0.00      $0.00
        694 A SABRINA HILL PSP                      $0.00          $0.00      $0.00
        695 KIRSHNER, DANIEL A                   $1,320.50         $0.00      $0.00
        696 HUTCHINSON, CORINNE A                   $0.00          $0.00      $0.00
        697 HUTCHINSON, CORINNE                     $0.00          $0.00      $0.00
        698 DOOLEN, CARL P TTEE                     $0.00          $0.00      $0.00
        702 FIRST UNION NATL BANK C/F            $1,350.00         $0.00      $0.00
        704 MONG, RICHARD                        $7,500.00         $0.00      $0.00
        705 GREEN, MARK D                      $10,289.75          $0.00      $0.00
        707 PAICOPOLOS, HAROLD G                    $0.00          $0.00      $0.00
        708 ROSS, NATALIA S                        $50.00          $0.00      $0.00
        709 MCDANIEL, MINOR B & PAUL J              $0.00          $0.00      $0.00
            JTWROS
        711 AGNEW, ANDREW H IRA                     $0.00          $0.00      $0.00
        713 WALTERS, MARIE B                     $3,249.44         $0.00      $0.00
        714 NEXTEL COMMUNICATIONS                   $0.00          $0.00      $0.00
        716 SALUCCI, ROBERT H JR                  $496.56          $0.00      $0.00
        717 THURMOND, SANDRA B &               $12,084.00          $0.00      $0.00
            ANDREW J III
        718 JARVIS, TODD & ANNE B                $5,397.75         $0.00      $0.00
        719 JARVIS, M TODD IRA                   $5,500.00         $0.00      $0.00
        720 JARVIS, ANNE BARKER               $164,812.00          $0.00      $0.00
        721 JARVIS, M TODD                       $2,250.75         $0.00      $0.00
        722 JARVIS, M TODD                          $0.00          $0.00      $0.00
        723 JARVIS, M TODD                       $3,621.38         $0.00      $0.00
        724 JARVIS, LYNDA P                      $7,029.95         $0.00      $0.00
        725 JARVIS, LESTER G                   $28,102.35          $0.00      $0.00
        726 JARVIS, LESTER G & LYNDA P        $135,957.75          $0.00      $0.00
        727 STEED, LOUIS G & IDA J               $1,553.00         $0.00      $0.00
            JTWROS
        728 STEED, LOUIS G & IDA J JT TEN      $15,221.81          $0.00      $0.00
        729 JARVIS, ANNE                      $300,000.00          $0.00      $0.00
        731 STERNBERG, CYNTHIA                   $6,500.00         $0.00      $0.00
        732 KIRSCH, RICHARD PETER                   $0.00          $0.00      $0.00
        733 BROADWING                         $804,269.47          $0.00      $0.00
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              TELECOMMUNICATIONS
        734 ZWICKER, RALPH M III TTEE               $0.00          $0.00      $0.00
        735 WILLIAMS, DAVID R &                     $0.00          $0.00      $0.00
            CONSTANCE L JT TEN
        736 JARVIS, ANNE                            $0.00          $0.00      $0.00
        737 BARKER, O B & BETTY JEAN III      $229,322.00          $0.00      $0.00
            JT/WROS
        738 ZUPA, JOHN                              $0.00          $0.00      $0.00
        740 DECKER, KEITH A                         $0.00          $0.00      $0.00
        741 FARRELL, ROSEMARIE C &                  $0.00          $0.00      $0.00
            JOHN JT TEN
        742 BATTISTE, FRANK C                    $5,600.00         $0.00      $0.00
        746 SECOF, SOOSAMMA K                       $0.00          $0.00      $0.00
        747 FRANTZ, INC                        $24,988.37          $0.00      $0.00
        748 ARIZONA BLUE STAKE INC               $3,476.28         $0.00      $0.00
        749 ANDRITSOS, GEORGE P, ESQ                $0.00          $0.00      $0.00
        750 MCCLUSKEY, YOLANDA                $100,000.00          $0.00      $0.00
        751 FITZSIMMONS, DOROTHY                    $0.00          $0.00      $0.00
        752 SEIFERT, DONALD I                       $0.00          $0.00      $0.00
        753 MCLAUGHLIN, FRANCIS &                $8,500.00         $0.00      $0.00
            ROSEMARY JT TEN
        755 FISHEL COMPANY, THE                $29,803.45          $0.00      $0.00
        756 ROYAL CUP, INC                        $255.25          $0.00      $0.00
        758 J&M SCHAFER                          $4,401.34         $0.00      $0.00
        759 PRUDENTIAL SECURITIES              $16,344.50          $0.00      $0.00
        761 CHAPLAIN, NANNETTE W                    $0.00          $0.00      $0.00
        762 HOAGLAND, LYNNSEY MARIE              $5,491.61         $0.00      $0.00
        763 GOLD CUP COFFEE SERVICE,              $556.39          $0.00      $0.00
            INC
        764 YEN, RICHARD T S & AMY                  $0.00          $0.00      $0.00
            WANG JT TEN
        765 YEN, AMY WANG                           $0.00          $0.00      $0.00
        766 YEN, RICHARD T                          $0.00          $0.00      $0.00
        767 CANIDA, SANDY                           $0.00          $0.00      $0.00
        768 CHOODEE, NAPARAT                     $2,000.00         $0.00      $0.00
        769 NOVAK, MARGARET M                       $0.00          $0.00      $0.00
        770 BERNARD, JOHN DAVID &                   $0.00          $0.00      $0.00
            JANICE E JT TEN

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        771 VAUGHAN, LOUISE M                     $678.25          $0.00      $0.00
        772 JOBS.COM                             $3,495.00         $0.00      $0.00
        773 PUBAINCE, ROBERT & DEBRA             $5,375.25         $0.00      $0.00
            JTWROS
        775 MIAMI BEACH CHAMBER OF               $1,500.00         $0.00      $0.00
            COMMERCE
        776 WMP II REAL ESTATE LP              $15,987.80          $0.00      $0.00
        778 EXECUTRAIN                         $13,750.00          $0.00      $0.00
        780 DORSEY & WHITNEY LLP              $135,257.32          $0.00      $0.00
        782 STEVENS CREEK ASSOCIATES           $24,133.20          $0.00      $0.00
        783 KELLINGER, WILLIAM &                    $0.00          $0.00      $0.00
            SELENA JTWROS
        784 DEAD ON DIRECTIONAL, INC           $27,554.82          $0.00      $0.00
        785 RASHID, ABDUL & RIFFAT             $14,269.95          $0.00      $0.00
            JTWROS
        787 FAHNESTOCK & CO                      $5,799.00         $0.00      $0.00
        788 KEECH, LAWRENCE M                    $3,000.00         $0.00      $0.00
        789 GRANT, ROBERT J JR & DIANNE          $5,844.45         $0.00      $0.00
            M
        791 TERRY, DOUGLAS G                     $3,937.50         $0.00      $0.00
        793 GARSIDE, HUGH W IRA                $11,112.53          $0.00      $0.00
        795 MOTACEK, JOSEPH                         $0.00          $0.00      $0.00
        796 WIRTZ, RAYMOND J & JULIE A              $0.00          $0.00      $0.00
            JT TEN
        797 KINSELLA, TRACY L                       $0.00          $0.00      $0.00
        798 KINSELLA, THOMAS RANDALL                $0.00          $0.00      $0.00
        799 POPP & IKARD LLP                     $1,972.64         $0.00      $0.00
        800 SPILLER, MICHAEL ALAN                   $0.00          $0.00      $0.00
        801 KENTUCKY DATA LINK INC             $14,093.35          $0.00      $0.00
        802 MCKEE, WILLIAM                     $15,000.00          $0.00      $0.00
        807 JP LASER SERVICE                      $316.90          $0.00      $0.00
        808 TURLEY, JANICE                        $224.85          $0.00      $0.00
        809 SANDERS, ELIZABETH K                    $0.00          $0.00      $0.00
        810 SPECIALIZED SYSTEMS                  $8,002.00         $0.00      $0.00
            CONSULTANTS INC
        811 STEPNER, MICHAEL G                 $50,000.00          $0.00      $0.00
        813 PACIFIC BELL                         $3,654.89         $0.00      $0.00
        815 POUNDS-SEBRING, PAIGE H              $1,434.83         $0.00      $0.00

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        816 BRUFFETT, WENDELL I &              $13,911.20          $0.00      $0.00
            VICKIE JTWROS
        817 GRETZ, JAMES R                        $481.25          $0.00      $0.00
        818 GIANNONE, THERESA &                     $0.00          $0.00      $0.00
            JOSEPH
        820 OPTION ONE INC                       $9,928.50         $0.00      $0.00
        821 COMMUNITY COFFEE CO INC                 $0.00          $0.00      $0.00
        822 WILLIAMS, HAROLD L                      $0.00          $0.00      $0.00
        823 TDS TELECOM                           $639.85          $0.00      $0.00
        828 PAUL, MICHELLE DENISE                   $0.00          $0.00      $0.00
        829 TOROSKY, ANTHONY                        $0.00          $0.00      $0.00
        830 TOROSKY, ANTHONY M                      $0.00          $0.00      $0.00
        831 OHIO STATE UNIVERSITY                $6,595.38         $0.00      $0.00
            ARCS
        832 PEA, INC                           $11,560.00          $0.00      $0.00
        843 FLORES GARCIA &                       $895.18          $0.00      $0.00
            ASSOCIATES
        845 GLOBAL ONE                         $13,477.26          $0.00      $0.00
        846 ZELENKA, GEORGE                         $0.00          $0.00      $0.00
        847 SANTRIZOS, STEPHEN                   $1,866.82         $0.00      $0.00
            NICHOLAS
        848 MORRISON & HECKER LLP              $93,782.02          $0.00      $0.00
        849 HIGGINS, MARJORIE                       $0.00          $0.00      $0.00
        851 CITY CENTER DEVELOPMENT            $14,817.62          $0.00      $0.00
            COMPANY
        852 RANDY WALKER ELECTRIC                   $0.00          $0.00      $0.00
        853 RANDY WALKER ELECTRIC                $3,583.45         $0.00      $0.00
        855 SPECTEL USA INC                   $102,720.00          $0.00      $0.00
        856 MERRILL LYNCH, PIERCE,             $81,606.69          $0.00      $0.00
            FENNER & SMITH
        857 HBE PROPERTIES MOBILE                $8,191.43         $0.00      $0.00
            CORP DBA
        858 PAULEY CONSTRUCTION INC           $255,005.59          $0.00      $0.00
        863 USER TELECOM &                       $5,600.00         $0.00      $0.00
            TECHNOLOGIES
        864 DMR CONSULTING GROUP, INC         $314,402.53          $0.00      $0.00
        865 SCIENCE PARK ASSOCIATES LP       $1,303,120.70         $0.00      $0.00
        866 FUJITSU NETWORK                  $3,019,514.66         $0.00      $0.00
            COMMINICATIONS, INC

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        867 CASEY, GENTZ & SIFUENTES,          $11,162.91          $0.00      $0.00
            LLP
        868 NEW ORLEANS PUBLIC BELT              $5,500.00         $0.00      $0.00
            RAILROAD
        870 SB JAX, LTD                          $7,631.22         $0.00      $0.00
        871 SB JAX, LTD                             $0.00          $0.00      $0.00
        872 WMP II REAL ESTATE LP              $20,101.64          $0.00      $0.00
        873 VANRAN COMMUNICATIONS                 $277.50          $0.00      $0.00
            SERVICES INC
        875 LOPEZ, FRANK                         $4,391.88         $0.00      $0.00
        876 RILEY, ROBERT E                      $3,243.50         $0.00      $0.00
        877 NATOUR, SAMIR B                         $0.00          $0.00      $0.00
        878 STEPHAN, ALBERT & HELENE         $1,000,000.00         $0.00      $0.00
        879 STEPHAN, ALBERT & HELENE                $0.00          $0.00      $0.00
        880 STEPHAN, ALBERT & HELENE                $0.00          $0.00      $0.00
        881 COMMUNICATIONS DATA               $281,025.84          $0.00      $0.00
            GROUP INC
        882 ANDREWS, KEITH F                   $17,000.00          $0.00      $0.00
        883 INTELLIMARK                        $15,660.00          $0.00      $0.00
        885 IPAC 2000 INC                      $14,651.00          $0.00      $0.00
        887 EMC CORPORATION                    $68,459.20          $0.00      $0.00
        888 METROPOLITAN LIFE                     $354.84          $0.00      $0.00
            INSURANCE COMPANY
        889 UTAH STATE RETIREMENT              $14,463.35          $0.00      $0.00
            FUND
        890 ABACUS CORP                        $83,945.83          $0.00      $0.00
        895 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        896 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        897 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        898 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        899 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        900 ALCATEL MARKETING USA            $2,316,451.44         $0.00      $0.00
            INC
        901 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC

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        902 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        903 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        904 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        905 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        906 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        907 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
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        908 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
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        909 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
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        910 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
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        911 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        912 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        913 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        914 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        915 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        916 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        917 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        918 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        919 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        920 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        921 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        922 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC

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        923 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        924 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        925 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        926 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        927 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        928 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        929 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        930 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        931 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
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        932 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        933 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        934 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        935 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        936 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        937 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        938 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        939 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        940 ALCATEL MARKETING USA                   $0.00          $0.00      $0.00
            INC
        941 AEROTEK                                 $0.00          $0.00      $0.00
        942 AEROTEK                            $54,917.51          $0.00      $0.00
        943 AHEAD ADVERTISING                    $1,262.88         $0.00      $0.00
            SPECIALITIES
        944 SUPERIOR ENGINEERING               $10,212.00          $0.00      $0.00
        945 ICG TELECOM GROUP, INC            $113,606.02          $0.00      $0.00
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        946 CITY OF LEAWOOD                    $12,000.00          $0.00      $0.00
        947 DIETZ, WILLIAM MICHAEL &           $31,050.70          $0.00      $0.00
            VIOLET JT TEN
        949 ARISTOCRAT HOTEL, THE                $8,013.63         $0.00      $0.00
        950 FAULHABER, ROBERT J                     $0.00          $0.00      $0.00
        955 R-CON, INC                              $0.00          $0.00      $0.00
        956 R-CON, INC                              $0.00          $0.00      $0.00
        957 LECATTA, RAYMOND & JOYCE             $7,171.88         $0.00      $0.00
        958 BREEDEN, HARRY N & JAYNE              $905.50          $0.00      $0.00
            D JT TEN
        959 ALL FLORIDA JANITORIAL               $3,078.24         $0.00      $0.00
            SERVICE
        960 CHANCE INC                              $0.00          $0.00      $0.00
        961 ILLUMINET, INC                    $562,981.56          $0.00      $0.00
        962 EL PASO ELECTRIC COMPANY           $32,485.00          $0.00      $0.00
        965 STILLWELL, ANGELA W                     $0.00          $0.00      $0.00
        967 NETWORK TECHNICAL                  $47,592.00          $0.00      $0.00
            SERVICES GROUP
        968 ACUITY TECHNOLOGY                  $54,320.00          $0.00      $0.00
            SERVICES, LLC
        969 DIMENSION ENTERPRISES, INC              $0.00          $0.00      $0.00
        970 TECH PLAN INC                        $3,821.57         $0.00      $0.00
        971 US SECURITY ASSOCIATES INC         $18,935.29          $0.00      $0.00
        972 JC EVANS CONSTRUCTION CO           $77,775.29          $0.00      $0.00
            INC
        973 BROWN & BAIN, PA                   $44,021.66          $0.00      $0.00
        974 GOBBEL, PATRICIA A & FRANK           $6,219.30         $0.00      $0.00
            R JT TEN
        975 PASCUCCI, CRISTIANO                     $0.00          $0.00      $0.00
        976 BOGDANSKI, CHRISTINE T               $1,800.00         $0.00      $0.00
        977 MARKETPAY ASSOCIATES               $12,175.00          $0.00      $0.00
        979 GRODSKY, RICHARD E &                    $0.00          $0.00      $0.00
            MICHELLE C JTWROS
        980 RUFFELL, RONALD G &                $31,956.00          $0.00      $0.00
            BARBARA A JT TEN
        981 TABACHNIK, LEONARD                    $324.30          $0.00      $0.00
        983 SOLAK, JOHN M                           $0.00          $0.00      $0.00
        984 SOLAK, TIMOTHY P                        $0.00          $0.00      $0.00
        985 SCHLOSSBERG, JOEL & MYRNA               $0.00          $0.00      $0.00

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        986 LECLAIR RYAN                         $1,470.91         $0.00      $0.00
        987 HANSON, JOHN T                       $1,953.12         $0.00      $0.00
        992 UCG-CCMI                             $3,091.60         $0.00      $0.00
        993 ISD OF HURST-EULESS-                    $0.00          $0.00      $0.00
            BEDFORD
        994 ISD OF HURST-EULESS-                    $0.00          $0.00      $0.00
            BEDFORD
        995 HARBERT REALTY SERVICES               $222.49          $0.00      $0.00
        996 DIMENSION ENTERPRISES, INC        $142,890.21          $0.00      $0.00
        999 WEI, YEH-LAN                         $3,587.50         $0.00      $0.00
      1000 ANLAND 13, LP                       $10,000.00          $0.00      $0.00
      1001 COMMERCIAL AIR                      $18,555.80          $0.00      $0.00
      1004 STS, INC                              $3,398.25         $0.00      $0.00
      1005 STS, INC                              $7,491.90         $0.00      $0.00
      1006 STS, INC                            $30,642.00          $0.00      $0.00
      1007 DOUGAL, DUANE K                       $2,220.63         $0.00      $0.00
      1008 EMW INCORPORATED                   $213,343.46          $0.00      $0.00
      1009 STAMM, JUSTINE                        $2,200.60         $0.00      $0.00
      1010 PEOPLESOFT USA INC                       $0.00          $0.00      $0.00
      1011 ORLANDO AIRPORT MARRIOTT           $190,034.60          $0.00      $0.00
      1012 QWEST CORPORATION                 $1,096,714.57         $0.00      $0.00
      1013 TEKELEC INC                       $4,240,500.00         $0.00      $0.00
      1016 PENG, JAMES J S & DORIS             $84,906.25          $0.00      $0.00
      1017 CUDDY, KENNEDY,                     $85,217.72          $0.00      $0.00
           HETHERINGTON ET AL
      1018 CUDDY, KENNEDY,                          $0.00          $0.00      $0.00
           HETHERINGTON ET AL
      1019 THROWER, CLARENCE &               $4,000,000.00         $0.00      $0.00
           THOMAS YUDITSKY
      1020 THROWER, CLARENCE &                      $0.00          $0.00      $0.00
           THOMAS YUDITSKY
      1021 NETSOLVE INCORPORATED               $57,194.52          $0.00      $0.00
      1022 TRANSWESTERN                          $1,367.74         $0.00      $0.00
           COMMERCIAL SERVICES
      1023 TRANSWESTERN                             $0.00          $0.00      $0.00
           COMMERCIAL SERVICES
      1024 LIEBERT CORPORATION                $140,211.72          $0.00      $0.00
      1025 PROVIDER SERVICES GROUP               $4,746.93         $0.00      $0.00
           INC

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      1026 ARCUS DATA SECURITY                   $6,062.83         $0.00      $0.00
      1028 ADHOOT, ARIA                             $0.00          $0.00      $0.00
      1029 ADHOOT, ARIA                             $0.00          $0.00      $0.00
      1030 WILSON, STRICKLAND &                  $9,462.92         $0.00      $0.00
           BENSON, PC
      1031 EPIK COMMUNICATIONS                      $0.00          $0.00      $0.00
      1032 EPIK COMMUNICATIONS               $3,980,726.41         $0.00      $0.00
      1033 STATE OF TEXAS UNIV SVC                  $0.00          $0.00      $0.00
           FUND
      1034 STATE OF KANSAS UNIV SVC                 $0.00          $0.00      $0.00
           FUND
      1035 STATE OF NEVADA UNIV SVC                 $0.00          $0.00      $0.00
           FUND
      1036 STATE OF ARKANSAS UNIV                   $0.00          $0.00      $0.00
           SVC FUND
      1037 STATE OF OKLAHOMA UNIV                $2,647.90         $0.00      $0.00
           SVC FUND
      1038 TELCORDIA TECHNOLOGIES             $275,775.40          $0.00      $0.00
      1039 CALLOWHILL MANAGEMENT               $42,494.08          $0.00      $0.00
           INC
      1040 BELLSOUTH INC                     $3,608,844.00         $0.00      $0.00
      1041 HOLLAND & KNIGHT LLP               $126,039.77          $0.00      $0.00
      1042 HESSERT, RUTH A & PETER G              $661.50          $0.00      $0.00
           JTWROS
      1043 CON-TRA-TEK SYSTEMS, INC              $5,618.79         $0.00      $0.00
      1044 PIPER MARBURY RUDNICK &               $1,740.84         $0.00      $0.00
           WOLFE LLP
      1045 PHILLIPS COMMUNICATIONS &          $374,143.24          $0.00      $0.00
           EQUIPMENT
      1048 SOUTHWESTERN BELL                  $117,227.80          $0.00      $0.00
           TELEPHONE CO
      1049 SOUTHWESTERN BELL                 $1,712,500.02         $0.00      $0.00
           TELEPHONE CO
      1050 WILLIAM E SIMON & SONS            $5,254,583.00         $0.00      $0.00
           SPECIAL
      1051 ADDRESS CONVERSION TECH,               $692.02          $0.00      $0.00
           INC
      1054 FORT WORTH PLAZA LP                   $4,231.23         $0.00      $0.00
      1055 FORT WORTH PLAZA LP                   $4,231.23         $0.00      $0.00
    1057A BEVERLY HILLS CENTER, LLC                 $0.00          $0.00      $0.00

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      1059 METROMEDIA FIBER                  $5,196,329.94         $0.00      $0.00
           NETWORK SVCS, INC
      1062 LEICHER, GAIL & O'CONNELL             $4,310.90         $0.00      $0.00
           BRIAN JT TEN
      1063 DALLAS LITE & BARRICADE             $12,961.82          $0.00      $0.00
      1064 EAST COAST ELECTRIC INC               $4,902.50         $0.00      $0.00
      1065 CONCEPT SOLUTIONS, LLC             $226,610.00          $0.00      $0.00
      1066 MECHANICAL SERVICES INC               $5,719.46         $0.00      $0.00
           OF ORLANDO
      1067 DINSMORE & SHOHL LLP                   $977.60          $0.00      $0.00
      1068 BOODMAN, SUSAN CAROLYN              $10,645.04          $0.00      $0.00
      1069 BOODMAN, SUSAN CAROLYN              $47,732.00          $0.00      $0.00
      1070 ROSSI, JOHN A                         $1,710.95         $0.00      $0.00
      1071 RESNICK, MICHAEL J                     $951.41          $0.00      $0.00
      1072 CRAWFORD PUBLIC                     $40,056.15          $0.00      $0.00
           RELATIONS
      1073 SEIFERT, DONALD                          $0.00          $0.00      $0.00
      1074 DZIAK, CAROLE ANN                        $0.00          $0.00      $0.00
      1076 ASLINGER, JAMES L JR                    $49.38          $0.00      $0.00
      1079 SULLENBARGER, DANIEL J              $12,265.00          $0.00      $0.00
      1082 HAYNSWORTH MARION                   $11,971.24          $0.00      $0.00
           MCKAY & GUERARD LLP
      1084 NOSENCHUCK, JAY                          $0.00          $0.00      $0.00
      1085 BERWICK ELECTRIC CO                 $41,060.00          $0.00      $0.00
      1087 CAPLEY MAYS, JACKIE                $100,000.00          $0.00      $0.00
      1088 CAPLEY, JACLYN                           $0.00          $0.00      $0.00
      1089 BRAZELL, TROY L                       $1,041.20         $0.00      $0.00
      1090 PETRIDES, CONSTANTINE G                  $0.00          $0.00      $0.00
      1091 FONT, HENRY L                          $666.25          $0.00      $0.00
      1092 HUBBARTT, RAY C JR                     $972.40          $0.00      $0.00
      1093 BOSS, LAVERNE H & NORMA L                $0.00          $0.00      $0.00
           TTEE
      1094 CAPITAL FIRE EXTINGUISHER              $325.00          $0.00      $0.00
           CO INC
      1096 CANDELA, KEN                          $8,470.00         $0.00      $0.00
      1097 STATE STREET BANK & TRUST             $5,000.00         $0.00      $0.00
           TTEE
      1098 PATTILLO, THOMAS B JR LIV             $6,387.00         $0.00      $0.00
           TRUST

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      1099 ZANDER, ROBERT G                             $0.00          $0.00      $0.00
      1100 FONG, CHEONG K                               $0.00          $0.00      $0.00
      1101 GILL, EVELYN                                 $0.00          $0.00      $0.00
      1102 JACOBSEN, WILLIAM D &                        $0.00          $0.00      $0.00
           MARY E JTWROS
      1103 DOYLE, JOSEPH P                           $1,535.63         $0.00      $0.00
      1104 CHEN, TERRY YUEH-JU                          $0.00          $0.00      $0.00
      1105 CHEN, KEVIN HSIUNG-HOU &                     $0.00          $0.00      $0.00
      1106 CHEN, KEVIN H                                $0.00          $0.00      $0.00
      1107 CHEN, KEVIN HSIUNG-HOU                       $0.00          $0.00      $0.00
      1108 HILLIARD LYONS CUST FOR                 $27,502.51          $0.00      $0.00
      1109 LF JENNINGS                               $5,404.20         $0.00      $0.00
      1110 PAULEY, PERRY & JO ANN JT                    $0.00          $0.00      $0.00
           TEN
      1111 SAHAY, VISHWANATH &                       $1,462.00         $0.00      $0.00
           ANJNA JT TEN
      1139 GLOBAL CROSSING                         $44,296.50          $0.00      $0.00
           BANDWIDTH INC
      1140 GLOBAL CROSSING                       $1,657,174.84         $0.00      $0.00
           BANDWIDTH INC
      1142 Crescent Real Estate Funding II LP           $0.00          $0.00      $0.00
      1143 CRESCENT REAL ESTATE                         $0.00          $0.00      $0.00
           FUNDING III LP
      1144 CRESCENT REAL ESTATE                    $13,170.30          $0.00      $0.00
           FUNDING VIII LP
      1145 CRESCENT REAL ESTATE                       $298.06          $0.00      $0.00
           FUNDING I LP
      1146 PUBLIC SERVICE OF NEW                     $5,746.28         $0.00      $0.00
           MEXICO
      1147 PUBLIC SERVICE OF NEW                   $36,546.30          $0.00      $0.00
           MEXICO
      1148 COLGATE DRIVE ASSOCIATES                $44,584.54          $0.00      $0.00
           LP
      1154 STRONG COMPANIES                        $25,294.61          $0.00      $0.00
      1156 MOORMAN, JAMES L &                           $0.00          $0.00      $0.00
           LARAINE A TTEES
      1157 PEAK SYSTEMS INC                           $739.50          $0.00      $0.00
      1160 WATT, TIEDER, HOFFAR, &                   $7,779.89         $0.00      $0.00
           FITZGERALD LLP
      1161 VERIZON MAJOR CASE                      $28,211.30          $0.00      $0.00

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      1163 ENTERGY                             $48,586.14          $0.00      $0.00
      1166 ANICOM                              $57,520.88          $0.00      $0.00
      1168 MERCURY FINANCE COMPANY             $11,110.73          $0.00      $0.00
      1170 UNIVERSAL SERVICE                  $668,167.14          $0.00      $0.00
           ADMINISTRATIVE CO
      1171 BENCON MANAGEMENT &                $500,000.00          $0.00      $0.00
           GENERAL
      1172 TIME WARNER TELECOM                $184,103.10          $0.00      $0.00
      1173 GLOBAL UNDERGROUND                  $22,300.00          $0.00      $0.00
           CONSTR INC
      1174 WW GRAINGER INC                     $16,914.92          $0.00      $0.00
      1175 GIANNETTO, JOSEPH                        $0.00          $0.00      $0.00
      1176 FIBERTECH                           $10,915.66          $0.00      $0.00
      1177 SHAY, RYAN E                          $3,591.50         $0.00      $0.00
      1178 DE LAGE LANDEN FINANCIAL                 $0.00          $0.00      $0.00
           SERVICES INC
      1180 DAVIS, RUSSELL G                      $3,068.75         $0.00      $0.00
      1181 DAVIS, RUSSELL G                       $606.25          $0.00      $0.00
      1183 MORAN, LAWRENCE                       $1,368.25         $0.00      $0.00
      1184 SECOF, SAMUEL                            $0.00          $0.00      $0.00
      1185 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1186 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1187 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1188 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1189 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1190 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1191 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1192 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1193 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1194 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1195 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1196 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1197 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1198 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1199 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1200 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1201 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1202 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
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      1203 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1204 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1205 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1206 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1207 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1208 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1209 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1210 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1211 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1212 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1213 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1214 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1215 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1216 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1217 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1218 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1219 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1220 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1221 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1222 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1223 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1224 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1225 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1226 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1227 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1228 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1229 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1230 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1231 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1232 MARTIN, BRIAN CODY                  $46,665.95          $0.00      $0.00
      1233 EQUITY OFFICE PROPERTIES,             $4,547.80         $0.00      $0.00
           LLC
      1234 PRESTEN TECHNICAL &                   $7,211.00         $0.00      $0.00
           INVESTIGATIVE
      1235 COLONIAL BANK                       $45,510.00          $0.00      $0.00
      1236 CISCO SYSTEMS, INC                $1,549,492.75         $0.00      $0.00
      1237 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00

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              REED SLATKIN
      1238 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1239 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1240 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1241 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1242 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1243 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
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      1244 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
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      1245 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1246 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1247 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
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      1248 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
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      1249 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
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      1250 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
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      1251 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1252 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1253 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1254 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1255 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1256 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1257 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1258 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
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              REED SLATKIN
      1259 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1260 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1261 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1262 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1263 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1264 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1265 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1266 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1267 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1268 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1269 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1270 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1271 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1272 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1273 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1274 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1275 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1276 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1277 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1278 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1279 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
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              REED SLATKIN
      1280 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1281 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1282 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1283 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1284 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1285 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1286 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1287 NEILSON, TODD R TTEE OF                  $0.00          $0.00      $0.00
           REED SLATKIN
      1288 SPRINT                             $247,186.75          $0.00      $0.00
      1291 MHC CORPORATION                     $40,238.09          $0.00      $0.00
      1292 MADISON RIVER                         $3,221.83         $0.00      $0.00
           COMMUNICATIONS
      1293 MADISON RIVER                         $7,984.08         $0.00      $0.00
           COMMUNICATIONS
      1294 MARCONI COMMUNICATIONS             $185,302.35          $0.00      $0.00
      1295 CEDE & CO                         $23,420,000.0         $0.00      $0.00
                                                         0
      1296 CEDE & CO                         $2,750,000.00         $0.00      $0.00
      1297 CEDE & CO                         $9,690,000.00         $0.00      $0.00
      1298 CITY SIGNAL FIBER SERVICES         $450,396.72          $0.00      $0.00
           INC
      1299 DE-TECH UTILITY SERVICES              $4,224.00         $0.00      $0.00
           INC
      1300 LINQ TELECOM                             $0.00          $0.00      $0.00
      1301 LINQ TELECOM                             $0.00          $0.00      $0.00
      1302 JACOBUS, PAULA L                      $1,942.25         $0.00      $0.00
      1305 CEDE & CO                                $0.00          $0.00      $0.00
      1306 CEDE & CO                                $0.00          $0.00      $0.00
      1307 CEDE & CO                          $400,000.00          $0.00      $0.00
      1309 KELLEY DRYE & WARREN LLP           $609,230.75          $0.00      $0.00
      1310 OBJECTIVE SYSTEMS                 $2,211,692.66         $0.00      $0.00

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              INTEGRATORS INC
      1311 MARSH, WILLIAM J                      $3,075.00         $0.00      $0.00
      1312 ONE CALL CONCEPTS INC                 $6,252.40         $0.00      $0.00
      1313 ONE CALL CONCEPTS INC               $26,474.93          $0.00      $0.00
      1314 SWSG PC                             $12,823.50          $0.00      $0.00
      1315 CONECTIV COMMUNICATIONS             $24,848.79          $0.00      $0.00
           INC
      1316 KLEVEN COMMUNICATIONS                    $0.00          $0.00      $0.00
      1320 LEPORE, TRACEY                        $6,035.29         $0.00      $0.00
      1321 LEPORE, TRACEY                        $6,035.29         $0.00      $0.00
      1322 PAVECON INC                        $215,625.79          $0.00      $0.00
      1323 SOUTHWESTERN BELL                        $0.00          $0.00      $0.00
           TELEPHONE CO
      1324 DOWN UNDER CONSTRUCTION             $34,281.20          $0.00      $0.00
           INC
      1333 IKON OFFICE SOLUTIONS                 $9,426.03         $0.00      $0.00
      1335 BROADWING                          $171,740.07          $0.00      $0.00
           COMMUNICATIONS SVCS INC
           FKA
      1336 INTERSTATE FIBERNET INC            $317,530.84          $0.00      $0.00
      1338 ASSOCIATES LEASING INC                   $0.00          $0.00      $0.00
      1342 ORIX SYSTEMS                             $0.00          $0.00      $0.00
      1344 FCB LLC                               $3,389.36         $0.00      $0.00
      1346 CRESCENT REAL ESTATE                $11,734.17          $0.00      $0.00
           FUNDING VIII LP
      1350 BEST PROPERTY FUND ONE                $5,607.34         $0.00      $0.00
           AMERICAN
      1351 LOOKING GLASS NETWORKS                   $0.00          $0.00      $0.00
           INC
      1353 DELOITTE & TOUCHE LLP              $138,020.69          $0.00      $0.00
      1354 WESLEY, BROWN & BARTLE             $133,170.00          $0.00      $0.00
           CO
      1355 BILZIN SUMBERG DUNN PRICE             $1,376.41         $0.00      $0.00
           AXELROD
      1356 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1357 BILZIN SUMBERG DUNN                   $4,859.03         $0.00      $0.00
           BAENA PRICE ET AL
      1358 MESSER, CAPARELLO,                  $30,131.72          $0.00      $0.00
           MADSEN ET AL
      1359 WILKINS, MERRY M                         $0.00          $0.00      $0.00
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      1360 WILKINS, MERRY                           $0.00          $0.00      $0.00
      1361 WILKINS, MERRY                           $0.00          $0.00      $0.00
      1364 NEVADA POWER COMPANY                $61,312.24          $0.00      $0.00
      1366 ONEOK LEASING COMPANY               $15,741.15          $0.00      $0.00
      1367 ONEOK LEASING COMPANY                    $0.00          $0.00      $0.00
      1368 DE LAGE LANDEN FINANCIAL            $10,846.15          $0.00      $0.00
           SERVICES INC
      1369 D'ERCOLE, JANET                       $1,400.00         $0.00      $0.00
      1370 NATIONAL RAILROAD                     $3,769.07         $0.00      $0.00
           PASSENGER CORP (AMTRAK)
      1371 NETWORK SYSTEM                      $29,092.16          $0.00      $0.00
           TECHNOLOGIES, INC
      1373 FIBER-TEL CONTRACTORS, INC          $28,380.00          $0.00      $0.00
      1374 FIBER TEL CONTRACTORS, INC            $3,172.27         $0.00      $0.00
      1375 COLORADO CONSTRUCTORS &                  $0.00          $0.00      $0.00
           ASSOCIATES INC
      1376 COLORADO CONSTRUCTORS &                  $0.00          $0.00      $0.00
           ASSOCIATES INC
      1377 COLORADO CONSTRUCTION &            $107,012.10          $0.00      $0.00
           ASSOCIATES INC
      1378 ADVANCED TECHNOLOGIES &             $22,803.17          $0.00      $0.00
           SERVICES, INC
      1380 SOUTHBEND CORPORATION              $282,993.59          $0.00      $0.00
      1382 SCHIMENTI, CHRISTOPHER                $4,137.00         $0.00      $0.00
      1383 SCHIMENTI, CHRISTOPHER M              $3,312.00         $0.00      $0.00
      1384 CHARM CITY CONCIERGE, INC              $826.31          $0.00      $0.00
      1385 ALTSCHILLER ASSOCIATES                $1,800.00         $0.00      $0.00
           LLC
      1386 NUMERIS CORPORATION                $161,000.00          $0.00      $0.00
      1389 FIBER SOURCE                        $66,115.50          $0.00      $0.00
           COMMUNICATIONS INC
      1390 FOWLER, WHITE ESQS                    $1,276.61         $0.00      $0.00
      1391 ICANECT                            $998,932.50          $0.00      $0.00
      1392 PIER 1 IMPORTS                           $0.00          $0.00      $0.00
      1395 BROBECK PHLEGER &                  $127,378.57          $0.00      $0.00
           HARRISON LLP
      1398 GORSUCH KIRGIS LLP                  $34,000.75          $0.00      $0.00
      1399 CENTER FOR MILITARY &              $133,170.00          $0.00      $0.00
           PRIVATE


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      1400 STABINSKI & SUNT PA                      $0.00          $0.00      $0.00
      1401 BOTSCHELLER, STEVEN                      $0.00          $0.00      $0.00
      1402 KAHL, JAY                                $0.00          $0.00      $0.00
      1403 SOUTHERN PAYPHONES INC              $82,000.00          $0.00      $0.00
      1404 FIALKOW, FREDERICK H                     $0.00          $0.00      $0.00
      1405 GATHRIGHT SALES CO                      $62.07          $0.00      $0.00
      1406 NGO, DINH & DANNY P JTRS                 $0.00          $0.00      $0.00
      1407 NGO, DINH                                $0.00          $0.00      $0.00
      1408 NGO, DINH                                $0.00          $0.00      $0.00
      1409 M-SKY CORP DBA AIRMAIL             $500,000.00          $0.00      $0.00
           COMM
      1410 STAKHIV, ALEXANDRA K                     $0.00          $0.00      $0.00
      1411 BLOOM, JACK                              $0.00          $0.00      $0.00
      1412 ROMERO, CARLOS                          $35.45          $0.00      $0.00
      1413 UHLICH, BARRY P                       $7,125.00         $0.00      $0.00
      1414 KUZIK, DONALD R                       $6,888.00         $0.00      $0.00
      1415 JG MARTIN CO INC                    $14,000.00          $0.00      $0.00
      1416 SENCOMMUNICATIONS INC                   $71.84          $0.00      $0.00
      1417 JARVIS, GREGORY J & CHERYL            $6,312.50         $0.00      $0.00
           L JT TEN
      1418 DYER, WILLIAM                            $0.00          $0.00      $0.00
      1419 LAROSA, MICHAEL J &                      $0.00          $0.00      $0.00
           CATHERINE JT TEN
      1420 IMPLAZO, MICHAEL &                       $0.00          $0.00      $0.00
           MARIAN JT TEN
      1421 TUCKER ANTHONY INC C/F                   $0.00          $0.00      $0.00
      1424 THEILER, TANYA L & HANS               $4,908.75         $0.00      $0.00
           PETER JR JT TEN
      1425 WILLIAMS, TOMMY M &                      $0.00          $0.00      $0.00
           DOROTHY R JTWROS
      1427 HOHLER, KEITH A                       $1,875.00         $0.00      $0.00
      1428 LUNDY, FRANK M                           $0.00          $0.00      $0.00
      1430 SHAMALA, TAFESH & EL                  $1,500.00         $0.00      $0.00
           JAMAL, LEILA M JTWROS
      1431 BLITSTEIN, BONNIE & BARRY                $0.00          $0.00      $0.00
           JT TEN
      1432 EMMETT A LARKIN CO INC              $13,987.50          $0.00      $0.00
           ROTH IRA C/F
      1433 WRIGHT, WAYNE D                          $0.00          $0.00      $0.00

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      1434 MCFARLAND, THOMAS                        $0.00          $0.00      $0.00
      1436 CHAFFE MCCALL PHILLIPS              $26,719.51          $0.00      $0.00
      1437 WINSTAR WIRELESS INC               $162,604.16          $0.00      $0.00
      1440 CHAPA, CESAR                          $1,331.25         $0.00      $0.00
      1441 GREENWICH STREET CAPITAL           $106,523.61          $0.00      $0.00
           PARTNERS II LP ETAL
    1442A ITC DELTACOM                              $0.00          $0.00      $0.00
          COMMUNICATIONS INC
      1445 HESSERT, ROBERTA A &                  $1,155.00         $0.00      $0.00
           GEORGE L JR
      1446 MELLUSI, BEVERLY                         $0.00          $0.00      $0.00
      1447 SOUTHWESTERN BELL ACCESS          $1,045,710.22         $0.00      $0.00
           SVCS
      1448 GSCP RECOVERY INC                 $50,090,000.0         $0.00      $0.00
                                                         0
      1449 MARVIN SAFFIAN & CO                $262,227.70          $0.00      $0.00
      1450 INTRADO INC FKA                     $43,108.60          $0.00      $0.00
      1451 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1452 LUCENT TECHNOLOGIES INC           $4,019,420.96         $0.00      $0.00
      1453 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1454 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1455 LUCENT TECHNOLOGIES INC                  $0.00          $0.00      $0.00
      1456 DIXON, ANTHONY NEWTON ET                 $0.00          $0.00      $0.00
           AL
      1457 COMPUTER HORIZONS CORP             $112,915.00          $0.00      $0.00
      1458 THOMPSON, EVERALD F ESQ            $140,000.00          $0.00      $0.00
      1459 CLAWSON, JOSEPH JR                  $15,000.00          $0.00      $0.00
      1460 BYERS LOCATE SERVICES               $20,188.26          $0.00      $0.00
      1461 MOTIVATION EXCELLENCE               $39,198.94          $0.00      $0.00
           INC
      1462 MCI WORLDCOM                       $532,843.84          $0.00      $0.00
      1463 CNS COMMUNICATIONS LTD            $4,571,730.00         $0.00      $0.00
      1464 MGA EMPLOYEE SERVICES INC           $12,203.20          $0.00      $0.00
      1465 SOUTHWESTERN BELL                     $8,932.00         $0.00      $0.00
           TELEPHONE COMPANY
      1466 SOUTHWESTERN BELL                     $3,294.40         $0.00      $0.00
           TELEPHONE COMPANY
      1467 WILLIAMS, EUGENIE                      $547.40          $0.00      $0.00
      1468 WILLIAMS, EUGENIE                     $9,259.56         $0.00      $0.00

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      1469 NANKOO, KEVIN                            $0.00          $0.00      $0.00
      1470 SAWTECH CONCRETE                    $18,677.20          $0.00      $0.00
           CUTTING
      1471 PERLSTEIN, SUZAN                  $1,900,000.00         $0.00      $0.00
      1472 HUGHES, CATHERINE C S                    $0.00          $0.00      $0.00
      1473 DOUBLE H LOCATES LLC                $78,310.00          $0.00      $0.00
      1474 SOLARCOM HOLDINGS INC              $108,850.23          $0.00      $0.00
      1476 YIPES COMMUNICATION INC                  $0.00          $0.00      $0.00
      1477 YIPES COMMUNICATION INC                  $0.00          $0.00      $0.00
      1478 GREENWICH STREET CAPITAL                 $0.00          $0.00      $0.00
           PARTNERS II LP ETAL
      1479 GSCP RECOVERY INC                        $0.00          $0.00      $0.00
      1480 SUBUH, MAHMOUD A                         $0.00          $0.00      $0.00
      1481 CB RICHARD ELLIS INC                  $5,665.30         $0.00      $0.00
      1482 SOUTHWESTERN BELL                 $2,662,281.82         $0.00      $0.00
           TELEPHONE CO
      1483 SOUTHWESTERN BELL                        $0.00          $0.00      $0.00
           TELEPHONE CO
      1484 SOUTHWESTERN BELL                        $0.00          $0.00      $0.00
           TELEPHONE CO
      1485 SOUTHWESTERN BELL                       $45.60          $0.00      $0.00
           TELEPHONE CO
      1486 SOUTHWESTERN BELL                     $7,677.30         $0.00      $0.00
           TELEPHONE CO
      1487 SOUTHWESTERN BELL                        $0.00          $0.00      $0.00
           TELEPHONE CO
      1488 SOUTHWESTERN BELL                   $86,397.33          $0.00      $0.00
           TELEPHONE CO
      1489 SOUTHWESTERN BELL                   $64,206.40          $0.00      $0.00
           TELEPHONE CO
      1490 SOUTHWESTERN BELL                     $3,447.69         $0.00      $0.00
           TELEPHONE CO
      1491 MURPHY, RILEY M                    $105,236.80          $0.00      $0.00
      1493 CRESCENT REAL ESTATE                  $1,436.13         $0.00      $0.00
           FUNDING IX LP
      1495 CRESCENT REAL ESTATE                     $0.00          $0.00      $0.00
           FUNDING I LP
      1496 PAMPLIANO, TONY                     $20,919.95          $0.00      $0.00
      1497 SACHNOFF & WEAVER LTD               $20,919.95          $0.00      $0.00
      1498 COVAD COMMUNICATIONS CO            $159,497.37          $0.00      $0.00

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      1499 JACKSON WALKER LLP                     $470.00          $0.00      $0.00
      1501 CARR REALTY LP                        $2,483.88         $0.00      $0.00
      1502 CARRAMERICA REALTY                    $6,677.44         $0.00      $0.00
           CORPORATION
      1503 COURIER CONNECTION INC                   $0.00          $0.00      $0.00
      1504 LAUTH, JOHN                              $0.00          $0.00      $0.00
      1505 PLANTING CONCEPTS INC                    $0.00          $0.00      $0.00
      1506 MANDARIN ANTIQUES INC                    $0.00          $0.00      $0.00
      1507 CONTAINERIZED METAL                      $0.00          $0.00      $0.00
           TRANSPORTS INC
      1508 HAMMER, ELLIOTT S                        $0.00          $0.00      $0.00
      1509 SENS, ALAN DBA                           $0.00          $0.00      $0.00
      1510 ORIENTIQUES INC                          $0.00          $0.00      $0.00
      1511 NEWTON-DIXON, ANTHONY                    $0.00          $0.00      $0.00
           DBA
      1512 CLIFFORD STEELE PC                       $0.00          $0.00      $0.00
      1513 HOMECARE PROFESSIONAL                    $0.00          $0.00      $0.00
           INC
      1514 SANDY SPRINGS MEDICAL                    $0.00          $0.00      $0.00
           CENTER
      1515 SELTZER, JASON DBA                       $0.00          $0.00      $0.00
      1516 GOLDMAN, BETH                            $0.00          $0.00      $0.00
      1517 CLIFFORD STEELE PC                       $0.00          $0.00      $0.00
      1518 HOMECARE PROFESSIONAL                    $0.00          $0.00      $0.00
           INC
      1519 SANDY SPRINGS MEDICAL                    $0.00          $0.00      $0.00
           CENTER
      1520 SELTZER, JASON DBA                       $0.00          $0.00      $0.00
      1521 GOLDMAN, BETH                            $0.00          $0.00      $0.00
      1522 NEWTON-DIXON, ANTHONY                    $0.00          $0.00      $0.00
           DBA
      1523 ORIENTIQUES INC                          $0.00          $0.00      $0.00
      1524 COURIER CONNECTION INC                   $0.00          $0.00      $0.00
      1525 LAUTH, JOHN                              $0.00          $0.00      $0.00
      1526 PLANTING CONCEPTS INC                    $0.00          $0.00      $0.00
      1527 MANDARIN ANTIQUES INC                    $0.00          $0.00      $0.00
      1528 CONTAINERIZED METAL                      $0.00          $0.00      $0.00
           TRANSPORTS INC
      1529 HAMMER, ELLIOTT S                        $0.00          $0.00      $0.00

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      1530 SENS, ALAN DBA                           $0.00          $0.00      $0.00
      1531 COURIER CONNECTION INC                   $0.00          $0.00      $0.00
      1532 LAUTH, JOHN                              $0.00          $0.00      $0.00
      1533 PLANTING CONCEPTS INC                    $0.00          $0.00      $0.00
      1534 MANDARIN ANTIQUES INC                    $0.00          $0.00      $0.00
      1535 CONTAINERIZED METAL                      $0.00          $0.00      $0.00
           TRANSPORTS INC
      1536 HAMMER, ELLIOTT S                        $0.00          $0.00      $0.00
      1537 SENS, ALAN DBA                           $0.00          $0.00      $0.00
      1538 ORIENTIQUES INC                          $0.00          $0.00      $0.00
      1539 GOLDMAN, BETH                            $0.00          $0.00      $0.00
      1540 SELTZER, JASON DBA                       $0.00          $0.00      $0.00
      1541 SANDY SPRINGS MEDICAL                    $0.00          $0.00      $0.00
           CENTER
      1542 HOMECARE PROFESSIONAL                    $0.00          $0.00      $0.00
           INC
      1543 CLIFFORD STEELE PC                       $0.00          $0.00      $0.00
      1546 CITY OF TUCSON                     $732,018.00          $0.00      $0.00
      1547 SANCHEZ, KRISTINE                      $410.55          $0.00      $0.00
      1549 CITY OF FORT WORTH                  $29,610.24          $0.00      $0.00
      1555 JAMES, THOMAS A & DANNY T                $0.00          $0.00      $0.00
      1556 SPRINT                             $660,052.39          $0.00      $0.00
      1557 GRAYBAR ELECTRIC                      $4,175.42         $0.00      $0.00
      1562 CORPORATE HEALTH                  $2,000,000.00         $0.00      $0.00
           INSURANCE CO
      1563 MADDEN, PHILLIP S & JOYE M            $2,500.00         $0.00      $0.00
           JTWROS
      1564 CROSBY, ROBERT & ALISSA M             $2,250.00         $0.00      $0.00
           JT TEN
      1565 WALKER, LEAH HOOPER                   $1,312.50         $0.00      $0.00
      1566 HARAF, MATTHEW S & LAURIE             $2,587.50         $0.00      $0.00
           L JT TEN
      1567 PANT, RANJAN                          $2,247.00         $0.00      $0.00
      1568 DOAN, ANNE VUTHUYANH                     $0.00          $0.00      $0.00
      1570 GROSSMAN, WILLIAM H                 $43,025.00          $0.00      $0.00
      1571 CALDRELLO, ANTONIA                    $4,250.00         $0.00      $0.00
      1574 LANE, DEBBIE & PHILIP R                  $0.00          $0.00      $0.00
      1575 NGO, DAVID & ANNETTE                     $0.00          $0.00      $0.00
           JTWROS
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      1576 NGO, DAVID QUOC-HUNG                     $0.00          $0.00      $0.00
      1578 EDWARD D JONES & CO                   $4,419.53         $0.00      $0.00
      1579 ALLIANCE TRUCKING LLP               $19,365.00          $0.00      $0.00
      1583 FOSTER, MICHAEL GREGORY             $19,226.97          $0.00      $0.00
           JR
      1584 BERMAN, LISA R                           $0.00          $0.00      $0.00
      1585 FISHER, LAURIE M TODD &                  $0.00          $0.00      $0.00
           JOHN JT TEN
      1587 BHATIA, DINESH K MD IRRA              $1,000.00         $0.00      $0.00
      1589 WAGNER, DOUGLAS C                      $250.00          $0.00      $0.00
      1590 HUMIENNY, BOLESLAUS &                    $0.00          $0.00      $0.00
           ELLEN JT TEN
      1591 HELBERG, SHARON O                        $0.00          $0.00      $0.00
      1592 BAKER, MICHAEL & LAURI JT             $8,500.00         $0.00      $0.00
           TEN
      1593 HENDERSON, KATE                       $1,355.75         $0.00      $0.00
      1594 TAUBER, JOHN D                           $0.00          $0.00      $0.00
      1595 GONZALEZ, THERESA & JASON                $0.00          $0.00      $0.00
           JTWROS
      1596 KIDDER, KENNETH H JR &                $7,890.00         $0.00      $0.00
           VERONA B JT TEN
      1597 GERSHMAN, SYLVIA H                       $0.00          $0.00      $0.00
      1598 MORRA, CARMINE & ANN JT                $528.65          $0.00      $0.00
           TEN
      1601 PIECORO, JEFFREY J                  $14,841.25          $0.00      $0.00
      1602 HEBERER, JULIE A                         $0.00          $0.00      $0.00
      1603 NANKOO, KEVIN                         $1,105.00         $0.00      $0.00
      1604 KENNEDY, RAQUEL A                     $5,129.33         $0.00      $0.00
      1609 COMMERCIAL MOVERS INC                 $2,937.10         $0.00      $0.00
      1610 WEST, ALVIE                              $0.00          $0.00      $0.00
      1621 DAVIS POLK & WARDWELL              $665,724.94          $0.00      $0.00
      1622 BUSHYHEAD, JOHN                     $20,000.00          $0.00      $0.00
      1623 LUND FIRE PRODUCTS CO INC              $246.27          $0.00      $0.00
      1625 SEXE, EDWARD A                        $1,650.00         $0.00      $0.00
      1626 SHAH, MAHENDRA AMILAL                 $1,879.48         $0.00      $0.00
      1627 SHAH, PARESH M & RITA P             $22,549.95          $0.00      $0.00
      1628 SHAH, PARESH M & RITA P                  $0.00          $0.00      $0.00
           JTRS
      1629 SHAH, DINESH M                      $52,039.85          $0.00      $0.00
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      1630 SHAH, DINESH M TTEE                      $0.00          $0.00      $0.00
      1631 SABAM CORE FIXED                         $0.00          $0.00      $0.00
      1632 SULLIVAN, NORMA PATRICIA              $6,660.00         $0.00      $0.00
      1633 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1634 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1635 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1636 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1637 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1638 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1639 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1640 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1641 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1642 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1643 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1644 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1645 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1646 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1696 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      1697 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      1698 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      1699 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      1700 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      1701 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      1702 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      1703 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      1704 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00

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      1705 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      1706 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      1707 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      1708 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      1709 DBC II CORP                              $0.00          $0.00      $0.00
      1710 DBC II CORP                              $0.00          $0.00      $0.00
      1711 DBC II CORP                              $0.00          $0.00      $0.00
      1712 DBC II CORP                              $0.00          $0.00      $0.00
      1713 DBC II CORP                              $0.00          $0.00      $0.00
      1714 DBC II CORP                              $0.00          $0.00      $0.00
      1715 DBC II CORP                              $0.00          $0.00      $0.00
      1716 DBC II CORP                              $0.00          $0.00      $0.00
      1717 DBC II CORP                              $0.00          $0.00      $0.00
      1718 DBC II CORP                              $0.00          $0.00      $0.00
      1719 DBC II CORP                              $0.00          $0.00      $0.00
      1720 DBC II CORP                              $0.00          $0.00      $0.00
      1721 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      1722 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      1723 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      1724 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      1725 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      1726 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      1727 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      1728 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      1729 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      1730 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      1731 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      1732 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      1733 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      1734 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      1735 DBC I CORP                               $0.00          $0.00      $0.00
      1736 DBC I CORP                               $0.00          $0.00      $0.00
      1737 DBC I CORP                               $0.00          $0.00      $0.00
      1738 DBC I CORP                               $0.00          $0.00      $0.00
      1739 DBC I CORP                               $0.00          $0.00      $0.00
      1740 DBC I CORP                               $0.00          $0.00      $0.00
      1741 DBC I CORP                               $0.00          $0.00      $0.00
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      1742 DBC I CORP                               $0.00          $0.00      $0.00
      1743 DBC I CORP                               $0.00          $0.00      $0.00
      1744 DBC I CORP                               $0.00          $0.00      $0.00
      1745 DBC I CORP                               $0.00          $0.00      $0.00
      1746 DBC I CORP                               $0.00          $0.00      $0.00
      1747 DBC I CORP                               $0.00          $0.00      $0.00
      1748 DBC I CORP                               $0.00          $0.00      $0.00
      1778 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1779 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1780 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1781 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1782 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1783 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1784 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1785 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1786 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1787 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1788 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1789 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1790 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1791 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1792 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1793 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1794 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1795 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1796 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1797 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1798 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1799 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1800 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE

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      1801 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1802 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1803 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1804 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1805 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1806 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1807 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1808 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1809 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1810 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1811 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1812 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1813 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1814 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1815 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1816 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1817 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1818 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1819 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1820 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1821 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE

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      1822 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1823 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1824 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1825 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1826 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1827 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1828 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1829 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1830 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1831 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1832 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1833 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1834 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1835 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1836 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1837 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1838 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      1839 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1840 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1841 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1842 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1843 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1844 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1845 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00

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      1846 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1847 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1848 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1849 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1850 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1851 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1852 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1853 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1854 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1855 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1856 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      1857 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1858 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1859 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1860 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1861 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1862 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1863 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1864 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1865 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1866 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1867 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1868 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1869 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1870 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1871 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
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      1872 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1873 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1874 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      1875 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1876 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1877 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1878 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1879 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1880 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1881 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1882 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1883 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1884 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1885 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1886 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1887 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1888 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1889 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1890 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1891 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1892 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR

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      1893 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1894 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1912 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      1913 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      1914 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      1915 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      1916 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      1917 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      1918 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      1919 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      1920 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      1921 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      1922 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      1923 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      1924 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      1925 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      1926 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      1927 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      1928 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      1929 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      1949 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR

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      1950 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1951 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1952 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1953 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1954 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1955 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1956 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1957 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1958 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1959 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1960 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1961 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1962 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1963 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1964 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      1965 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2002 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2003 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2004 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2005 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2006 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR

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      2007 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2008 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2009 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2010 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2011 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2012 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2013 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2014 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2015 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2016 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2017 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2018 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2019 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2020 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2021 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2022 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2023 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2024 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2025 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2026 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2027 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR

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      2028 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2072 DBC I CORP                               $0.00          $0.00      $0.00
      2073 DBC I CORP                               $0.00          $0.00      $0.00
      2074 DBC I CORP                               $0.00          $0.00      $0.00
      2075 DBC I CORP                               $0.00          $0.00      $0.00
      2076 DBC I CORP                               $0.00          $0.00      $0.00
      2077 DBC I CORP                               $0.00          $0.00      $0.00
      2078 DBC I CORP                               $0.00          $0.00      $0.00
      2079 DBC I CORP                               $0.00          $0.00      $0.00
      2080 DBC I CORP                               $0.00          $0.00      $0.00
      2081 DBC I CORP                               $0.00          $0.00      $0.00
      2082 DBC I CORP                               $0.00          $0.00      $0.00
      2083 DBC I CORP                               $0.00          $0.00      $0.00
      2084 DBC I CORP                               $0.00          $0.00      $0.00
      2085 DBC I CORP                               $0.00          $0.00      $0.00
      2086 DBC I CORP                               $0.00          $0.00      $0.00
      2087 DBC I CORP                               $0.00          $0.00      $0.00
      2088 DBC I CORP                               $0.00          $0.00      $0.00
      2089 DBC I CORP                               $0.00          $0.00      $0.00
      2090 DBC I CORP                               $0.00          $0.00      $0.00
      2091 DBC I CORP                               $0.00          $0.00      $0.00
      2092 DBC I CORP                               $0.00          $0.00      $0.00
      2093 DBC I CORP                               $0.00          $0.00      $0.00
      2094 DBC I CORP                               $0.00          $0.00      $0.00
      2095 DBC I CORP                               $0.00          $0.00      $0.00
      2096 DBC I CORP                               $0.00          $0.00      $0.00
      2097 DBC I CORP                               $0.00          $0.00      $0.00
      2098 DBC I CORP                               $0.00          $0.00      $0.00
      2099 DBC I CORP                               $0.00          $0.00      $0.00
      2100 DBC I CORP                               $0.00          $0.00      $0.00
      2101 DBC I CORP                               $0.00          $0.00      $0.00
      2102 DBC I CORP                               $0.00          $0.00      $0.00
      2103 DBC I CORP                               $0.00          $0.00      $0.00
      2104 DBC I CORP                               $0.00          $0.00      $0.00
      2105 DBC I CORP                               $0.00          $0.00      $0.00
      2106 DBC I CORP                               $0.00          $0.00      $0.00

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      2107 DBC I CORP                               $0.00          $0.00      $0.00
      2108 DBC I CORP                               $0.00          $0.00      $0.00
      2109 DBC II CORP                              $0.00          $0.00      $0.00
      2110 DBC II CORP                              $0.00          $0.00      $0.00
      2111 DBC II CORP                              $0.00          $0.00      $0.00
      2112 DBC II CORP                              $0.00          $0.00      $0.00
      2113 DBC II CORP                              $0.00          $0.00      $0.00
      2114 DBC II CORP                              $0.00          $0.00      $0.00
      2115 DBC II CORP                              $0.00          $0.00      $0.00
      2116 DBC II CORP                              $0.00          $0.00      $0.00
      2117 DBC II CORP                              $0.00          $0.00      $0.00
      2118 DBC II CORP                              $0.00          $0.00      $0.00
      2119 DBC II CORP                              $0.00          $0.00      $0.00
      2120 DBC II CORP                              $0.00          $0.00      $0.00
      2121 DBC II CORP                              $0.00          $0.00      $0.00
      2122 DBC II CORP                              $0.00          $0.00      $0.00
      2123 DBC II CORP                              $0.00          $0.00      $0.00
      2124 DBC II CORP                              $0.00          $0.00      $0.00
      2125 DBC II CORP                              $0.00          $0.00      $0.00
      2126 DBC II CORP                              $0.00          $0.00      $0.00
      2127 DBC II CORP                              $0.00          $0.00      $0.00
      2128 DBC II CORP                              $0.00          $0.00      $0.00
      2129 DBC II CORP                              $0.00          $0.00      $0.00
      2130 DBC II CORP                              $0.00          $0.00      $0.00
      2131 DBC II CORP                              $0.00          $0.00      $0.00
      2132 DBC II CORP                              $0.00          $0.00      $0.00
      2133 DBC II CORP                              $0.00          $0.00      $0.00
      2134 DBC II CORP                              $0.00          $0.00      $0.00
      2135 DBC II CORP                              $0.00          $0.00      $0.00
      2136 DBC II CORP                              $0.00          $0.00      $0.00
      2137 DBC II CORP                              $0.00          $0.00      $0.00
      2138 DBC II CORP                              $0.00          $0.00      $0.00
      2139 DBC II CORP                              $0.00          $0.00      $0.00
      2140 DBC II CORP                              $0.00          $0.00      $0.00
      2141 DBC II CORP                              $0.00          $0.00      $0.00
      2142 DBC II CORP                              $0.00          $0.00      $0.00
      2143 DBC II CORP                              $0.00          $0.00      $0.00
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      2144 DBC II CORP                              $0.00          $0.00      $0.00
      2172 MARKEY, CATHY                            $0.00          $0.00      $0.00
      2183 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      2184 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      2185 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      2186 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      2187 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      2188 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      2189 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      2190 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      2191 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      2192 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      2193 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      2194 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      2195 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      2196 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      2197 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      2198 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      2199 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      2200 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      2201 WR HUFF ASSET                            $0.00          $0.00      $0.00
           MANAGEMENT CO LLC
      2202 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
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      2203 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      2204 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      2205 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      2206 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      2207 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      2208 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      2209 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      2210 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      2211 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      2212 HUFF ALTERNATIVE INCOME             $88,889.00          $0.00      $0.00
           FUND LP, THE
      2213 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      2214 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      2215 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      2216 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      2217 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      2218 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      2219 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      2220 HUFF ALTERNATIVE INCOME                  $0.00          $0.00      $0.00
           FUND LP, THE
      2221 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2222 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2223 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2224 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2225 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00

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      2226 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2227 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2228 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2229 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2230 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2231 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2232 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2233 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2234 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2235 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2236 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2237 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2238 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2239 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2240 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2241 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2242 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2243 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2244 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2245 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2246 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2247 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2248 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2249 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2250 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2251 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2252 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2253 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2254 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2255 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2256 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2257 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2258 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2259 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2260 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2261 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2262 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
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      2263 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2264 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2265 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2266 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2267 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2268 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2269 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2270 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2271 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2272 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2273 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2274 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2275 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2276 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2277 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2278 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2279 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2280 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2281 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2282 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2283 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2284 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2285 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2286 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2287 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2288 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2289 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2290 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2291 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2292 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2293 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2294 CHARLTON, DONNA B                        $0.00          $0.00      $0.00
      2369 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2370 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2371 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00

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              AGENT FOR
      2372 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2373 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2374 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2375 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2376 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2377 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2378 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2379 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2380 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2381 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2382 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2383 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2384 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2385 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2386 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2387 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2388 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2389 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2390 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2391 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2392 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
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      2393 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2394 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2395 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2396 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2397 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2398 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2399 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2400 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2401 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2402 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2403 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2404 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2405 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2406 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2407 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2408 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2409 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2410 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2411 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2412 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2413 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR

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      2414 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2415 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2416 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2417 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2418 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2419 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2420 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2421 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2422 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2423 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2424 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2425 WRH TELECOM PARTNERS                     $0.00          $0.00      $0.00
           LLC, AGENT FOR
      2426 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      2427 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      2428 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      2429 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      2430 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      2431 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      2432 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      2433 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      2434 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      2435 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      2436 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      2437 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      2438 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      2439 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      2440 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      2441 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
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      2442 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      2443 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
      2444 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2445 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2446 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2447 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2448 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2449 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2450 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2451 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2452 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2453 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2454 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2455 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2456 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2457 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2458 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2459 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2460 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2461 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2462 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2463 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2464 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2465 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2466 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2467 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2468 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2469 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2470 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2471 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2472 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2473 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2474 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2475 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2476 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2477 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2478 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
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      2479 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2480 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2481 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2482 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2483 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2484 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2485 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2486 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2487 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2488 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2489 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2490 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2491 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2492 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2493 KATO SAN CORPORATION                     $0.00          $0.00      $0.00
      2494 PALLADIN COURT CO INC                    $0.00          $0.00      $0.00
      2495 DBC II CORP                              $0.00          $0.00      $0.00
      2496 DBC II CORP                              $0.00          $0.00      $0.00
      2498 DBC II CORP                              $0.00          $0.00      $0.00
      2499 WRH TELECOM PARTNERS LLC                 $0.00          $0.00      $0.00
           AGENT FOR
      2501 HUGHES, ERIC WINSTON                     $0.00          $0.00      $0.00
      2502 HUGHES, ERIC                          $1,895.00         $0.00      $0.00
      2503 ENCOMPASS GLOBAL                   $132,683.97          $0.00      $0.00
           TECHNOLOGIES
      2505 IBM CORPORATION                     $69,890.27          $0.00      $0.00
      2506 W9/TRINET POYDRAS, LLC              $19,853.87          $0.00      $0.00
      2507 DRAPER & KRAMER OF                  $28,824.29          $0.00      $0.00
           FLORIDA, INC
      2508 SHERATON SUITES ORLANDO               $4,603.89         $0.00      $0.00
           AIRPORT
      2509 BELLSOUTH REGIONAL BANKR           $203,683.34          $0.00      $0.00
           CENTER
      2510 BELLSOUTH REGIONAL BANKR           $204,890.86          $0.00      $0.00
           CENTER
      2511 INTRADO INC FKA                          $0.00          $0.00      $0.00
      2512 QUALITY                             $43,589.28          $0.00      $0.00
           TELECOMMUNICATIONS INC

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      2513 ASSOCIATES LEASING INC             $529,305.69          $0.00      $0.00
      2516 PREFERRED FINANCIAL                 $60,000.00          $0.00      $0.00
           SERVICES
      2517 WORLDCOM                          $1,311,735.58         $0.00      $0.00
      2519 HAUCK, HENRY G & ALICE K JT              $0.00          $0.00      $0.00
           TEN
      2523 SENTINEL REAL ESTATE CORP                $0.00          $0.00      $0.00
      2524 SENTINEL REAL ESTATE CORP             $1,064.52         $0.00      $0.00
      2525 ZELLEN & ASSOCIATES, INC           $133,638.40          $0.00      $0.00
      2526 ZELLEN & ASSOCIATES, INC                 $0.00          $0.00      $0.00
      2527 LOCKHEED MARTIN MISS &                $2,467.74         $0.00      $0.00
           FIRE CTRL
      2528 SPRINT PCS                          $11,222.49          $0.00      $0.00
      2529 AT&T CORP                         $2,308,475.24         $0.00      $0.00
      2531 IOS CAPITAL                           $9,876.20         $0.00      $0.00
      2535 VERIZON                             $15,762.71          $0.00      $0.00
      2539 GRAYBAR ELECTRIC                      $5,538.45         $0.00      $0.00
           COMPANY, INC
      2540 CARABALLO, RICARDO                  $19,068.60          $0.00      $0.00
      2541 KAUNERT, ROBERT                          $0.00          $0.00      $0.00
      2542 WANG, JIH MING & LUAN S               $1,050.75         $0.00      $0.00
           JTWROS
      2543 SLOVIS, HERBERT                     $15,062.50          $0.00      $0.00
      2544 LEE ROWE & ASSOCIATES INC           $79,365.00          $0.00      $0.00
      2545 TIGER INFORMATION SYSTEMS                $0.00          $0.00      $0.00
           INC
      2546 JOHNSON, JOANNE D                      $647.00          $0.00      $0.00
      2548 SIGN MART INC                       $15,018.50          $0.00      $0.00
      2549 MILLER, IRMA                             $0.00          $0.00      $0.00
      2550 GURVITCH, MARC G                      $2,000.00         $0.00      $0.00
      2551 SPEERS, STEVE G                          $0.00          $0.00      $0.00
      2553 MARC WARREN INC                       $1,500.00         $0.00      $0.00
      2554 GOLDMAN, PAUL J                       $1,483.00         $0.00      $0.00
      2557 FIDLER, WILLIAM H &                   $1,400.00         $0.00      $0.00
           MARTHA L JTWROS
      2558 SINGH, SUDARSHAN PAL                  $7,015.00         $0.00      $0.00
      2560 ALAWME, ABDUL KAREEM                  $1,025.00         $0.00      $0.00
      2561 SOLIS, GABRIEL A                         $0.00          $0.00      $0.00

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      2563 FU, ANNIE J & LEI JT TEN                 $0.00          $0.00      $0.00
      2566 ABBAZIA, JAY & ELIZABETH L            $8,125.00         $0.00      $0.00
           JT TEN
      2568 MURPHY, ROY & MADELYN J                  $0.00          $0.00      $0.00
           JTWROS
      2569 COMMERCIAL GROUP REALTY               $8,271.27         $0.00      $0.00
           INC
      2571 SKYLINE CREDIT RIDE, INC              $1,457.58         $0.00      $0.00
      2572 KEEHN, PETER & JULIE A              $39,937.50          $0.00      $0.00
           JTWROS
      2573 MOYERS, RONNIE ALFRED                    $0.00          $0.00      $0.00
      2577 KREMER ARCHITECTS                        $0.00          $0.00      $0.00
      2578 FEUERBACHER, JOHN W & ROY             $3,625.00         $0.00      $0.00
           JTWROS
      2581 AUGUST, BRAD A                           $0.00          $0.00      $0.00
      2582 MASTEC NORTH AMERICA                     $0.00          $0.00      $0.00
      2583 AZED COMMUNICATIONS LLC             $82,640.40          $0.00      $0.00
      2587 PAE TEC COMMUNICATIONS                $3,133.53         $0.00      $0.00
      2588 OHL, DANIEL                              $0.00          $0.00      $0.00
      2589 OHL, ALMA N                              $0.00          $0.00      $0.00
      2590 BURAS, SHERALD J & JANE L JT          $4,654.50         $0.00      $0.00
           TEN
      2591 PATTERSON, JANET & TRAVIS              $463.58          $0.00      $0.00
           JT TEN
      2592 SCHAIN, ELAINE                           $0.00          $0.00      $0.00
      2593 RIZZITIELLO, DOLORES &                   $0.00          $0.00      $0.00
           VICTORIA JT TEN
      2594 ORZA, EUGENE D                        $9,500.00         $0.00      $0.00
      2596 KITCHEN, NANCY                         $851.13          $0.00      $0.00
      2597 DVORAK, JAMES P                       $1,978.00         $0.00      $0.00
      2599 HYDE.COM INFORMATION                  $4,478.44         $0.00      $0.00
           TECHNOLOGIES
      2600 SHELMIRE, BARBARA A                    $553.13          $0.00      $0.00
      2601 HOSEY, MARTHA V                       $4,028.62         $0.00      $0.00
      2603 CLARK, JOHN & FRANCINE                   $0.00          $0.00      $0.00
           FORSTER
      2604 FORSTER, FRANCINE S                      $0.00          $0.00      $0.00
      2606 COWIN FIBER OPTIC SERVICES          $12,721.84          $0.00      $0.00
      2607 VAN KAMPEN HIGH YIELD             $2,150,000.00         $0.00      $0.00

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              FUND
      2608 VAN KAMPEN INCOM CORP.            $6,650,000.00         $0.00      $0.00
           BOND FUND
      2609 VAN KAMPEN INCOME TRUST            $400,000.00          $0.00      $0.00
      2610 GN NETTEST BOSTON                   $46,480.00          $0.00      $0.00
      2611 LIVINGSTON, JOHN M                       $0.00          $0.00      $0.00
      2612 ROEMER, GARY C                           $0.00          $0.00      $0.00
      2614 KNOWLEDGENET                             $0.00          $0.00      $0.00
      2617 SUNDBERG, BERNARD S                     $32.00          $0.00      $0.00
      2618 HILL, RICHARD & JOHNNY M                 $0.00          $0.00      $0.00
           JTWROS
      2620 WMP II REAL ESTATE LP               $29,540.44          $0.00      $0.00
      2621 MCCOLLOUGH & ASSOCIATES,            $94,577.65          $0.00      $0.00
           PC
      2622 ZINSER, JOHN J                        $7,098.81         $0.00      $0.00
      2624 SIMS, ROBIN                           $1,242.45         $0.00      $0.00
      2625 CINTAS CORPORATION                     $286.87          $0.00      $0.00
      2626 BAIDOKAS, LEONARD M                   $3,300.00         $0.00      $0.00
      2627 SCARDIGNO, LUKE &                        $0.00          $0.00      $0.00
           ALEXANDRA JT TEN
      2628 ANSARI, MUKHTAR A                     $1,783.75         $0.00      $0.00
      2629 CORRADINO, MICHAEL &                     $0.00          $0.00      $0.00
           GEORGE JTWROS
      2630 SENDMAIL INC                        $74,888.55          $0.00      $0.00
      2635 ORIUS BROADBAND SERVICES           $408,000.00          $0.00      $0.00
           INC FKA
      2638 BONIS, CHARLES JAMES                $12,437.42          $0.00      $0.00
      2639 KLAUS, CHERYL L                        $134.95          $0.00      $0.00
      2641 KIESEWETTER, GERALD &                    $0.00          $0.00      $0.00
           HELENE JTWROS
      2642 CRISWELL, HARLENE LEE                    $0.00          $0.00      $0.00
      2645 LACHENMEIER, KEVIN &                  $1,442.00         $0.00      $0.00
           PATRICE JT TEN
      2646 WGST AM RADIO                         $7,206.00         $0.00      $0.00
      2647 HOFFMAN, LEIGH D                         $0.00          $0.00      $0.00
      2648 HAMILTON, DUNCAN R                    $4,300.00         $0.00      $0.00
      2649 CT CORPORATION SYSTEM                  $150.00          $0.00      $0.00
      2650 PENTON MEDIA INC                    $11,990.00          $0.00      $0.00
      2655 NATIONAL DIGITAL CABLE                   $0.00          $0.00      $0.00
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      2656 OLTMANN, SCOTT G                         $0.00          $0.00      $0.00
      2657 OLTMANN, ANNE B                          $0.00          $0.00      $0.00
      2659 FLYNN, JAMES M & MARY A                  $0.00          $0.00      $0.00
      2660 MESIROW FINANCIAL INC                    $0.00          $0.00      $0.00
           CUST
      2661 NEWMAN, SHOSHANA &                       $0.00          $0.00      $0.00
           RAPHAELA JTWROS
      2662 GISOLDI, VIRGINIA & GANLEY,           $1,129.69         $0.00      $0.00
           CYNTHIA JTWROS
      2664 NATIONAL DIGITAL CABLE             $792,178.50          $0.00      $0.00
      2665 MILLER, ROBIN L                   $1,010,133.65         $0.00      $0.00
      2666 BRYAN, RUTH E                          $700.00          $0.00      $0.00
      2667 SAMSON, BARBARA T & J                  $100.00          $0.00      $0.00
           SCOTT
      2668 ICG TELECOM GROUP, INC             $186,463.57          $0.00      $0.00
      2669 MID AMERICA COFFEE                     $152.65          $0.00      $0.00
           SERVICE
      2670 99 PARK AVENUE ASSOC LP               $5,021.56         $0.00      $0.00
      2671 FIBERCORE                             $3,810.00         $0.00      $0.00
      2672 KNICKERBOCKER PROPERTIES,          $235,210.10          $0.00      $0.00
           INC XXI
      2673 DZIELAWA, KEYOKO                      $3,975.00         $0.00      $0.00
      2674 VANDYCK, DANIEL R                      $542.00          $0.00      $0.00
      2675 COUNTY OF LEXINGTON-                $78,000.00          $0.00      $0.00
           FAYETTE URBAN GOV
      2677 SOUTHWESTERN BELL                  $189,916.07          $0.00      $0.00
           TELEPHONE CO
      2679 NATIONAL DIGITAL CABLE             $103,721.40          $0.00      $0.00
      2681 SECURITY LINK                           $24.95          $0.00      $0.00
      2687 CT CORPORATION SYSTEM                  $135.50          $0.00      $0.00
      2694 STATE OF MICHIGAN REV DIV             $7,500.00         $0.00      $0.00
      2695 NELSON, STACY S                       $2,641.00         $0.00      $0.00
      2696 NGUYEN, JOSEPH &                    $16,179.35          $0.00      $0.00
           RATCHANEE JT TEN
      2697 NAGEL, THOMAS F                       $1,200.00         $0.00      $0.00
      2698 CAVALIER INTERNATIONAL                $4,291.25         $0.00      $0.00
           FREIGHT, INC
      2699 FISPA                               $75,000.00          $0.00      $0.00
      2700 MORRISON & HECKER LLP                    $0.00          $0.00      $0.00

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      2701 PEOPLESOFT USA INC                       $0.00          $0.00      $0.00
      2702 BROTEMARKLE, MARCIA                      $0.00          $0.00      $0.00
      2703 REEVES, JULIE                      $147,434.00          $0.00      $0.00
      2704 SHERMAN, STEVE                     $200,000.00          $0.00      $0.00
      2705 DENIGRIS, GUY IRA                   $24,726.00          $0.00      $0.00
      2707 ROTUNDA, SANDY                           $0.00          $0.00      $0.00
      2708 RIESEMBERG, ROSIE M                      $0.00          $0.00      $0.00
      2709 BRUSS, RICHARD E                         $0.00          $0.00      $0.00
      2710 MESSINA, PAUL                         $3,010.80         $0.00      $0.00
      2711 GIORDANO, JEFFERY C                   $1,040.50         $0.00      $0.00
      2712 ROBERTSON, RICHARD B                     $0.00          $0.00      $0.00
      2713 BROTHERS, ANNA                           $0.00          $0.00      $0.00
      2715 ORIOLES, AGNES                           $0.00          $0.00      $0.00
      2718 BALDASH, MARIAN                     $29,867.32          $0.00      $0.00
      2720 ROSS, JEANETTE MARIE                     $0.00          $0.00      $0.00
      2725 SCHMIDT, JANEICE HUNT &               $2,088.13         $0.00      $0.00
           STEVEN
      2726 TRELLIX CORPORATION                 $75,000.00          $0.00      $0.00
      2727 CLIENT SERVER                       $89,185.00          $0.00      $0.00
           PROFESSIONAL, INC
      2728 TRELLIX CORPORATION                 $81,750.00          $0.00      $0.00
      2729 CHILTON CREATIVE INC                $78,176.50          $0.00      $0.00
      2730 KNICKERBOCKER PROPERTIES,          $217,136.10          $0.00      $0.00
           INC XXI
      2732 CITY OF IRVING                     $171,560.12          $0.00      $0.00
      2735 PRESENTATION SERVICES                 $3,735.61         $0.00      $0.00
      2736 FEDERAL EXPRESS                          $0.00          $0.00      $0.00
           CORPORATION
      2738 CRIEL, VICKI                          $2,598.81         $0.00      $0.00
      2739 TRANSCAT                              $2,376.67         $0.00      $0.00
      2742 POTOMAC ELECTRIC POWER              $14,236.55          $0.00      $0.00
           CO
      2743 POTOMAC ELECTRIC POWER                   $0.00          $0.00      $0.00
           CO
      2744 MARKET CORP                         $84,800.00          $0.00      $0.00
      2748 COMARK CORPORATE SALES,             $87,690.25          $0.00      $0.00
           INC
      2755 COLUMBIA GAS OF VIRGINIA                 $0.00          $0.00      $0.00

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      2756 COLUMBIA GAS OF VIRGINIA                $153.77          $0.00      $0.00
      2757 COLUMBIA GAS OF VIRGINIA                  $0.00          $0.00      $0.00
      2760 TERRANO, JEANETTE D                       $0.00          $0.00      $0.00
      2761 TERRANO, JEANETTE                         $0.00          $0.00      $0.00
      2764 SHANK, DONALD B & JILL S JT              $51.60          $0.00      $0.00
           TEN
      2769 AT&T CORP                         $2,311,275.49          $0.00      $0.00
      2771 FEDEX GROUND PACKAGE                    $110.96          $0.00      $0.00
           SYSTEMS INC FKA
      2772 DENNINGHAM, GERALD P                     $68.80          $0.00      $0.00
      2776 CITY OF ALEXANDRIA FIN                  $942.15          $0.00      $0.00
           DEPT
      2779 SYMMETRICOM INC                       $2,090.55          $0.00      $0.00
      2780 BLACK, SEAN A                             $0.00          $0.00      $0.00
      2813 CITY OF SAN ANTONIO TREAS            $20,999.91          $0.00      $0.00
           DIV
      2820 STATE OF NORTH CAROLINA                 $217.20          $0.00      $0.00
           REV DEPT
      2822 LAVENDER, ROBERT                          $0.00          $0.00      $0.00
      2823 CITY OF OVERLAND PARK                     $0.00          $0.00      $0.00
      2825 COUNTY OF CLARK ASSESSOR                  $0.00          $0.00      $0.00
      2827 EMC CORPORATION                         $759.45          $0.00      $0.00
      2833 ULTIMUS, INC                          $7,845.00          $0.00      $0.00
      2835 CT CORPORATION SYSTEM                   $142.35          $0.00      $0.00
      2836 ADT SECURITY SERVICES                $25,122.81          $0.00      $0.00
      2838 STATE OF MARYLAND BUS &           $1,000,000.00          $0.00      $0.00
           EC DEV DEPT
      2846 HYUN KYU LEE                          $5,062.50          $0.00      $0.00
      2847 NEUSTAR INC                          $18,638.35          $0.00      $0.00
      2848 FIDELITY ENGINEERING                  $6,833.32          $0.00      $0.00
           CORPORATION
      2849 PACIFIC INDEMNITY CO                 $33,170.00          $0.00      $0.00
      2851 INTRADO INC FKA                      $53,803.86          $0.00      $0.00
      2852 PITNEY BOWES                            $200.00          $0.00      $0.00
      2853 PITNEY BOWES                            $500.00          $0.00      $0.00
      2854 PITNEY BOWES                            $519.00          $0.00      $0.00
      2856 VERIZON MAJOR CASE                   $84,390.58          $0.00      $0.00
      2859 STATE OF LOUISIANA REV                    $0.00          $0.00      $0.00
           DEPT
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      2861 FIVE STAR ELECTRIC                   $38,085.11          $0.00      $0.00
           CORPORATION
      2864 ELECTRO RENT CORPORATION              $2,858.52          $0.00      $0.00
      2866 BELLSOUTH INC                             $0.00          $0.00      $0.00
      2869 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2871 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2872 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2874 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2875 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2876 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2877 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2878 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2879 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2880 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2881 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2882 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2883 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2884 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2885 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2886 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2887 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2888 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2889 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
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      2890 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2891 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2892 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2893 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2894 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2895 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2896 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2897 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2898 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2899 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2900 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2901 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2902 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2903 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2904 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2905 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2906 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2907 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2908 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2909 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2910 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC

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      2911 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2912 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2913 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2914 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2915 ALCATEL MARKETING USA             $2,152,481.86          $0.00      $0.00
           INC
      2916 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2917 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2918 ALCATEL MARKETING USA                     $0.00          $0.00      $0.00
           INC
      2919 ROBINSON & ASSOCIATES                $23,136.63          $0.00      $0.00
      2920 SAFFOURI, FREDERICK K                     $0.00          $0.00      $0.00
      2921 NEWBERRY, IRVING C                    $1,856.00          $0.00      $0.00
      2922 IKON OFFICE SOLUTIONS FL                $225.11          $0.00      $0.00
      2926 IBM CORPORATION                      $26,088.27          $0.00      $0.00
      2927 ROGALSKI, ROGER P                    $10,000.00          $0.00      $0.00
      2934 XPT AMERICA, INC                     $18,343.87          $0.00      $0.00
      2938 EXP@NET ATLANTA                      $16,609.07          $0.00      $0.00
      2949 CRESCENT REAL ESTATE                 $12,956.13          $0.00      $0.00
           FUNDING IX LP
      2950 CRESCENT REAL ESTATE FUND            $90,692.91          $0.00      $0.00
           VIII LP
      2953 CHAN, MAY W & JIMMY JT TEN            $5,505.00          $0.00      $0.00
      2954 WEXFORD CLEARING C/F                  $1,100.00          $0.00      $0.00
      2956 WEBB MASON, INC                      $12,314.03          $0.00      $0.00
      2958 CITY OF AUSTIN                       $12,711.53          $0.00      $0.00
      2959 WILLIAMS COMMUNICATIONS               $3,620.96          $0.00      $0.00
           SOLUTIONS
      2967 TAD TELECOM INC                     $960,713.25          $0.00      $0.00
      2968 TAD TELECOM INC                      $47,348.87          $0.00      $0.00
      2970 VOLT TELCON                         $100,439.00          $0.00      $0.00
      2979 ATLAS VAN LINES, INC                  $6,231.23          $0.00      $0.00
      2989 SHERMAN, STEVE                            $0.00          $0.00      $0.00


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      2994 UNITED FIBER OPTICS CORP                  $0.00          $0.00      $0.00
      2995 WILLIAMS COMMUNICATIONS              $20,337.25          $0.00      $0.00
           LLC
      2998 BRASS RING                            $9,868.90          $0.00      $0.00
      2999 CT CORPORATION SYSTEM                   $854.10          $0.00      $0.00
      3001 TUCSON ELECTRIC POWER                $70,911.62          $0.00      $0.00
           COMPANY
      3002 BOULT, CUMMINGS, CONNERS              $1,294.17          $0.00      $0.00
           & BERRY, PLC
      3003 KNICKERBOCKER PROPERTIES,           $217,146.10          $0.00      $0.00
           INC XXI
      3009 VALOR                                     $0.00          $0.00      $0.00
           TELECOMMUNICATIONS
           ENTERS INC
      3010 ALLGOEVER & ASSOCIATES,               $1,990.64          $0.00      $0.00
           INC
      3016 DALLAS AREA RAPID TRANSIT            $34,904.46          $0.00      $0.00
      3017 EQUITY OFFICE PROPERTIES,            $69,921.50          $0.00      $0.00
           LLC
      3018 MODERN TECHNOLOGY                   $253,517.87          $0.00      $0.00
           SERVICES, INC
      3020 LIST INC                                  $0.00          $0.00      $0.00
      3023 BENDHEIM, JOSEPHINE                       $0.00          $0.00      $0.00
      3027 PFI INTERNATIONAL, LLC               $51,537.50          $0.00      $0.00
      3028 PFI INTERNATIONAL, LLC               $40,000.00          $0.00      $0.00
      3032 IPCX BLOOM PROPERTIES LLC            $38,108.32          $0.00      $0.00
      3033 COLGATE DRIVE ASSOCIATES                  $0.00          $0.00      $0.00
           LP
      3034 COLGATE DRIVE ASSOCIATES          $1,246,095.34          $0.00      $0.00
           LP
      3037 FLIPPO CONSTRUCTION INC              $21,758.38          $0.00      $0.00
      3042 TELTEK SALES INC                    $130,001.71          $0.00      $0.00
      3043 FEDERAL EXPRESS                      $93,232.41          $0.00      $0.00
           CORPORATION
      3046 DALLAS AREA RAPID TRANSIT            $35,504.46          $0.00      $0.00
      3047 COASTAL CONSTRUCTION                 $72,230.00          $0.00      $0.00
           COMPANY
    3048A FORT WORTH PLAZA LP                        $0.00          $0.00      $0.00
    3049A FORT WORTH PLAZA LP                   $79,219.71          $0.00      $0.00
      3056 TUCSON ELECTRIC POWER                 $6,683.42          $0.00      $0.00

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              COMPANY
      3062 CSG SYSTEMS, INC                     $62,914.10          $0.00      $0.00
      3065 TOWN OF MEDLEY, FL                  $150,000.00          $0.00      $0.00
      3068 CABLE & WIRELESS USA INC             $67,348.17          $0.00      $0.00
      3071 METROMEDIA FIBER                  $2,882,940.06          $0.00      $0.00
           NETWORK SVCES INC
      3073 PSINET LIQUIDATING, LLC           $1,908,537.00          $0.00      $0.00
      3074 PITNEY BOWES CREDIT CORP              $3,582.76          $0.00      $0.00
      3075 TUCSON ELECTRIC POWER                     $0.00          $0.00      $0.00
           COMPANY
      3077 ANIXTER                                 $526.27          $0.00      $0.00
      3081 PITNEY BOWES CREDIT CORP             $38,778.78          $0.00      $0.00
      3087 PATTON HARRIS RUST &                 $14,186.69          $0.00      $0.00
           ASSOCIATES PC
      3092 PSINET LIQUIDATING, LLC             $365,548.04          $0.00      $0.00
      3093 OKLAHOMA ONE CALL                     $4,189.50          $0.00      $0.00
           SYSTEM INC
      3096 ACTEL INTEGRATED                    $126,739.83          $0.00      $0.00
           COMMUNICATIONS INC
      3103 ARMORCAST PRODUCTS                   $11,589.00          $0.00      $0.00
           COMPANY
      3111 BOWNE OF NEW YORK, LLC               $11,441.00          $0.00      $0.00
           AKA
      3112 BOWNE OF NEW YORK, LLC               $62,235.10          $0.00      $0.00
           AKA
      3116 DSET CORPORATION                    $179,759.00          $0.00      $0.00
      3126 LEFTFIELD ADVERTISING                $23,418.15          $0.00      $0.00
      3128 PAULEY CONSTRUCTION INC             $266,403.59          $0.00      $0.00
      3130 BOWNE OF NEW YORK, LLC                $7,436.65          $0.00      $0.00
           AKA
      3132 FEDERAL EXPRESS                           $0.00          $0.00      $0.00
           CORPORATION
      3135 RAINDANCE                            $33,000.00          $0.00      $0.00
           COMMUNCIATIONS FKA
      3137 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3138 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3139 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3140 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3141 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00


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      3142 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3143 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3144 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3145 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3146 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3147 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3148 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3149 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3150 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3151 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3152 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3153 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3154 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3155 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3156 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3157 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3158 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3159 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3160 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3161 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3162 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3163 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3164 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3165 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3166 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3167 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3168 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3169 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3170 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3171 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3172 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3173 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3174 LUCENT TECHNOLOGIES INC           $4,407,961.94          $0.00      $0.00
      3175 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3176 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3177 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3178 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
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      3179 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3180 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3181 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3182 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3183 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3184 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3185 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3186 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3189 PITNEY BOWES CREDIT CORP              $4,806.49          $0.00      $0.00
      3193 PITNEY BOWES CREDIT CORP             $16,859.38          $0.00      $0.00
      3194 NETWORK SYSTEM                       $50,380.39          $0.00      $0.00
           TECHNOLOGIES, INC
      3195 COUNTY OF EL PASO                         $0.00          $0.00      $0.00
      3197 EMPLOYMENT LEARNING                  $41,000.00          $0.00      $0.00
           INNOVATIONS INC
      3198 County of El Paso Treasurer               $0.00          $0.00      $0.00
      3199 MENTOR TECHNOLOGIES                  $16,350.00          $0.00      $0.00
           GROUP, INC
      3202 PALMETTONET, INC                      $5,423.00          $0.00      $0.00
      3203 TODAYS STAFFING, INC                  $6,783.85          $0.00      $0.00
      3204 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3205 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3206 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3207 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3208 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3209 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3210 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3211 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3212 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3213 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3214 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3215 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3216 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3217 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3218 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3219 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3220 LUCENT TECHNOLOGIES INC           $4,474,683.44          $0.00      $0.00

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      3221 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3222 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3223 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3224 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3225 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3226 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3227 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3228 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3229 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3230 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3231 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3232 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3233 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3234 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3235 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3236 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3237 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3238 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3239 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3240 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3241 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3242 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3243 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3244 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3245 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3246 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3247 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3248 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3249 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3250 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3251 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3252 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3253 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3254 LUCENT TECHNOLOGIES INC                   $0.00          $0.00      $0.00
      3255 PRICE MODERN LLC                     $12,000.00          $0.00      $0.00
      3256 ACHIEVEGLOBAL                        $36,000.00          $0.00      $0.00
      3260 CB RICHARD ELLIS INC                  $1,515.14          $0.00      $0.00
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      3261 NWT PARTNERS LTD                                  $915.00          $0.00      $0.00
      3262 KELLY SERVICES, INC                            $86,722.83          $0.00      $0.00
      3263 MAPINFO CORPORATION                             $1,630.00          $0.00      $0.00
      3264 UNITED PARCEL SERVICE                           $1,500.00          $0.00      $0.00
      3265 SQUIRES GROUP INC, THE                         $54,674.00          $0.00      $0.00
      3271 NEXTEL COMMUNICATIONS                           $8,250.00          $0.00      $0.00
      3275 AJILON FINANCE FKA                              $1,250.00          $0.00      $0.00
      3277 O/E ENTERPRISE SOLUTIONS,                    $100,000.00           $0.00      $0.00
           INC DBA
      3279 ILLUMINET, INC.                              $130,000.00           $0.00      $0.00
      3280 NTS COMMUNICATIONS, INC                        $27,000.00          $0.00      $0.00
      3282 CONTRARIAN CAPITAL TRADE                            $0.00          $0.00      $0.00
           CLAIMS LP
      3283 JUNIPER NETWORKS, INC                           $7,500.00          $0.00      $0.00
      3284 HOGAN & HARTSON, LLP                           $15,000.00          $0.00      $0.00
      3285 SYBASE, INC                                    $42,000.00          $0.00      $0.00
      3286 CONTRARIAN CAPITAL TRADE                    $1,206,780.54          $0.00      $0.00
           CLAIMS LP
      3287 BCSI INC, FKA                                  $36,000.00          $0.00      $0.00
      3294 CLEVELAND INSPECTION                           $70,000.00          $0.00      $0.00
           SERVICES, INC
      3295 QWEST COMMUNICATIONS                         $932,464.00           $0.00      $0.00
           CORPORATION
      3296 NEWBASIS LLC                                   $22,500.00          $0.00      $0.00
      3297 WILTEL COMMUNICATIONS,                          $7,500.00          $0.00      $0.00
           LLC
      3298 AT&T CORP                                    $110,000.00           $0.00      $0.00
      3303 CLICKSEE NETWORK CO., LTD                      $46,200.00          $0.00      $0.00
      3306 HEIDRICK & STRUGGLES, INC.                          $0.00          $0.00      $0.00
      3307 Tekelec                                      $450,000.00           $0.00      $0.00
      3308 Department of the Treasury-                    $44,177.12          $0.00      $0.00
      3342 Louisville-Jefferson County Metro                 $483.11          $0.00      $0.00
           Revenue Commission
  1001554 LAUB, KEITH B                                    $7,678.22          $0.00      $0.00


                       Total to be paid to timely general unsecured claims:              $0.00
                                                       Remaining balance:                $0.00



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        Tardily filed claims of general (unsecured) creditors totaling $1,977,442.24 have been
allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
to be 0.0 percent, plus interest (if applicable).

         Tardily filed general (unsecured) claims are as follows:

Claim         Claimant                                 Allowed Amt.           Interim            Proposed
No.                                                         of Claim       Payments to            Amount
                                                                                 Date
      3321 AT&T                                         $1,977,192.24               $0.00             $0.00
      3350 Office of the United States Trustee                 $250.00              $0.00             $0.00


                 Total to be paid to tardily filed general unsecured claims:                         $0.00
                                                        Remaining balance:                           $0.00

        Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
ordered subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata
only after all allowed administrative, priority and general (unsecured) claims have been paid in
full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent, plus
interest (if applicable).

       Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
ordered subordinated by the Court are as follows: NONE



                                  Total to be paid for subordinated claims:                          $0.00
                                                        Remaining balance:                           $0.00




                                          Prepared By: /s/ Gary F. Seitz
                                                       Trustee
Gary F. Seitz
Gellert Scali Busenkell & Brown, LLC
The Curtis Center, 601 Walnut Street, Suite 750W
Philadelphia, PA, 19106




STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.

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